Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 1 of 184 PageID #: 2836



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

                                             )
  In re Aurora Dairy Corp. Organic Milk      ) Civil Action No.: 4:08-md-01907-ERW
  Marketing and Sales Practices Litigation   )
                                             )
  This Filing Relates To: 4:08-cv-00254-     )
  ERW                                        )
                                             )

  DIANE BENYA, PAUL BOWEN,            )
  SHERRY BRICE LEIGH, LEVITTE CRUZ,   )
  STEVEN JOEL CLARK, NOELLE           )
  FINCHAM, BRENDA GALLARDO,           )
  TAMMY GARDNER COSELLI,              )
  ELIDA GOLLOMP, CARYN HUDSPETH,      )
  HANS KUECK, LEONIE LLOYD, LISA      )
  MEACHAM, DONITA LYNN ROBINSON,      )
  SCOTT ROSS, JIM SNELL, MONA STILL,  )
  APRIL SUBASHE, CLAIRE THEODORE,     )
  VICKI TYSSELING-MATTIACE,           )
  RACHEL VERNOOY, ODELIA WEISS,       )
  LEONIE LLOYD, individually and on   )
  behalf of all others similarly situated,
                                      )
                                      )
                       Plaintiffs,    )
                                      )
  v.                                  )         Civil Action No. 4:08-cv-00254-ERW
                                      )
  AURORA DAIRY CORPORATION            )
  d/b/a Aurora Organic Dairy, QUALITY )
  ASSURANCE INTERNATIONAL, INC.,      )
  COSTCO WHOLESALE CORPORATION, )
  SAFEWAY, INC., TARGET               )
  CORPORATION, WAL-MART               )
  STORES, INC., WILD OATS             )
  MARKET, INC., and WHOLE FOODS       )
  MARKET, INC.,                       )
                                      )
                       Defendants.    )


           FIRST AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 2 of 184 PageID #: 2837



                                                  TABLE OF CONTENTS

  I.     INTRODUCTION ...............................................................................................................1

  II.    PARTIES .............................................................................................................................2

         A.         Plaintiffs...................................................................................................................2

         B.         Defendants ...............................................................................................................6

  III.   JURISDICTION AND VENUE ..........................................................................................8

  IV.    FACTUAL ALLEGATIONS ..............................................................................................9

         A.         Background of the Organic Food and Milk Industry...............................................9

         B.         Aurora Dairy ..........................................................................................................13

         C.         QAI, Inc. ................................................................................................................22

         D.         Private Label Organics...........................................................................................26

                    1.         Aurora’s “High Meadow” Brand ...............................................................27

                    2.         Costco’s “Kirkland” Brand ........................................................................29

                    3.         Safeway’s “O Organics” Brand .................................................................32

                    4.         Target’s “Archer Farms” Brand.................................................................35

                    5.         Wal-Mart’s “Great Value” Brand ..............................................................37

                    6.         Wild Oats’ Store Brand..............................................................................39

  V.     CLASS ALLEGATIONS ..................................................................................................42
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 3 of 184 PageID #: 2838



  VI.   CAUSES OF ACTION ......................................................................................................50

        A.        Counts Against Aurora ..........................................................................................50

                  COUNT 1: Violation of the Colorado Consumer Protection Act..........................50

                  COUNT 2: Violation of State Consumer Protection Laws....................................53

                  COUNT 3: Breach of Express Warranty ...............................................................58

                  COUNT 4: Breach of Implied Warranty of Merchantability.................................61

                  COUNT 5: Negligence Per Se ...............................................................................64

                  COUNT 6: Negligent Misrepresentation ...............................................................65

                  COUNT 7: Unjust Enrichment ..............................................................................66

        B.        Counts Against Aurora With Respect to the High Meadow Label........................67

                  COUNT 8: Violation of the Colorado Consumer Protection Act..........................67

                  COUNT 9: Violation of State Consumer Protection Laws....................................70

                  COUNT 10: Breach Of Express Warranty ............................................................75

                  COUNT 11: Breach Of Implied Warranty of Merchantability..............................79

                  COUNT 12: Negligence Per Se .............................................................................81

                  COUNT 13: Negligent Misrepresentation .............................................................83

                  COUNT 14: Unjust Enrichment ...........................................................................84

        C.        Counts Against Costco...........................................................................................85

                  COUNT 15: Violation Of The Washington Consumer Protection Act .................85

                  COUNT 16: Violation Of State Consumer Protection Laws.................................87

                  COUNT 17: Breach Of Express Warranty ............................................................92

                  COUNT 18: Breach Of Implied Warranty of Merchantability..............................94

                  COUNT 19: Negligence Per Se .............................................................................95

                  COUNT 20 Negligent Misrepresentation ..............................................................97

                  COUNT 21 Unjust Enrichment .............................................................................98
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 4 of 184 PageID #: 2839



        D.    Counts Against Safeway ........................................................................................99

              COUNT 22: Violation of the California Unfair Competition Law,.......................99

              COUNT 23: Violation of the California Consumer Legal Remedies Act ..........102

              COUNT 24: Violation of State Consumer Protection Laws...............................105

              COUNT 25: Breach of Express Warranty ..........................................................110

              COUNT 26: Breach of Implied Warranty of Merchantability............................112

              COUNT 27: Negligence Per Se ..........................................................................113

              COUNT 28: Negligent Misrepresentation ..........................................................114

              COUNT 29: Unjust Enrichment .........................................................................116

        E.    Counts Against Target .........................................................................................117

              COUNT 30: Violation of the Minn. Uniform Deceptive Trade Practices Act ...117

              COUNT 31: Violation of State Consumer Protection Laws...............................119

              COUNT 32: Breach of Express Warranty ..........................................................124

              COUNT 33: Breach of Implied Warranty of Merchantability............................126

              COUNT 34: Negligence Per Se ..........................................................................127

              COUNT 35: Negligent Misrepresentation ..........................................................128

              COUNT 36: Unjust Enrichment .........................................................................130

        F.    Counts Against Wal-Mart ....................................................................................131

              COUNT 37: Violation of the Arkansas Consumer Protection Act,....................131

              COUNT 38: Violation of State Consumer Protection Laws...............................133

              COUNT 39: Breach of Express Warranty ..........................................................138

              COUNT 40: Breach of Implied Warranty of Merchantability............................140

              COUNT 41: Negligence Per Se ...........................................................................141

              COUNT 42: Negligent Misrepresentation ..........................................................142

              COUNT 43: Unjust Enrichment .........................................................................144
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 5 of 184 PageID #: 2840



         G.       Counts Against Whole Foods as successor in liability to Wild Oats and/or Wild
                  Oats ......................................................................................................................145

                  COUNT 44 Violation of the Colorado Consumer Protection Act.......................145

                  COUNT 45: Violation of State Consumer Protection Laws...............................148

                  COUNT 46: Breach of Express Warranty ..........................................................153

                  COUNT 47: Breach of Implied Warranty of Merchantability............................155

                  COUNT 48: Negligence Per Se ..........................................................................156

                  COUNT 49: Negligent Misrepresentation ..........................................................157

                  COUNT 50: Unjust Enrichment .........................................................................158

         H.       Counts Against QAI.............................................................................................159

                  COUNT 51: Violation of the California Unfair Competition Law,....................159

                  COUNT 52: Violation of the California Consumer Legal Remedies Act ..........162

                  COUNT 53: Violation of State Consumer Protection Laws...............................165

                  COUNT 54: Negligence Per Se ..........................................................................170

                  COUNT 55: Negligent Misrepresentation ..........................................................172

  VII.   PRAYER FOR RELIEF ..................................................................................................174
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 6 of 184 PageID #: 2841



          Plaintiffs bring this action on their own behalf and on behalf of each of the Classes they

  seek to represent, based upon their own personal knowledge as to themselves and their own acts

  and upon information and belief and the investigation of their counsel as to all other matters, and

  allege as follows:

  I.      INTRODUCTION

          1.      Defendant Aurora Dairy Corporation d/b/a Aurora Organic Dairy (“Aurora”) did

  and does produce, market, and sell milk and milk products purporting to be organic to Plaintiffs

  and the other members of the Classes directly under its own “High Meadow” brand through

  retailer Publix Super Markets, Inc., (“Publix”) and through, among others, Defendant Retailers

  Costco Wholesale Corp. (“Costco”), Safeway, Inc. (“Safeway”), Target Corp. (“Target”), Wal-

  Mart Stores, Inc. (“Wal-Mart”), and Wild Oats Markets, Inc. (“Wild Oats”)1 under their

  respective store-brand labels. Plaintiffs and other members of the Classes pay more for organic

  milk than conventional milk.

          2.      In fact, the milk and milk products produced by Aurora were not “organic,” as

  that term is defined in the Organic Foods Production Act of 1990 (“OFPA” or the “Act”), 7

  U.S.C. § 6501, et seq., and pertinent regulations enacted by the United States Department of

  Agriculture (“USDA”). From 2003 to at least August 23, 2007, Aurora produced its purportedly

  organic milk using processes which failed to comply with those requirements, including but not

  limited to failure to establish pasture appropriate for minimizing the occurrence and spread of

  diseases and parasites, failure to establish access to pasture, and failure to maintain records

  documenting compliance with the USDA requirements for use of an “organic” label.




  1
   Costco, Safeway, Target, Wal-Mart, and Wild Oats may collectively be referred to herein as the Retailer
  Defendants.


                                                     1
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 7 of 184 PageID #: 2842



         3.      Indeed, Aurora’s milk production was found by the USDA itself to involve over

  14 willful violations of USDA regulations, including but not limited to failure to establish

  pasture appropriate for minimizing the occurrence and spread of diseases and parasites, failure to

  establish access to pasture and failure to maintain records documenting compliance with the

  USDA requirements for use of an “organic” label.

         4.      By representing and selling milk and/or milk products as “organic” which were

  not, and otherwise misrepresenting and/or failing to disclose the conditions under which these

  products were produced, Defendants breached express and implied warranties, engaged in one or

  more unfair or deceptive acts or practices in violation of consumer protection laws, acted and

  failed to act in violation of standards established by the OFPA, and unfairly obtained a premium

  price for these products for their own benefit and to the detriment of Plaintiffs and the other

  members of the Classes.

         5.      Plaintiffs seek damages arising from Defendants’ acts and omissions regarding

  the production, marketing and sale of “organic” milk and milk products.

  II.    PARTIES

         A.      Plaintiffs

         6.      Diane Benya is a resident of the State of Oregon. During the relevant time period,

  Ms. Benya purchased one or more organic milk or milk products produced by Aurora and

  retailed by Defendants Safeway and Wild Oats in the State of Oregon. Those products include

  Wild Oats’ store brand and Safeway’s “O Organics” brands.

         7.      Paul Bowen is a resident of the State of Washington. During the relevant time

  period, Mr. Bowen purchased one or more organic milk or milk products produced by Aurora

  and retailed by Defendants Costco, Safeway and Wal-Mart in the State of Washington. Those




                                                   2
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 8 of 184 PageID #: 2843



  products include Costco’s “Kirkland,” Safeway’s “O Organics” and Wal-Mart’s “Great Value”

  brands.

            8.    Sherry Brice Leigh is a resident of the State of Florida. During the relevant time

  period, Ms. Brice Leigh purchased one or more organic milk or milk products produced by

  Aurora and retailed by, among others, Defendant Wal-Mart in the State of Florida. Those

  products include Wal-Mart’s “Great Value” brands.

            9.    Steven Joel Clark is a resident of the State of Arkansas. During the relevant time

  period, Mr. Clark purchased one or more organic milk or milk products produced by Aurora and

  retailed by Defendant Wal-Mart in the State of Arkansas. Those products include Wal-Mart’s

  “Great Value” brands.

            10.   Plaintiff Levitte Cruz is a resident of the State of New Jersey. During the relevant

  time period, Ms. Cruz purchased one or more organic milk or milk products produced by Aurora

  and retailed by Defendant Target in the State of New Jersey. Those products include Target’s

  “Archer Farms” brand.

            11.   Noelle Fincham is currently a resident of the State of Kansas, but was a citizen

  and resident of Colorado during the relevant time period. During the relevant time period, Ms.

  Fincham purchased one or more organic milk or milk products produced by Aurora and retailed

  by Defendant Safeway in the State of Colorado. Those products include Safeway’s “O

  Organics” brands.

            12.   Brenda Gallardo is a resident of the State of California. During the relevant time

  period, Ms. Gallardo purchased one or more organic milk or milk products produced by Aurora

  and retailed by Defendant Safeway in the State of California. Those products include Safeway’s

  “O Organics” brand.




                                                   3
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 9 of 184 PageID #: 2844



         13.    Tammy Gardner Coselli is a resident of the State of Texas. During the relevant

  time period, Ms. Coselli purchased one or more organic milk or milk products produced by

  Aurora and retailed by Safeway in the State of Texas. Those products include Safeway’s “O

  Organics” brand.

         14.    Elida Gollomp is a resident of the State of Connecticut. During the relevant time

  period, Ms. Gollomp purchased one or more organic milk or milk products produced by Aurora

  and retailed by, inter alia, Defendant Costco in the State of Connecticut. Those products include

  Costco’s “Kirkland” and Aurora’s “High Meadow” brands.

         15.    Caryn Hudspeth is a resident of the State of Indiana. During the relevant time

  period, Ms. Hudspeth purchased one or more organic milk or milk products produced by Aurora

  and retailed by Defendants Costco and Target in the State of Indiana. Those products include

  Costco’s “Kirkland” and Target’s “Archer Farms” brands.

         16.    Hans Kueck is a resident of the State of Washington. During the relevant time

  period, Mr. Kueck purchased one or more organic milk or milk products produced by Aurora and

  retailed by Defendant Safeway in the State of Washington. Those products include Safeway’s

  “O Organics” brand.

         17.    Leonie Lloyd is a resident of the State of Missouri. During the relevant time

  period, Ms. Lloyd purchased one or more organic milk or milk products produced by Aurora and

  retailed by Defendant Costco in the State of Missouri. Those products include Costco’s

  “Kirkland” brand.

         18.    Lisa Meacham is a resident of the State of Texas. During the relevant time

  period, Ms. Meacham purchased one or more organic milk or milk products produced by Aurora




                                                  4
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 10 of 184 PageID #:
                                    2845


and retailed by Defendant Wal-Mart in the State of Texas. Those products include Wal-Mart’s

“Great Value” brand.

         19.   Donita Lynn Robinson is a resident of the State of North Carolina. During the

relevant time period, Ms. Robinson purchased one or more organic milk or milk products

produced by Aurora and retailed by Defendant Target in the State of North Carolina. Those

products include Target’s “Archer Farms” brand.

         20.   Scott Ross is a resident of the State of Florida. During the relevant time period,

Mr. Ross purchased one or more organic milk or milk products produced by Aurora and retailed

by Publix and Defendant Wild Oats in the State of Florida. Those products include Aurora’s

“High Meadow” and Wild Oats’ store brand.

         21.   Jim Snell is a resident of the State of Tennessee. During the relevant time period,

Mr. Snell purchased one or more organic milk or milk products produced by Aurora and retailed

by, among others, Defendant Wild Oats in the State of Tennessee. Those products include Wild

Oats’ store brand.

         22.   Mona Still is a resident of the State of Alabama. During the relevant time period,

Ms. Still purchased one or more organic milk or milk products produced by Aurora and retailed

by Defendant Target in the State of Alabama. Those products include Target’s “Archer Farms”

brand.

         23.   April Subashe is a resident of the State of Utah. During the relevant time period,

Ms. Subashe purchased one or more organic milk or milk products produced by Aurora and

retailed by Defendant Costco in the States of Arizona, Illinois, Indiana, Utah, Nevada and

Massachusetts. Those products include Costco’s “Kirkland” brand. During the relevant time

period, Ms. Subashe also purchased one or more organic milk or milk products produced by




                                                 5
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 11 of 184 PageID #:
                                    2846


Aurora and retailed by Defendant Wild Oats in the States of Nevada and Utah. Those products

include Wild Oats’ store brand.

       24.     Claire Theodore is a resident of the State of California. During the relevant time

period, Ms. Theodore purchased one or more organic milk or milk products produced by Aurora

and retailed by Defendants Wild Oats and Safeway in the State of California. Those products

include Safeway’s “O Organics” and Wild Oats’ store brands.

       25.     Vicki Tysseling-Mattiace is a resident of the State of Illinois. During the relevant

time period, Ms. Tysseling-Mattiace purchased one or more organic milk or milk products

produced by Aurora and retailed by Defendant Wild Oats, through Peapod Delivery Services, in

the State of Illinois. Those products include Wild Oats store brand.

       26.     Rachel VerNooy is a resident of the State of Delaware. During the relevant time

period, Ms. VerNooy purchased one or more organic milk or milk products produced by Aurora

and retailed by Defendant Wal-Mart in the State of Pennsylvania. Those products include Wal-

Mart’s “Great Value” brand.

       27.     Plaintiff Odelia Weiss is a resident of the State of New York. During the relevant

time period, Ms. Weiss purchased one or more organic milk or milk products produced by

Aurora and retailed by Defendant Target in the States of Pennsylvania and New York. Those

products include Target’s “Archer Farms” brand.

       B.      Defendants

       28.     Aurora Dairy Corporation d/b/a Aurora Organic Dairy (“Aurora”) is a Delaware

corporation headquartered in Boulder, Colorado. Aurora markets and sells its milk and milk

products nationwide throughout the United States. Aurora sells its milk directly under the brand

name “High Meadow” and through retailers under the store-brand names stated below.




                                                 6
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 12 of 184 PageID #:
                                    2847


          29.     Quality Assurance International, Inc. (“QAI”) is a California corporation

headquartered in San Diego, California. QAI is the largest certifier of “organic” products in the

United States and, as of March 23, 2006, approximately 66% of certified organic products on

U.S. store shelves displayed QAI certification. During the class period, QAI was (and remains)

responsible for the certification of Aurora’s Texas-based farms as well as Aurora’s milk

processing plant in Colorado.

          30.     Costco is a Washington corporation with its principal place of business in

Issaquah, Washington. At the close of 2007, Costco operated 389 stores nationwide. Costco did

and does sell “organic” milk and/or milk products produced by Aurora under Costco’s brand

name “Kirkland.”

          31.     Safeway is a Delaware corporation with its principal place of business in

Pleasanton, California. Safeway is one of the largest food and drug retailers in North America.

Safeway has various wholly-owned subsidiaries including Randall’s Food Markets, Tom Thumb,

Car-Gottstein Foods Co., Dominick’s Supermarkets, Inc., Vons, and Genuardi’s Family Markets,

Inc. (which are divisions of, and/or whose policies, finances, business practices and other affairs

are controlled by, Safeway) and through which Safeway operates in Texas, Alaska, Illinois,

Southern California, Pennsylvania, New Jersey, and Delaware.2 As of September 8, 2007,

Safeway operated 1,738 stores in the Western, Southwestern, Rocky Mountain, and Mid-Atlantic

regions of the United States and in western Canada. Safeway did and does sell “organic” milk

and/or milk products produced by Aurora under Safeway’s brand name “O Organics.”

          32.     Target is a Minnesota corporation, having its principal place of business within

the State of Minnesota. Target operates 1,613 stores in 47 states. Target did and does sell


2
    Throughout this Complaint, Safeway and its subsidiaries are referred to collectively as “Safeway.”


                                                      7
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 13 of 184 PageID #:
                                    2848


“organic” milk and/or milk products produced by Aurora under Target’s brand name “Archer

Farms.”

       33.     Wal-Mart is a Delaware corporation with its principal place of business in

Bentonville, Arkansas. Wal-Mart is the largest retailer in the world, specializing in mass

merchandising stores. Wal-Mart operates approximately 1,350 stores nationwide, as well as

1,700 Supercenters in the Western, Southwestern, Rocky Mountain, and Mid-Atlantic regions of

the United States and in western Canada. Wal-Mart did and does sell “organic” milk and/or milk

products produced by Aurora under Wal-Mart’s brand name “Great Value.”

       34.     Wild Oats was a Delaware corporation with its principal place of business in

Boulder, Colorado. Wild Oats, at its own stores or through a delivery service known as Peapod,

sold “organic” milk and/or milk products produced by Aurora under Wild Oats’ store name.

       35.     Whole Foods is a Texas corporation with its principal place of business in Austin,

Texas. Whole Foods acquired Wild Oats in or about August 2007 and, on information and

belief, assumed all liabilities of Wild Oats.

III.   JURISDICTION AND VENUE

       36.     This Court has diversity jurisdiction over this Class Action lawsuit pursuant to 28

U.S.C § 1332 as amended by the Class Action Fairness Act of 2005, because, upon information

and belief, the amount in controversy exceeds $5,000,000, exclusive of interest and costs, and

this lawsuit is a class action in which some members of the Classes are citizens of states different

than Defendants. See 28 U.S.C. § 1332(d)(2)(A).

       37.     Venue is proper in this judicial district under 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claims herein described occurred

within this judicial district. Venue is also proper in this judicial district pursuant to the Order of




                                                   8
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 14 of 184 PageID #:
                                    2849


the Judicial Panel on Multidistrict Litigation which transferred and centralized all related actions

in this Court for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407.

IV.    FACTUAL ALLEGATIONS

       A.        Background of the Organic Food and Milk Industry

       38.       Organic food products differ from conventional products in the way they are

grown, produced, and handled. Organic food is typically produced without pesticides,

hormones, or other synthetic products, using techniques that promote traditional farming

practices, foster more humane treatment of animals, and protect the environment. Organic food

products, which are becoming increasingly popular with consumers, typically sell at significant

premiums over their conventional counterparts.

       39.       As with other organic products, purchasers are willing to pay – and do pay –

premium prices for organic milk and/or milk products. As of May 2005, the national average

price for a half gallon of organic milk was $4.01, as compared to $2.02 for conventional milk.

Based on this average, organic milk commands a price premium of 98 percent in the national

retail market:




                                                 9
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 15 of 184 PageID #:
                                    2850



                                  Price Premium of Organic Milk

                       $5.00
                                        $4.01
                       $4.00

                       $3.00
                                                                  $2.02
                       $2.00

                       $1.00

                       $0.00
                                       Organic             Conventional

Carolyn Dmitri & Kathryn M. Venezia, Retail and Consumer Aspects of the Organic Milk

Market (USDA Econ. Research Serv., LDP-M-155-01, May 2005), available at

http://www.ers.usda.gov/publications/LDP/2007/05May/LDPM15501/ldpm15501.pdf

       40.     Organic milk and milk products comprise a substantial part of the organic foods

industry. The market for organic milk or milk products has undergone explosive growth in the

past two decades. According to statistics maintained by the United States Department of

Agriculture (“USDA”), retail milk and cream sales totaled approximately $17 billion in 2005,

with organic milk and cream sales comprising approximately $1 billion, or six percent (6%) of

that total – an increase of 25% from the previous year.

       41.     In 1990, Congress passed the OFPA to, among other things, establish minimum

national standards in order to refer to a product as “organic.”

       42.     Pursuant to the OFPA, the USDA issued regulations in March 2001 setting forth

specific requirements that foods, including dairy products, must meet in order to be certified as




                                                 10
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 16 of 184 PageID #:
                                    2851


“organic” or “USDA organic.” These regulations are contained at 7 CFR Part 205, and are

implemented through the National Organic Program (“NOP”).

       43.     Under the OFPA, states may adopt their own organic programs, containing

requirements that may be more, but not less, stringent than federal requirements. See 7 C.F.R. §

205.620.

       44.     The OFPA provides, in part, that “a person may sell or label an agricultural

product as organically produced only if such product is produced and handled in accordance with

[the OFPA].” 7 U.S.C. § 6505(a)(1)(A).

       45.     Similarly, the regulations adopted under OFPA provide that, in order to be sold as

“organic,” the producer’s operation must be certified by an accredited certification agent and also

must meet all other applicable requirements of 7 C.F.R. § 205. See 7 C.F.R. §§ 205.100(a),

205.102(a).

       46.     If, but only if, a product meets these requirements, it may be represented as

“organic” and actually marked, labeled and sold with the official “USDA Organic” seal:




       47.     Among other requirements for milk and milk products to qualify as “organic,”

dairy cows must be pastured in a manner complying with OFPA requirements. “Pasture” is

defined as “[l]and used for livestock grazing that is managed to provide feed value and maintain

and improve soil, water and vegetative sources.” 7 C.F.R. § 205.2.

       48.     The “producer of an organic livestock operation must establish and maintain

livestock living conditions which accommodate the health and natural behavior of animals



                                                11
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 17 of 184 PageID #:
                                    2852


including . . . [a]ccess to the outdoors . . . [and] [a]ccess to pasture for ruminants.” 7 C.F.R. §

205.239. Dairy cows are ruminants.

       49.     Organic livestock producers also “must establish and maintain preventative

livestock health care practices, including . . . [e]stablishment of appropriate housing, pasture

conditions, and sanitation practices to minimize the occurrence and spread of diseases and

parasites; [and] [p]rovision of conditions which allow for exercise, freedom of movement, and

reduction of stress appropriate to the species.” 7 C.F.R. § 205.238.

       50.     Such producers also “must provide livestock with a total feed ration composed of

agricultural products, including pasture and forage.” 7 C.F.R. § 205.237.

       51.     Part of humane animal husbandry practices includes maintaining livestock living

conditions and health care practices in a way that accommodates the health and natural behavior

of the animals, including access to pasture on which the animals can graze freely and consume a

substantial portion of their food.

       52.     Pasturing cows is intended to ensure an organic production system that provides

living conditions that allow the animals to satisfy their natural behavior patterns and provides

preventative health care benefits.

       53.     Pasturing contributes to preventive health care management by enabling

ruminants to develop and reproduce under conditions that reduce stress, strengthen immunity,

and deter illness. Pasturing affords ruminants the freedom of choice to satisfy natural behavior

patterns. Pasturing assures a relationship between the animal and land that satisfies organic

principles.

       54.     Pasture management fulfills an integral role in nutrition, health care, and living

condition requirements of organic ruminant production.




                                                  12
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 18 of 184 PageID #:
                                    2853


       55.     Free grazing also produces a higher quality and more nutritious milk than cows

that are confined to feed lots, even if the cows in the lots are fed organic grains. Milk from

pastured cows can contain up to five times more conjugated lineolic acid, an anti-oxidant shown

to reduce cancer risks, as well as higher levels of beta-carotene, vitamin A, vitamin E, and

omega-3 fatty acid than does milk from grain-fed cows.

       56.     Defendants market the health benefits of drinking milk from pastured cows,

which has been one of the major contributing factors to the increasing demand for organic milk.

       57.     The organic label is intended to and does confirm to customers that the milk and

milk products they purchase do in fact meet the requirements of the OFPA and accompanying

regulations.

       58.     In addition to the organic label, Defendants otherwise represent that the “organic”

milk and milk products comply with applicable organic standards and principles, including

proper pasturing of cows, through advertisements and marketing that, among other things,

depicts cows grazing in tall grasses in bright green fields.

       B.      Aurora Dairy

       59.     Aurora was founded in 2003 by Marc Peperzak and Mark Retzloff, both veterans

of the organic food industry.

       60.     In 1983, Mr. Retzloff co-founded the Alfalfa’s Markets chain of natural food

grocery stores (now owned by Wild Oats). In addition, Messrs. Peperzak and Retzloff were both

instrumental in the creation and founding of Horizon Organic Dairy in 1991. Horizon is now the

largest organic dairy in the United States. Messrs. Peperzak and Retzloff also participated in

Congress’s enactment of the OFPA and in the drafting of the NOP’s organic dairy standards.

       61.     Aurora’s first and largest dairy farm is located in Platteville, Colorado, about 40

miles north of Denver. At its peak, the Platteville farm had approximately 4,500 cows and a


                                                 13
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 19 of 184 PageID #:
                                    2854


capacity to produce twenty million gallons of milk per year. Aurora also operates dairy farms in

other locations in Colorado, as well as in Texas.

       62.       Aurora processes all of its milk in a plant located next to its Platteville farm. Milk

from Aurora’s other dairy farms is transported to its Platteville plant in refrigerated trucks. Most

of this milk is then pasteurized or ultra-pasteurized, processed into whole, 2%, 1%, and skim

varieties, and packaged in half-gallon cartons. Aurora also processes some of the milk into other

milk products, including butter, cream, and non-fat dry milk.

       63.       In some instances, on information and belief, Aurora packages the milk and milk

products in cartons or other containers according to a retailer’s instruction, and bearing the

retailer’s brand name, from its facility in Colorado.

       64.       Aurora describes itself as a “steward” of the organic way of producing milk and

milk products.

       65.       Aurora represents that its “mission is to bring organic milk or milk products to

mainstream America with highest quality and freshness, affordable pricing and increased

availability for consumers.”3

       66.       Aurora represents that its cows are healthy, content and relaxed, all the while

referring to pasturing:

                 To us, a healthy cow is the following:

             •   A contented cow that lives outdoors all year-round, with 24-hour
                 access to water, and that is fed a nutritionally-balanced diet of
                 organic pasture, organic mixed forages (such as alfalfa hay, grass
                 hay and silages), organic grain (such as soymeal, ground corn,

3
 See Mission Statement at
http://www.auroraorganic.com/aodweb/site/itemContent.aspx?iContentID=71&iCategoryID=1 (last
visited July 17, 2008)



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Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 20 of 184 PageID #:
                                    2855



                 wheat, sunflower and flax seeds) and an organic vitamin and
                 mineral supplement. Learn more about our Organic Feed.

             •   A cow free of infections, diseases and parasites that is never given
                 antibiotics. If ever sick, the cow is treated in our “Early Sick Cow”
                 program -– rest, fluids, homeopathic and probiotic treatments, with
                 a focus on preventative healthcare and early recognition.
             •   Living as naturally as possible, a healthy cow gets pregnant on
                 time, doesn’t have problems during its birth and doesn’t have
                 reproductive constraints.
                 ***
                 Relaxed cows:

             •   Have good nutrition so that there is no stress from food and so that
                 their milk production does not unduly tax their body systems.
             •   Have access to pasture so that grazed forage is a part of the diet.4

       67.       Aurora represents to consumers and the public that pasturing is the main source of

food for cows, with other sources as “supplements,” stating that “[b]y optimizing sustainable

resources in our arid climates, we are able to provide our cows both pasture to feed upon as well

as organic feed to supplement their nutrition.”5

       68.       Aurora depicts its cows foraging in open, grassy fields:




4
  http://www.auroraorganic.com/aodweb/site/itemContent.aspx?iContentID=100&iCategoryID=8
(last visited July 17, 2008).
5
 http://www.auroraorganic.com/aodweb/site/itemContent.aspx?iContentID=98&iCategoryID=8
(last visited July 17, 2008)



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Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 21 of 184 PageID #:
                                    2856




See generally http://www.auroraorganic.com.

          69.     Aurora represents that “[a]ll of Aurora’s products are certified organic and are

eligible to carry the ‘USDA Organic’ seal. Our organic dairy farm and processing plant both

follow the protocols of the National Organic Program, as do all of the company’s suppliers of

organic feed, materials, etc.”6

          70.     Aurora also claims that its “farms are models of organic principles applied on a

large scale,”7 and that “[t]he dairy maintains 100% traceability of all animals, crops and such,

with a complete audit and certification of 100% of the system.”8




6
 http://www.auroraorganic.com/aodweb/site/itemContent.aspx?iContentID=82&iCategoryID=2 (last
visited July 17, 2008).
7
    http://www.auroraorganic.com/aodweb/site/itemcontent.aspx?icategoryid=3 (last visited July 17, 2008).
8
 http://www.auroraorganic.com/aodweb/site/itemContent.aspx?iContentID=122&iCategoryID=6 (last
visited July 17, 2008).


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Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 22 of 184 PageID #:
                                    2857


       71.    Although represented as “organic,” the milk and milk products Aurora produced,

marketed, and sold – including milk or milk products purchased by Plaintiffs and the other

members of the Classes – were not organic, since Aurora failed to comply with, among other

things, the requirements of the OFPA in at least the following ways:

              a.      Aurora sold, labeled and/or represented its milk or milk products as being

       “organic” when, in fact, they were not produced and handled in accordance with

       applicable regulations, in willful violation of 7 C.F.R. § 205.102, 205.200 and

       205.400(a);

              b.      Aurora, intending to sell, label, or represent milk or milk products as

       “organic,” failed to comply with the applicable provisions of C.F.R. Title 7, Part 205,

       Subpart C, in willful violation of 7 C.F.R. § 205.200;

              c.      Aurora failed to comply with the Organic Foods Production Act of 1990

       and applicable organic production and handling regulations of C.F.R. Title 7, Part 205, in

       willful violation of 7 C.F.R. § 205.400(a);

              d.      Aurora failed to establish appropriate housing, pasture conditions, and

       sanitation practices for its dairy cows to minimize the occurrence and spread of diseases

       and parasites, in willful violation of 7 C.F.R. § 205.238(a)(3);

              e.      Aurora failed to establish and maintain living conditions for its dairy cows

       which accommodate their health and natural behavior, in willful violation of 7 C.F.R. §

       205.239(a);

              f.      Aurora failed to provide its dairy cows with suitable access to the

       outdoors, shade, shelter, exercise areas, fresh air, and direct sunlight, in willful violation

       of 7 C.F.R. § 205.239(a)(1);




                                                 17
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 23 of 184 PageID #:
                                    2858


              g.       Aurora failed to provide its dairy cows with proper access to pasture, in

      willful violation of 7 C.F.R. § 205.239(a)(2);

              h.       Aurora failed to provide its dairy cows (which typically consume their

      own bedding) with appropriate clean, dry bedding which complies with the feed

      requirements of § 205.237, in willful violation of 7 C.F.R. § 205.239(a)(3);

              i.       Aurora failed to provide shelter designed to allow for its dairy cows’

      natural maintenance, comfort behaviors, and opportunity to exercise, as required by 7

      C.F.R. § 205.406(a)(4)(i);

              j.       Aurora failed to provide its dairy cows with a total feed ration composed

      of agricultural products, including pasture and forage, that are organically produced and,

      where applicable, organically handled, in willful violation of 7 C.F.R. § 205.237(a);

              k.       Aurora failed to maintain an accurate organic production or handling

      system plan that includes a description of practices and procedures to be performed and

      maintained, including the frequency with which they will be performed, in willful

      violation of 7 C.F.R. § 205.201(a)(1);

              l.       Aurora failed to maintain an accurate organic production or handling

      system plan that included a description of the monitoring practices and procedures to be

      performed and maintained, including the frequency with which they will be performed, to

      verify that the plan is effectively implemented, in willful violation of 7 C.F.R. §

      205.201(a)(3);

              m.       Aurora, after an entire, distinct herd had been converted to organic

      production, failed to maintain all cows under continuous organic management from the

      last third of gestation, in willful violation of 7 C.F.R. § 205.236(a)(2)(iii);




                                                18
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 24 of 184 PageID #:
                                    2859


             n.      Aurora entered conventional dairy cows into organic milk or milk

      products before those cows completed a one-year period of continuous organic

      management, in willful violation of 7 C.F.R. § 205.236(a)(2).

             o.      Aurora removed its dairy cows from an organic operation to a non-organic

      operation for management, and subsequently returned such cows to its Platteville facility

      for production of milk or milk products to be sold, labeled, or represented as organically

      produced, in willful violation of 7 C.F.R. § 205.236(b)(1) and/or § 205.236(a)(2)(iii);

             p.      Aurora failed to maintain adequate records that disclosed all activities and

      transactions in sufficient detail to be readily understood and audited and to demonstrate

      compliance with the OFPA, in willful violation of 7 C.F.R. § 205.103(b);

             q.      Aurora failed to immediately notify its certifying agent concerning

      changes to its operation regarding the termination and utilization of off-site facilities

      contracted by Aurora to provide pasture and/or livestock management services, in willful

      violation of 7 C.F.R. § 205.400(f)(2);

             r.      Aurora failed to immediately notify its certifying agent concerning the

      application of a prohibited substance to its dairy cows, in willful violation of 7 C.F.R. §

      205.400(f)(2); and

             s.      Aurora failed to submit to its certifying agent an updated organic

      production or handling system plan that included a summary statement, supported by

      documentation, detailing deviations from, changes to, modifications to, or other

      amendments made to the previous year's organic system plan during the previous year in

      willful violation of 7 C.F.R. § 205.406(a)(1)(i).




                                                19
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 25 of 184 PageID #:
                                    2860


          72.    On or about March 7, 2007, the USDA itself found that Aurora had failed to

comply with federal law regarding production of milk products labeled as organic in numerous

respects. Indeed, the USDA found the frequency and willfulness of the violations so significant

that on or about April 16, 2007, it issued a “Notice of Proposed Revocation” to Aurora, stating:

“Due to the nature and extent of these violations, the NOP proposes to revoke Aurora Organic

Dairy’s production and handling certifications under the NOP.” That revocation would have

barred Aurora from selling products labeled as organic for five years into the future.

          73.    Aurora’s marketing extends to the point of purchase. In an article published by

Progressive Grocer in January, 2008, Sonja Tuitele, a spokesperson for Aurora, was quoted as

saying:

          ‘The best way to merchandise and market any milk in the dairy case is to explain
          the benefits of that product to your consumers through point-of-purchase
          materials and side-panel information right on the milk carton.’ . . . ‘Consumers
          have a thirst for information about the products they purchase, where they come
          from, and who produced that product. For organic milk specifically, consumers
          want to know that it came from cows that weren't given antibiotics or synthetic
          growth hormones, that pesticides weren't used in the feed, and that the animals are
          treated humanely.’

          In the case of private label, ‘it’s no different. The benefit of private label organic
          milk for consumers is a store brand will have superior quality and taste, but come
          at a more affordable price because that product doesn't rely on marketing to build
          its brand. This encourages trial and helps to expand the overall market for organic
          milk . . . We work with our retail customers to participate in their store-level
          demo programs, and when consumers taste the quality of their store-brand organic
          milk, it's one of the best ways to convert conventional milk drinkers to organic.’

Bridget Goldschmidt, Milk: Cow Cash, Progressive Grocer, Jan. 2008.

          74.    From 2003 to the present, all of Aurora’s milk and milk products have been

represented to be, and labeled, “organic.”




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Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 26 of 184 PageID #:
                                    2861


       75.     By marketing, selling, or otherwise representing that its milk and milk products

are “organic,” Aurora represents that its production processes comply with the applicable

statutory and regulatory standards.

       76.     In fact, however, Aurora’s production practices, from at least 2003 to August 23,

2007, did not comply with the standards it is required to follow in order to market and sell its

milk and milk products as “organic.”

       77.     Indeed, from the outset, Aurora has applied business practices of conventional,

large-scale, dairies contrary to its representations and in disregard of federal pasturing and other

organic regulations.

       78.     Thus, the milk or milk products Aurora has marketed and sold as “organic” were

produced in large scale factory farms and otherwise failed to comport with the organic standards,

laws, and regulations.

       79.     In fact, Aurora’s practice was to deny its cows access to pasture while they were

lactating and to keep them in feedlots.

       80.     When asked directly about the pasturing of Aurora’s cows in an interview for the

Denver Post, Mr. Retzloff admitted:

               We have a lot of open space, a lot of rangeland, but we don't have
               a lot of water that produces pasture. Here in Colorado, we like to
               use our water to grow higher-value grains and proteins. We keep
               our cows in outside, sheltered pens, and they eat high-quality
               organic feed.

Steve Raabe, Organic Farm Under Fire Over Pasture Rules,,Denver Post, Jan. 16, 2005.

       81.     At all relevant times, Aurora milked its dairy cows three times per day, in order to

maximize milk production per cow, even though most organic milk dairy farms only milk their

cows up to twice per day. As a result, Aurora’s milk output per cow was substantially greater

than the milk output per cow of other organic dairies.


                                                 21
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 27 of 184 PageID #:
                                    2862


        82.      At a peak of over four thousand cows Aurora kept on its Platteville farm, it was a

practical impossibility to both provide the cows with access to pasture in any meaningful sense,

as required by national organic standards, and to milk them three times each day.

        83.      Aurora has marketed and sold its “organic” milk or milk products in a manner

designed to mislead purchasers – including Plaintiffs and the other members of the Classes – in

that Aurora has represented its milk and milk products as “organic” when, in fact, they were not.

        84.      Aurora has marketed and sold its “organic” milk and milk products in a manner

designed to mislead purchasers – including Plaintiffs and the other members of the Classes – by

otherwise representing that they conform to certain standards when they do not.

        85.      Aurora is able to sell its organic milk at prices substantially higher than

conventional milk and milk products for its own substantial benefit and to the detriment of

purchasers, including Plaintiffs and the other members of the proposed Classes.

        86.      The premium Aurora gained from the sale of its “organic” milk and milk products

is significant, totaling millions of dollars per year.

        87.      Having received non-organic milk because of Aurora’s misconduct, instead of the

organic milk for which they paid a price premium, Plaintiff and the members of the Classes were

damaged and did not receive the benefit of their bargain.

        88.      Among other things, Aurora’s conduct constitutes one or more deceptive and

unfair trade acts or practices, and has caused injury to the many thousands of purchasers of

“organic” milk or milk products produced by Aurora, including Plaintiffs and the other members

of the proposed Classes.

        C.       QAI, Inc.

        89.      QAI, which was founded in 1989, is the largest certifier of organic dairies in the

United States.


                                                   22
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 28 of 184 PageID #:
                                    2863


       90.       In order for milk to be designated “organic” and marketed with the official

“USDA Organic” seal, that milk must be certified as “organic,” along with meeting all applicable

requirements of the NOP. However, the USDA does not determine whether milk can be

properly considered as “organic.” Instead, that process is performed by third parties known as

“certifiers.” Thus, a milk producer or processor must seek out a certifier accredited by the

USDA to certify their product as “organic.”

       91.       QAI is one such certifier under the NOP. For a fee paid by its clients, including

Aurora, QAI approves and certifies products and operations as “organic.”

       92.       QAI recognizes the significance of certification. As stated by QAI:

       Independent, third party certification of organic food systems has been the
       foundation of domestic and international organic food trade. The evolution of this
       verification effort, which documents the authenticity of organic farming and
       various subsequent levels of handling, is mandatory under the USDA’s
       Agricultural Marketing Service (AMS) and full implementation of the National
       Organic Program (NOP) Final Rule. This rule requires certification of all
       products labeled as organic in the United States.

http://www.qai-inc.com/2_1_0_0.php (last visited July 17, 2008).

       93.       QAI offers a number of reasons why certification is important:

       Why is “certification” important?
                Provides for product differentiation
                Ensures product's value
                Protects consumers from fraud
                Boosts consumer confidence
                The National Organic Program REQUIRES certification of agricultural
                 products making an organic label claim
                Assures Organic Integrity from seed to shelf

http://www.qai-inc.com/7_0_0_0.php (emphasis in original) (last visited July 17, 2008).




                                                 23
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 29 of 184 PageID #:
                                    2864


           94.    QAI states that its role under the NOP “is to verify that organic integrity is

maintained.”9

           95.    QAI utilizes a five-step program (the “QAI Certification Program”) which

purportedly is “designed to certify every step of the organic chain: from the land on which the

product is grown; to the producers growing the product; to the post-harvest facilities preparing

the product; to the processing and handling facilities transforming the product.”10

           96.   Once all forms are complete and QAI has received its fee, QAI’s certification

process takes approximately eight to ten weeks, with the option for rush certification services.

At the end of the process, QAI states that its client “can now proudly display the QAI mark of

excellence, considered the industry’s most widely recognized certification mark, on [its]

compliant certified organic products.”11 More importantly, QAI’s certification is a necessary

step for QAI’s clients, including Aurora, to display the “USDA Organic” seal and concomitantly,

market and sell the product as “organic.”

           97.    At all times relevant, QAI certified Aurora’s dairy farms in Texas and its milk

processing plant in Colorado as “organic.”

           98.    QAI maintains a public listing on its website of all organizations it certifies as

“organic.” With respect to Aurora, QAI lists each Aurora product certified, e.g., “1% Lowfat

Milk,” representing compliance with the NOP and listing the date on which the product was

added.12




9
    See QAI, The Global Leader in Organic Certification - Choose Quality (2008).
10
     Id.
11
     Id.
12
     See generally http://www.qai-inc.com/pdf/14171.pdf (last visited July 17, 2008).


                                                      24
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 30 of 184 PageID #:
                                    2865


       99.     In addition, QAI requires that every carton of Aurora-produced milk identify QAI

as the product’s organic certifier: “Certified products in retail packaging that meets the 100%

Organic, Organic or Made with Organic claim requirements and identifies the products as such

must display the phrase “Certified Organic by QAI, Inc.” on the information panel adjacent to

the information about the handler or distributor of the product.” QAI, Program Policies for

Organic System Plan Certification, available at http://www.qai-inc.com/pdfs/QAI_Policies.pdf

(emphasis in original).

       100.    The phrase, “Certified Organic by QAI, Inc.,” or a similar variant, is displayed on

all Aurora-produced milk cartons, regardless of individual brand.

       101.    In addition, QAI permits and promotes use of the QAI “mark of excellence,”

which is displayed on products as a large “Q”:




       102.    QAI states that “[c]ertified organic producers and processors recognize the value

of placing QAI’s seal on their products, which assures them, and ultimately their consumers, that

the organic integrity has been maintained.”13

       103.    Aurora promotes the fact that its “milk plant and Texas farms are certified organic

by Quality Assurance International (QAI),” displaying QAI’s “mark of excellence” in multiple

locations on its website.14

13
  See http://www.auroraorganic.com/aodweb/site/itemContent.aspx?iContentID=99&iCategoryID=8 (last
visited July 17, 2008);
http://www.auroraorganic.com/aodweb/site/itemContent.aspx?iContentID=82&iCategoryID=2 (last
visited July 17, 2008);
http://www.auroraorganic.com/aodweb/site/itemContent.aspx?iContentID=123&iCategoryID=6 (last
visited July 18, 2008).


                                                 25
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 31 of 184 PageID #:
                                    2866


           104.   The display of QAI’s symbol and certifying role advertises and is to the benefit of

QAI itself in promoting and increasing use of its services.

           105.   As one of Aurora’s certifiers, QAI was and is responsible for determining that

certain of Aurora’s operations were conducted in accordance with NOP requirements.

           106.   However, as alleged above, Aurora was not operating in accordance with such

requirements.

           107.   QAI either knew or should have known of these violations of organic principles

and federal regulations. Despite this knowledge, QAI continued to certify that the milk and milk

products produced, marketed and sold by Aurora were “organic” and produced in compliance

with NOP requirements, violating 7 C.F.R. § 205.501(a)(3). Nor, at any time, did QAI revoke or

suspend Aurora’s certification.

           108.   In doing so, QAI failed to “[r]efrain from making false or misleading claims about

…the nature and qualities of products labeled as organically produced.” 7 C.F.R. §

205.501(a)(14).

           109.   In addition, even though the milk produced, marketed and sold by Aurora and its

retailers was not “organic,” QAI represented, Aurora’s milk and milk products as “organic.”

           D.     Private Label Organics

           110.   Aurora sells some of its processed “organic” milk and milk products to consumers

under its own “High Meadow” brand, including through Publix. . Aurora also sells milk and

milk products to retailers, who then sell these products under their own private-label brands to

consumers. Such retailers include but may not be limited to Costco, Safeway, Target, Wal-Mart,




14
     See id.


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Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 32 of 184 PageID #:
                                    2867


and Wild Oats. Aurora is the country’s largest private-label producer of “organic” milk and milk

products.

       111.    All of the milk and milk products produced by Aurora and sold by the Defendant

Retailers were and are labeled as, and represented to be, “organic” to consumers.

               1.      Aurora’s “High Meadow” Brand

       112.    Aurora did and does sell “organic” milk and/or milk products produced by Aurora

under the brand name “High Meadow.” The High Meadow label “organic” milk and/or milk

products was and is contained in cartons that specifically represented that the milk was organic

when it was not organic.

       113.    During the relevant time period, High Meadow milk and/or milk products were

retailed by Publix.

       114.    The High Meadow label in bold letters states that the milk is “USDA organic” and

depicts a bucolic scene that does not just give the grazing cows “access” to pasture but represents

cows in the pasture, together with shade trees, flowers, rolling hills and mountains:




                                                27
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 33 of 184 PageID #:
                                    2868


       115.     Numerous other representations appear on the carton regarding the environment

in which the milk is produced as follows:

       Thank you for choosing High Meadow organic milk. Certified organic milk is
       one of nature’s miraculous beverages. It provides healthy nutrition with protein,
       vitamins and important minerals such as calcium. And of course, the taste of
       organic milk is simply fabulous. What’s more, because our milk is certified
       organic, you and your family can be assured that it is produced by healthy,
       contented cows that have not been given antibiotics or synthetic hormones.

       As producers of organic milk, our motto is “Cows First.”

               We believe that animal welfare and cow comfort are the most important
                measures in organic dairy.
               Maintaining excellent herd health is essential for the humane treatment of
                our animals.
               We monitor the health of every cow in our herd to ensure that she gets the
                care she needs.
               All of our cows receive a balanced diet of 100% organic feed, organic
                pasture and clean fresh water.
               Our herds are always outside in the fresh air and sunshine. In case of bad
                weather, they have available shelter but are never kept indoors.

       These cow care principles help to ensure that our cows live stress-free lives and
       produce excellent organic milk. So lift a glass, toast the cows, and enjoy the cool
       fresh taste of High Meadow organic milk. Your taste buds, your family’s health
       and our contented cows will all thank you.

       To learn more, visit us at: www.auroraorganic.com.

       116.     Based on the representation that the High Meadow milk products are “organic,”

Aurora and Publix charge, and purchasers pay, more for these products than conventional dairy

products.

       117.     However, the High Meadow milk was not organic according to federal law. In

fact, High Meadow “organic” milk was produced in large scale factory farms and otherwise

failed to comport with requirements of the OFPA.

       118.     The High Meadow milk and milk products did not comply with requirements of

the OFPA. Despite the violations of federal law and regulations, Aurora and Publix marketed


                                                28
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 34 of 184 PageID #:
                                    2869


and sold the milk or milk products under the “High Meadow” brand representing that the milk

was organic when it was not.

          119.    Despite the violations of federal law and regulations, Aurora marketed and sold

the High Meadow milk or milk products representing that the milk was organic, when it was not.

          120.    Having received non-organic “High Meadow” milk because of Aurora’s

misconduct, instead of the organic milk for which they paid a price premium, Plaintiff and the

members of the Classes were damaged and did not receive the benefit of their bargain.

          121.    The conduct described above caused injury to Plaintiffs and the other members of

the Classes who purchased High Meadow “organic” milk and/or milk products.

                  2.      Costco’s “Kirkland” Brand

          122.    Costco did and does sell “organic” milk and/or milk products produced by Aurora

under the brand name “Kirkland.” The Kirkland label “organic” milk and/or milk products was

and is contained in cartons that specifically represented that the milk was organic when it was

not organic.

          123.    Costco aggressively promotes its “organic” products. For example, an article in a

the Costco Connection newsletter of January 2006 is entitled “Going the Organic Way.”15 It

states:

                  Organic foods, unlike natural foods, are certified and rated by the
                  U.S. Department of Agriculture (USDA) with one of three seals on
                  their label: “100% ORGANIC” designates an all-organic product,
                  “ORGANIC” is used when 95 percent or more of the product is
                  organic and “MADE WITH ORGANIC INGREDIENTS” means at least
                  70 percent of the ingredients are organic. (“Natural” foods, while
                  processed minimally and often without artificial flavors or colors,
                  sweeteners or preservatives, can be grown using conventional
                  methods, which may include pesticides.)


15
     http://www.costcoconnection.com/connection/200601/?pg=107 (last visited July 17, 2008).


                                                    29
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 35 of 184 PageID #:
                                    2870


       124.    The Costco Connection has a special section on organic milk called “Costco’s

Dairy Queens,” with a prominent label entitled “USDA Organic.” It promotes the quality of

Costco’s Organic milk and the pasturing of cows used to produce that milk:

               When I was asked by Costco to learn about organic products, one
               question I had was “What makes organic milk so special?” To
               answer this, I visited one of the farms that produced Costco’s
               Kirkland Signature organic milk.

               The cows on the farm have quite the life. They feed on a balanced
               organic vegan diet and have access to organic pastures for grazing.
               They have their own veterinarian, nutritionists and even a physical-
               therapy pool.

               Sandy Custer, the Costco buyer who accompanied me on my visit,
               notes, “There are a lot of farmers who do a great job with their
               animals and farms. Organic farmers take it one step further. They
               take extra care of their animals to keep them healthy – which
               means greater quality and quantities of milk without the need for
               antibiotics and additional hormones. All processing and bottling is
               certified organic and done right on the farm.”

               Costco organic milk, boxed as three half gallons, offers savings
               that range from 66 cents to $1.66 per half gallon.

               Good job, ladies. Great job, Costco.—PV

       125.    The label itself in bold letters states that the milk is “USDA organic” and depicts

a bucolic scene that doesn’t just give the grazing cows “access” to pasture but represents cows at

pasture:




                                                30
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 36 of 184 PageID #:
                                    2871




       126.   Costco also represents the environment in which the milk is produced as follows:




       127.   Based on its representation that the Kirkland milk products are “organic,” Costco

charges, and purchasers pay more for these products than conventional dairy products.




                                              31
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 37 of 184 PageID #:
                                    2872


       128.      However, Costco’s milk was not organic according to Federal law. In fact,

Costco’s “organic” milk was produced by Aurora in large scale factory farms and otherwise

failed to comport with OFPA requirements.

       129.      Costco’s representations about the environment in which Aurora cows are kept

also were false.

       130.      Costco represented to Plaintiffs and the Class Members purchasing Kirkland-

brand milk and/or milk products that they were “organic” when they were not.

       131.      Costco’s representations were intended to, and did or had the potential to deceive

Plaintiffs and the Class Members into believing that they were purchasing organic milk when

they were not.

       132.      Having received non-organic “Kirkland” milk because of Costco’s misconduct,

instead of the organic milk for which they paid a price premium, Plaintiff and the members of the

Classes were damaged and did not receive the benefit of their bargain.

       133.      Costco failed to conduct its own inspections and oversight to determine whether

Aurora was complying with requirements of the OFPA and/or ignored Aurora’s flagrant

violations. Despite the violations of federal law and regulations, Costco marketed and sold the

milk or milk products under the “Kirkland” brand representing that the milk was organic when it

was not.

       134.      Costco’s conduct caused injury to Plaintiffs and the other members of the Classes

who purchased Kirkland “organic” milk and/or milk products.

                 3.     Safeway’s “O Organics” Brand

       135.      Safeway did and does sell “organic” milk and/or milk products produced by

Aurora under the brand name “O Organics” The milk and/or milk product was and is contained

in cartons that specifically represented it as organic.


                                                  32
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 38 of 184 PageID #:
                                    2873


        136.    By marketing, selling, or otherwise representing that its milk and/or milk products

were “organic,” Safeway represented that the product was produced in compliance with OFPA

requirements and was “organic” when it was not.

        137.    Safeway’s “O Organics” label states in bold letters that the product is “USDA

organic” and also depicts a bucolic scene with cows grazing in a green pasture:




        138.    Safeway also represented on the cartons of its “O Organics” brand milk, in whole

or in part, as follows:

                Description :
                Organic Fat Free Milk
                Ingredients :
                Organic Grade A Fat Free Milk, Vitamin A Palmitate, Vitamin
                D3.
                Product Attributes :
                Organic
                Kosher
                FatFree

                Product Details :
                Ultra-Pasteurized Vitamins A & D added. USDA Organic. Grade
                A; Ultra-Pasteurized; Homogenized. Organic from the Source.
                Certified Organic


                                                33
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 39 of 184 PageID #:
                                    2874


       139.   Safeway also states on the carton of its “O Organics” milk:

              ORGANICS

              Organic from the Source

              There’s a lot that goes into a good glass of milk. It starts with the
              land. Our dairy pastures are environmentally friendly, maintained
              with the use of recognized organic horticultural practices. The
              dairy cows that produce O Organics Milk enjoy a healthy mix of
              fresh air, plenty of exercise, clean drinking water and a
              wholesome, 100% certified organic diet – and they are not given
              growth hormones or treated with antibiotics.



              All of these practices support sustainable farming, which is good
              for the environment, good for the cows and good for the milk.
              That’s why our O Organics Milk tastes like milk should – fresh
              and pure.


       140.   The carton also states:

                                             ORGANICS

                                                organic

                                             Fat Free Milk

                                      Vitamins A & D Added
                               Grade A • Pasteurized • Homogenized

                     “To be certified organic, dairy cows, must be managed under
                   organic livestock practices at least one year before milking. Their
                  feed must be grown on land that has been under organic cultivation
                                practices for a minimum of three years.”

       141.   Based on its representation that the “O Organics” milk products are “organic,”

Safeway charges purchasers, and purchasers pay, more for these products than conventional

dairy products.




                                                  34
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 40 of 184 PageID #:
                                    2875


       142.    However, Safeway’s milk was not organic according to federal law. In fact,

Safeway’s “organic” milk was produced in large scale factory farms and otherwise failed to

comport with requirements of the OFPA.

       143.    Safeway’s representations about the environment in which Aurora cows are kept

also were false.

       144.    Safeway represented to Plaintiffs and the Class Members purchasing “O

Organics” brand milk and/or milk products that they were “organic” when they were not.

       145.    Safeway’s representations were intended to, and did or had the potential to

deceive Plaintiffs and the other members of the Classes into believing that they were purchasing

organic milk when they were not.

       146.    Having received non-organic “O Organics” milk because of Safeway’s

misconduct, instead of the organic milk for which they paid a price premium, Plaintiff and the

members of the Classes were damaged and did not receive the benefit of their bargain

       147.    Safeway failed to conduct its own inspections and oversight to determine whether

Aurora was complying with requirements of the OFPA and/or ignored Aurora’s flagrant

violations. Despite the violations of federal law and regulations, Safeway marketed and sold the

milk and/or milk products under the “O Organics” brand representing that the product was

organic, when it was not.

       148.    Safeway’s conduct caused injury to Plaintiffs and members of the Classes who

purchased “O Organics” “organic” milk and/or milk products.

               4.      Target’s “Archer Farms” Brand

       149.    Target did and does sell “organic” milk and/or milk products produced by Aurora

under the brand name “Archer Farms.” The milk and/or milk product was and is contained in

cartons that specifically represented it as organic.


                                                  35
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 41 of 184 PageID #:
                                    2876


       150.   By marketing, selling, or otherwise representing that its milk and/or milk products

were “organic,” Target represented that the product was produced in compliance with OFPA

requirements and was “organic” when it was not.

       151.   Moreover, Target’s “Archer Farms” advertisements depicted green pastures with

grazing cows. For example:




       152.   Similarly, its labels made representations regarding the benefits of organic milk,

touting the environment in which the cows are raised:

              BENEFITS
                  • Good for you. Reducing your intake of harmful pesticides
                      and other additives is a good health habit.
                  • Good for the earth. Organic farming helps sustain soil
                      quality, maintain essential biodiversity and reduce chemical
                      run-off to help preserve the purity and quality of the water
                      supply.
                  • Good for animals. Our milk comes from healthy cows that
                      graze in organic pastures and eat wholesome organic feed.
              The Nature of Organic
              Archer Farms Organic – food that tastes great . . . naturally.
              Taste the pure, healthful goodness of a cool, fresh glass of milk
              produced without pesticides, antibiotics or artificial growth
              hormones. Archer Farms delivers certified organic grade A milk,
              fortified with vitamins A and D, which helps in calcium
              absorption.

       153.   Based on its representation that the “Archer Farms” milk products are “organic,”

Target charges purchasers, and purchasers paid, more for these products than conventional dairy

products.




                                               36
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 42 of 184 PageID #:
                                    2877


       154.    However, Target’s milk was not organic according to federal law. In fact,

Target’s “organic” milk was produced in large scale factory farms and otherwise failed to

comport with requirements of the OFPA.

       155.    Target’s representations about the environment in which the cows were kept also

were false.

       156.    Target represented to Plaintiffs and the other members of the Classes purchasing

“Archer Farms” brand milk and/or milk products that they were “organic” when they were not.

       157.    Target’s representations were intended to, and did or had the potential to deceive

Plaintiffs and the other members of the Classes into believing that they were purchasing organic

milk when they were not.

       158.    Having received non-organic “Archer Farms” milk because of Target’s

misconduct, instead of the organic milk for which they paid a price premium, Plaintiff and the

members of the Classes were damaged and did not receive the benefit of their bargain.

       159.    Target failed to conduct its own inspections and oversight to determine whether

Aurora was complying with requirements of the OFPA and/or ignored Aurora’s flagrant

violations. Despite the violations of federal law and regulations, Target marketed and sold the

milk or milk products under the “Archer Farms” brand representing that the product was organic

when it was not.

       160.    Target’s conduct caused injury to Plaintiffs and the other members of the Classes

who purchased Archer Farms “organic” milk and/or milk products.

               5.      Wal-Mart’s “Great Value” Brand

       161.    Wal-Mart did and does sell “organic” milk and/or milk products produced by

Aurora under the brand name “Great Value.” The milk and/or milk product was and is

contained in cartons that specifically represented it as organic.


                                                 37
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 43 of 184 PageID #:
                                    2878


       162.    Wal-Mart represented, in whole or in part, that its “Great Value”-label organic

milk sold at its stores “is produced without the use of antibiotics or pesticides and organic

farmers are committed to the humane treatment of animals. Your family can enjoy milk

produced without harmful chemicals.” See http://livebetterindex.com/sustainability.html (last

visited July 17, 2008).

       163.    Based on its representation that the “Great Value” milk products are “organic,”

Wal-Mart charges purchasers, and purchasers pay, more for these products than conventional

dairy products.

       164.    By marketing, selling, or otherwise representing that its milk and/or milk products

were “organic,” Wal-Mart represented that the product was produced in compliance with OFPA

requirements and was “organic” when it was not.

       165.    Wal-Mart’s milk was not organic according to federal law. In fact, Wal-Mart’s

“organic” milk was produced in large scale factory farms and otherwise failed to comport with

requirements of the OFPA.

       166.    Wal-Mart represented to Plaintiffs and the other members of the Classes

purchasing “Great Value” brand milk and/or milk products that they were “organic” when they

were not.

       167.    Wal-Mart’s representations were intended to, and did or had the potential to

deceive Plaintiffs and the Class Members into believing that they were purchasing organic milk

when they were not.

       168.    Having received non-organic “Great Value” milk because of Wal-Mart’s

misconduct, instead of the organic milk for which they paid a price premium, Plaintiff and the

members of the Classes were damaged and did not receive the benefit of their bargain.




                                                 38
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 44 of 184 PageID #:
                                    2879


        169.        Wal-Mart failed to conduct its own inspections and oversight to determine

whether Aurora was complying with requirements of the OFPA and/or ignored Aurora’s flagrant

violations. Despite the violations of federal law and regulations, Wal-Mart marketed and sold

the milk or milk products under the “Great Value” brand representing that the product was

organic when it was not.

        170.        Wal-Mart’s conduct caused injury to Plaintiffs and the other members of the

Classes who purchased “Great Value” “organic” milk and/or milk products.

                    6.     Wild Oats’ Store Brand

        171.        Wild Oats sold “organic” milk and/or milk products produced by Aurora under its

store-name. The milk and/or milk product was contained in cartons that specifically represented

it as organic.

        172.        Wild Oats aggressively promoted its “organic” products. For example, Wild Oats

claimed that it had “A Passion for Organic,” stating “Foods with the Wild Oats Organic label are

made with 95-100% certified organic ingredients from products grown by farmers who practice

sustainable agriculture. No synthetic pesticides, herbicides, fertilizers or GMOs are used in

organic farming.”16

        173.        Wild Oats also touted that “[o]ur dairy case is full of the best organic milk and

cheese . . . .”17

        174.        In advertising its organics product line, Wild Oats contended that “[b]ehind every

label is a story,” adding that “[l]ong before a Wild Oats product appears on the shelf, our buyers



16
   http://www.wildoatsproducts.com/app/private/index?pageId=100905&p=page (last visited July 17,
2008).
17
   http://www.wildoatsproducts.com/app/private/index?p=productcat&pt=Dairy (last visited July 17,
2008).



                                                     39
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 45 of 184 PageID #:
                                    2880


travel around the corner and across the world searching for artisan, organic and natural products

that meet our standards for excellence, and yours for taste, quality and value.”

       175.    Wild Oats also claimed it was committed to ensuring that its products are held to

the highest organic standards in the industry:

               Standards
               The Wild Oats commitment to quality is unparalleled in the grocery
               business. Using rigorous criteria based on scientific research, we ensure
               our stores feature a wide selection of products that are made naturally -
               without artificial flavors, colorings, preservatives or other synthetic
               additives. We feature products that contribute to your health and well-
               being and we partner with vendors that meet our environmental and social
               standards.

               The Wild Oats Standards Committee was created with the vision of
               enhancing the lives of our customers, our employees and the environment
               by maintaining the highest natural and organic standards in the industry.
               Our decisions are grounded on the most current, reliable scientific
               research relevant to the concerns of our customers.


       176.    The Wild Oats organic milk labels themselves stated, in multiple places, that the

milk was “organic.” Examples follow:




                                                 40
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 46 of 184 PageID #:
                                    2881


       177.   Based on its representation that the milk products were “organic,” Wild Oats

charged purchasers, and purchasers paid, more for these products than conventional dairy

products.

       178.   By marketing, selling, or otherwise representing that its milk and/or milk products

were “organic,” Wild Oats represented that the product was produced in compliance with OFPA

requirements, and was “organic,” when it was not.

       179.   Wild Oats’ milk was not organic according to federal law. In fact, Wild Oats’

“organic” milk was produced in large scale factory farms and otherwise failed to comport with

requirements of the OFPA.

       180.   Wild Oats represented to Plaintiffs and the other members of the Classes

purchasing its store-brand milk and/or milk products that they were “organic” when they were

not.

       181.   Wild Oats’ representations were intended to, and did or had the potential to

deceive Plaintiffs and the other members of the Classes into believing that they were purchasing

organic milk when they were not.

       182.   Having received non-organic “Wild Oats” milk because of Wild Oats’

misconduct, instead of the organic milk for which they paid a price premium, Plaintiff and the

members of the Classes were damaged and did not receive the benefit of their bargain.

       183.   Wild Oats failed to conduct its own inspections and oversight to determine

whether Aurora was complying with requirements of the OFPA and/or ignored Aurora’s flagrant

violations. Despite the violations of federal law and regulations, Wild Oats marketed and sold

the milk or milk products representing that the product was organic when it was not.




                                               41
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 47 of 184 PageID #:
                                    2882


        184.    Wild Oats’ conduct caused injury to Plaintiffs and the other members of the

Classes who purchased its “organic” milk and/or milk products.

V.      CLASS ALLEGATIONS

        185.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs seek

certification of the following Classes (or alternative Classes) defined as follows:

                                           Aurora Classes

                All persons in the United States who purchased “organic” milk or milk
                products derived from milk produced by Aurora Dairy (the “Aurora
                Class”), asserting claims under nationwide application of the Colorado
                Consumer Protection Act and for negligent misrepresentation under the
                laws of 50 states, and/or such subclasses as the Court may deem
                appropriate.

                All persons who purchased, in the Consumer Protection States,18 milk or
                milk products labeled as “organic” derived from milk produced by Aurora
                Dairy (the “Aurora Consumer Protection Class”), and/or such subclasses
                as the Court may deem appropriate.

                All persons who purchased, in the Non-Privity Breach of Express
                Warranty States,19 milk or milk products labeled as “organic” derived from
                milk produced by Aurora Dairy (the “Aurora Breach of Express Warranty
                Class”), and/or such subclasses as the Court may deem appropriate.

                All persons who purchased, in the Non-Privity Breach of Implied
                Warranty States,20 milk or milk products labeled as “organic” derived from

18
      The Consumer Protection States are defined hereinafter to include only the states of Arizona,
Arkansas, California, Colorado, Connecticut, Delaware, District of Columbia, Florida, Hawaii, Idaho,
Illinois, Kentucky, Maine, Maryland, Massachusetts, Michigan, Minnesota, Missouri, Nevada, New
Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma,
Oregon, Pennsylvania, Rhode Island, South Carolina, South Dakota, Texas, Virginia, Vermont,
Washington, West Virginia, Wisconsin, and Wyoming.
19
  The Non-Privity Breach of Express Warranty States are defined hereinafter to include only the states of
Alaska, Arizona, Arkansas, California, Colorado, Connecticut, District of Columbia, Hawaii, Indiana,
Kansas, Louisiana, Maine, Massachusetts, Minnesota, Mississippi, Missouri, Montana, Nebraska,
Nevada, New Hampshire, New Jersey, New Mexico, New York, North Carolina, Oklahoma, Oregon,
Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Utah, Vermont,
Washington, West Virginia, or Wyoming, which do not require privity.
20
   The Non-Privity Breach of Implied Warranty States are defined hereinafter to include only the states
of Arkansas, Alaska, California, Colorado, Delaware, District of Columbia, Hawaii, Indiana, Kansas,


                                                   42
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 48 of 184 PageID #:
                                    2883


                milk produced by Aurora Dairy (the “Aurora Breach of Implied Warranty
                Class”), and/or such subclasses as the Court may deem appropriate.

                All persons who purchased, in the Negligence Per Se States,21 milk or milk
                products labeled as “organic” derived from milk produced by Aurora
                Dairy (the “Aurora Negligence Per Se Class”), and/or such subclasses as
                the Court may deem appropriate.

                All persons who purchased, in the Unjust Enrichment States,22 milk or
                milk products labeled as “organic” derived from milk produced by Aurora
                Dairy (the “Aurora Unjust Enrichment Class”), and/or such subclasses as
                the Court may deem appropriate.

                                    Aurora High Meadow Classes

                All persons in the United States who purchased “organic” milk or milk
                products derived from milk produced by Aurora Dairy and sold under the
                “High Meadow” brand (“High Meadow Purchaser Class”), asserting
                claims under nationwide application of the Colorado Consumer Protection
                Act and for negligent misrepresentation under the laws of 50 states, and/or
                such subclasses as the Court may deem appropriate.

                All persons who purchased, in the Consumer Protection States, High
                Meadows milk or milk products labeled as “organic” derived from milk
                produced by Aurora Dairy (the “High Meadow Consumer Protection
                Class”), and/or such subclasses as the Court may deem appropriate.

                All persons who purchased, in the Non-Privity Breach of Express
                Warranty States, High Meadow milk or milk products labeled as “organic”
                derived from milk produced by Aurora Dairy (the “High Meadow Breach
                of Express Warranty Class”), and/or such subclasses as the Court may
                deem appropriate.

                All persons who purchased, in the Non-Privity Breach of Implied
                Warranty States, High Meadow milk or milk products labeled as “organic”
                derived from milk produced by Aurora Dairy (the “High Meadow Breach


Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana,
Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, North Dakota, Ohio, Oklahoma, Oregon,
Pennsylvania, South Carolina, South Dakota, Texas, Utah, Virginia, West Virginia, or Wyoming, which
do not require privity.
21
   The Negligence Per Se States are defined hereinafter to include the United States, except for the states
of Arkansas, Florida, Kansas, Texas, and Wisconsin.
22
  The Unjust Enrichment States are defined hereinafter to include the United States, except for the states
of California and Texas.


                                                    43
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 49 of 184 PageID #:
                                    2884


            of Implied Warranty Class”), and/or such subclasses as the Court may
            deem appropriate.

            All persons who purchased, in the Negligence Per Se States, High
            Meadow milk or milk products labeled as “organic” derived from milk
            produced by Aurora Dairy (the “High Meadow Negligence Per Se Class”),
            and/or such subclasses as the Court may deem appropriate.

            All persons who purchased, in the Unjust Enrichment States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed under the “High Meadow” (the “Aurora High Meadow
            Unjust Enrichment Class”), and/or such subclasses as the Court may deem
            appropriate.

                                  The Costco Classes

            All persons in the United States who purchased “organic” milk or milk
            products derived from milk produced by Aurora Dairy and retailed by
            Costco under the “Kirkland” brand (the “Costco Purchaser Class”),
            asserting claims under nationwide application of the Washington
            Consumer Fraud Act and for breach of express warranty, breach of
            implied warranty and negligent misrepresentation under the laws of 50
            states, and/or such subclasses as the Court deems appropriate.

            All persons who purchased, in the Consumer Protection States, milk or
            milk products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Costco under the “Kirkland” brand (“Costco
            Consumer Protection Class”), and/or such subclasses as the Court may
            deem appropriate.

            All persons who purchased, in the Negligence Per Se States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Costco under the “Kirkland” brand (“Costco
            Negligence Per Se Class”), and/or such subclasses as the Court may deem
            appropriate.

            All persons who purchased, in the Unjust Enrichment States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Costco under the “Kirkland” brand (the “Costco
            Unjust Enrichment Class”), and/or such subclasses as the Court may deem
            appropriate.


                              The Safeway Classes




                                           44
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 50 of 184 PageID #:
                                    2885


            All persons in the United States who purchased “organic” milk or milk
            products derived from milk produced by Aurora Dairy and retailed by
            Safeway under the “O Organics” brand (the “Safeway Purchaser Class”),
            asserting claims under nationwide application of the California Consumer
            Legal Remedies Act and Unfair Competition Law, and for breach of
            express warranty, breach of implied warranty and negligent
            misrepresentation under the laws of 50 states, and/or such subclasses as
            the Court deems appropriate.

            All persons who purchased, in the Consumer Protection States, milk or
            milk products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Safeway under the “O Organics” brand (“Safeway
            Consumer Protection Class”), and/or such subclasses as the Court may
            deem appropriate.

            All persons who purchased, in the Negligence Per Se States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Safeway under the “O Organics” brand (“Safeway
            Negligence Per Se Class”), and/or such subclasses as the Court may deem
            appropriate.

            All persons who purchased, in the Unjust Enrichment States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Safeway under the “O Organics” brand (the
            “Safeway Unjust Enrichment Class”), and/or such subclasses as the Court
            may deem appropriate.


                               The Target Classes

            All persons in the United States who purchased “organic” milk or milk
            products derived from milk produced and sold by Aurora Dairy and
            retailed by Target under the “Archer Farms” brand (the “Target Purchaser
            Class”), asserting claims under nationwide application of the Minnesota
            Prevention of Consumer Fraud Act and Uniform Deceptive Trade
            Practices Act, and for breach of express warranty, breach of implied
            warranty and negligent misrepresentation under the laws of 50 states,
            and/or such subclasses as the Court deems appropriate.

            All persons who purchased, in the Consumer Protection States, milk or
            milk products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Target under the “Archer Farms” brand (“Target
            Consumer Protection Class”), and/or such subclasses as the Court may
            deem appropriate.




                                           45
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 51 of 184 PageID #:
                                    2886


            All persons who purchased, in the Negligence Per Se States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Target under the “Archer Farms” brand (“Target
            Negligence Per Se Class”), and/or such subclasses as the Court may deem
            appropriate.

            All persons who purchased, in the Unjust Enrichment States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Target under the “Archer Farms” brand (the “Target
            Unjust Enrichment Class”), and/or such subclasses as the Court may deem
            appropriate.


                             The Wal-Mart Classes

            All persons in the United States who purchased “organic” milk or milk
            products derived from milk produced by Aurora Dairy and retailed by
            Wal-Mart under the “Great Value” brand (the “Wal-Mart Purchaser
            Class”), asserting claims under nationwide application of the Arkansas
            Deceptive Trade Practices Act, and for breach of express warranty, breach
            of implied warranty and negligent misrepresentation under the laws of 50
            states, and/or such subclasses as the Court deems appropriate.

            All persons who purchased, in the Consumer Protection States, milk or
            milk products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Wal-Mart under the “Great Value” brand (“Wal-
            Mart Consumer Protection Class”), and/or such subclasses as the Court
            may deem appropriate.

            All persons who purchased, in the Negligence Per Se States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Wal-Mart under the “Great Value” brand (“Wal-
            mart Negligence Per Se Class”), and/or such subclasses as the Court may
            deem appropriate.

            All persons who purchased, in the Unjust Enrichment States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Wal-Mart under the “Great Value” brand (the “Wal-
            Mart Unjust Enrichment Class”), and/or such subclasses as the Court may
            deem appropriate.


                             The Wild Oats Classes

            All persons in the United States who purchased “organic” milk or milk
            products derived from milk produced and sold by Aurora Dairy and



                                           46
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 52 of 184 PageID #:
                                    2887


            retailed by Wild Oats under the “Wild Oats” brand (the “Wild Oats
            Purchaser Class”), asserting claims against Wild Oats/Whole Foods under
            nationwide application of the Colorado Consumer Protection Act, and for
            breach of express warranty, breach of implied warranty and negligent
            misrepresentation under the laws of 50 states, and/or such subclasses as
            the Court deems appropriate.

            All persons who purchased, in the Consumer Protection States, milk or
            milk products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Wild Oats under the “Wild Oats” brand (“Wild Oats
            Consumer Protection Class”), and/or such subclasses as the Court may
            deem appropriate.

            All persons who purchased, in the Negligence Per Se States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Wild Oats under the “Wild Oats” brand (“Wild Oats
            Negligence Per Se Class”), and/or such subclasses as the Court may deem
            appropriate.

            All persons who purchased, in the Unjust Enrichment States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and retailed by Wild Oats under the “Wild Oats” brand (the “Wild
            Oats Unjust Enrichment Class”), and/or such subclasses as the Court may
            deem appropriate.


                                    The QAI Classes

            All persons in the United States who purchased “organic” milk or milk
            products derived from milk produced by Aurora Dairy and certified by
            QAI as “organic” (the “QAI Class”), asserting claims under nationwide
            application of the California Consumer Legal Remedies Act and Unfair
            Competition Law, and negligent misrepresentation under the laws of 50
            states, and/or such subclasses as the Court may deem appropriate.

            All persons who purchased, in the Consumer Protection States, milk or
            milk products labeled as “organic” derived from milk produced by Aurora
            Dairy and certified by QAI as “organic” (“QAI Consumer Protection
            Class”), and/or such subclasses as the Court may deem appropriate.

            All persons who purchased, in the Negligence Per Se States, milk or milk
            products labeled as “organic” derived from milk produced by Aurora
            Dairy and certified by QAI as “organic” (“QAI Negligence Per Se Class”),
            and/or such subclasses as the Court may deem appropriate.




                                           47
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 53 of 184 PageID #:
                                    2888


       186.      In defining these Classes, the persons purchasing the milk and milk products

include those who purchased for personal, household, or family use and consumption, but not for

commercial resale.

       187.      Plaintiffs are informed and believe that the Classes consist of many thousands of

persons throughout the United States, making individual joinder of all class members

impracticable.

       188.      Questions of law and fact are common to the Classes and predominate over

questions affecting only individual members, including, among others, the following:

                 a.     Whether the alleged conduct by Defendants violated laws as alleged in

       this Complaint;

                 b.     Whether Defendants engaged in unfair, deceptive, or unlawful acts or

       practices;

                 c.     Whether Defendants violated federal and/or state laws by representing

       milk and milk products as organic when they, in fact, were not;

                 d.     Whether Defendants violated federal and/or state laws by failing to

       disclose that milk and/or milk products labeled as organic milk was not organic;

                 e.     Whether Defendants otherwise made misrepresentations about milk and/or

       milk products labeled as organic;

                 f.     Whether Defendants made affirmations of certain characteristics in

       representing that milk and/or milk products were organic when, in fact, they were not;

                 g.     Whether Defendants made and breached express or implied warranties to

       Plaintiffs and the other members of the Classes about the milk and/or milk products

       represented to be organic;




                                                 48
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 54 of 184 PageID #:
                                    2889


               h.      Whether Defendants obtained a benefit to the detriment of Plaintiffs and

       the other members of the Classes;

               i.       Whether Defendants were unjustly enriched by their deceptive practices;

               j.      Whether Defendants’ acts and/or omissions caused injury to Plaintiffs and

       the other members of the Classes; and

               k.      Whether Plaintiffs and the other members of the Classes are entitled to

       damages.

       189.    Plaintiffs’ claims are typical of the claims of class members as described above;

the claims arose from the same course of conduct by Defendants and the relief sought is common

to Plaintiffs and the other members of the Classes.

       190.    Plaintiffs will fairly and adequately represent and protect the interests of all class

members. Plaintiffs are represented by counsel competent and experienced in both consumer

protection and class action litigation.

       191. Class certification is proper under Fed. R. Civ. P. 23(b)(3), because common issues

of law or fact predominate over any questions affecting only individual class and subclass

members, and a class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

       192.    Furthermore, because the economic damages suffered by the individual class and

subclass members may be relatively modest compared to the expense and burden of individual

litigation, it would be impracticable for class and subclass members to seek redress individually

for the wrongful conduct alleged herein.




                                                 49
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 55 of 184 PageID #:
                                    2890




                                  VI.     CAUSES OF ACTION

A.     Counts Against Aurora

                    COUNT 1: Violation of the Colorado Consumer Protection Act,
                                 Colo. Rev. Stat. §6-1-101 et seq.
                      (Brought on behalf of the Aurora Class against Aurora)

       192.    All Plaintiffs incorporate by reference the preceding paragraphs as if they were

fully set forth herein. Plaintiffs bring this claim on behalf of themselves and all other persons

who purchased “organic” milk and/or milk products produced by Aurora nationwide, asserting

claims under the Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.

       193.    Pursuant to the Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-113(1),

Plaintiffs are: (a) actual or potential consumers of Aurora’s goods and were injured as a result of

the deceptive trade practices described herein; (b) successors in interest to an actual consumer

who purchased Aurora’s goods; or (c) were injured by the deceptive trade practices described

herein in the course of Aurora’s business.

       194.    The “organic” milk and/or milk products produced by Aurora are goods or

products to which the Colorado Consumer Protection Act applies.

       195.    Aurora is a “person” as defined by the Colorado Consumer Protection Act, Colo.

Rev. Stat. § 6-1-102(6).

       196.    Aurora in the course of its business engaged in one or more acts constituting

“deceptive trade practice[s]” pursuant to the Colorado Consumer Protection Act, Colo. Rev. Stat.

§ 6-1-105(1), including:

               a.      Colo. Rev. Stat. § 6-1-105(1)(e): “Knowingly mak[ing] a false

       representation as to the characteristics, ingredients, uses, benefits, alterations, or




                                                 50
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 56 of 184 PageID #:
                                    2891


      quantities of goods, food, services, or property or a false representation as to the

      sponsorship, approval, status,, affiliation, or connection of a person therewith;”

             b.      Colo. Rev. Stat. § 6-1-105(1)(g): “Represent[ing] that goods, food,

      services, or property are of a particular standard, quality, or grade, or that goods are of a

      particular style or model, if he knows or should know that they are of another;”

             c.      Colo. Rev. Stat. §6-1-105(1)(i): Advertises goods, services or property

      with the intent not to sell them as advertised.

             d.      Colo. Rev. Stat. § 6-1-105(1)(u): “Fail[ing] to disclose material

      information concerning goods, services, or property which information was known at the

      time of an advertisement or sale if such failure to disclosure such information was

      intended to induce the consumer to enter into a transaction.”

      197.   Aurora’s deceptive trade practices include, among other things:

             a.      labeling its products as “organic” when, in fact, they were not;

             b.      advertising and representing that its products are “organic” when they

      were not;

             c.      misrepresenting the manner in which its dairy cows were raised and fed;

      and

             d.      suppressing or omitting material facts regarding the production of its

      “organic” milk or milk products, specifically that the milk or milk products are not

      organic, that the dairy cows were not raised at pasture, that its milk or milk products are

      industrially produced, and that its purportedly “organic” milk or milk products failed to

      comply with organic production laws, standards, and regulations.




                                                51
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 57 of 184 PageID #:
                                    2892


          198.   Aurora’s misrepresentations and omissions were deceptive and had the capacity to

deceive reasonable consumers.

          199.   Aurora’s misrepresentations and omissions were for the purpose of, and did,

induce Plaintiffs and the other members of the Class to act or refrain from acting, or had the

capacity to attract customers.

          200.   Aurora’s above described deceptive trade practices significantly impacted the

public, including Plaintiffs and the other members of the Class, as actual or potential consumers

of Aurora’s goods – namely its milk and/or milk products.

          201.   Because Aurora is headquartered in Colorado and a substantial amount of the

conduct giving rise to this action occurred in Colorado, the Colorado Consumer Protection Act

should apply nationwide to this claim against Aurora.

          202.   As a direct and proximate result of Aurora’s use or employment of deceptive

trade practices, Plaintiffs and the other members of the Class have suffered damages.

          203.   Pursuant to the Colorado Consumer Protection Act, § 6-1-113(2), Plaintiffs and

the other members of the Class are entitled to the relief set forth below, as appropriate, including,

but not limited to compensatory damages, punitive damages, attorneys’ fees, and the costs of this

action.

          204.   As set forth in Colorado Consumer Protection Act §§ 6-1-113(2)(a)(III) and 6-1-

113(2)(b)(2.3), Aurora has acted fraudulently, willfully, knowingly, or intentionally with respect

to its injury causing conduct, such that an award of punitive damages is appropriate.




                                                 52
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 58 of 184 PageID #:
                                    2893


               COUNT 2: Violation of State Consumer Protection Laws
               (Brought on behalf of the Aurora Consumer Protection Class)

       205.    All Plaintiffs (except Snell and Still) incorporate by reference the preceding

paragraphs as if they were fully set forth herein. In addition to and/or in the alternative to the

Count(s) above, each of these Plaintiffs brings this Count on his/her own behalf under the law of

the state in which he/she purchased milk and/or milk products produced by Aurora and on behalf

of: (a) all other persons who purchased High Meadow brand milk and/or milk products in the

same state as Plaintiff purchased such products; and (b) all other persons who purchased High

Meadow brand milk and/or milk products in states having similar consumer protection laws.

       206.    Each of these Plaintiffs is a consumer, purchaser or other person entitled to the

protection of the consumer protection laws of the state in which he or she purchased the

“organic” milk and/or milk products produced and sold by Aurora.

       207.    The consumer protection laws of the state in which each Plaintiff purchased the

“organic” milk and/or milk products produced and sold by Aurora declares that unfair or

deceptive acts or practices in the conduct of trade or commerce are unlawful.

       208.    Forty states and the District of Columbia have enacted statutes designed to protect

consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

and false advertising and that allow consumers to bring private and/or class actions. These

statutes are found at:

               a.        Arizona Consumer Fraud Act, Ariz. Rev. Stat. § 44-1522, et seq.;

               b.        Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;

               c.        California Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;

               and California’s Unfair Competition Law, Cal. Bus. & Prof Code § 17200, et seq.;

               d.        Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.;



                                                 53
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 59 of 184 PageID #:
                                    2894


            e.      Connecticut Unfair Trade Practices Act, Conn. Gen. Stat § 42-110a, et

            seq.;

            f.      Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et seq.;

            g.      District of Columbia Consumer Protection Procedures Act, D.C. Code §

            28 3901, et seq.;

            h.      Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §

            501.201, et seq.;

            i.      Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statues § 480

            1, et. seq., and Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised

            Statutes §481A-1, et seq.;

            j.      Idaho Consumer Protection Act, Idaho Code, § 48-601, et seq.;

            k.      Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

            § 505/1, et seq.;

            l.      Indiana Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5.1, et

            seq.;

            m.      Kansas Consumer Protection Act, Kan. Stat. Ann. § 50 626, et seq.;

            n.      Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et seq., and

            Maine Uniform Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et

            seq.;

            o.      Maryland Consumer Protection Act, Md. Com. Law Code § 13-101, et

            seq.;

            p.      Massachusetts Unfair and Deceptive Practices Act, Mass. Ann. Laws ch.

            93A, et seq.;




                                            54
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 60 of 184 PageID #:
                                    2895


            q.         Michigan Consumer Protection Act, § 445.901, et seq.;

            r.         Minnesota Prevention of Consumer Fraud Act, Minn. Stat § 325F.68, et

            seq.; and Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. §

            325D.43, et seq.;

            s.         Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.;

            t.         Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59 1601, et seq.;

            and the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-

            301, et seq.;

            u.         Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. § 598.0903,

            et seq.;

            v.         New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et

            seq.;

            w.         New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8 1, et seq.;

            x.         New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57 12 1, et seq.;

            y.         New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law § 349,

            et seq.;

            z.         North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat.

            § 75-1.1, et seq.;

            aa.        North Dakota Consumer Fraud Act, N.D. Cent. Code § 51 15 01, et seq.;

            bb.        Ohio Consumer Sales Practices Act, Ohio Rev. Code § 1345.01, et seq.;

            cc.        Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et seq.;

            dd.        Oregon Unfair Trade Practices Act, Rev. Stat § 646.605, et seq.;




                                               55
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 61 of 184 PageID #:
                                    2896


               ee.     Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73

               Pa. Stat. § 201-1, et seq.;

               ff.     Rhode Island Unfair Trade Practices And Consumer Protection Act, R.I.

               Gen. Laws § 6-13.1-1, et seq.;

               gg.     South Carolina Unfair Trade Practices Act, S.C. Code Laws § 39-5-10, et

               seq.;

               hh.     South Dakota’s Deceptive Trade Practices and Consumer Protection Law,

               S.D. Codified Laws §§ 37 24 1, et seq.;

               ii.     Texas Deceptive Trade Practices and Consumer Protection Act, Tex. Bus.

               & Com. Code § 17.41, et seq.;

               jj.     Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-196, et

               seq.;

               kk.     Vermont Consumer Fraud Act, 9 Vt. Stat. Ann. § 2451, et seq.;

               ll.     Washington Consumer Fraud Act, Wash. Rev. Code § 19.86.010, et seq.;

               mm.     West Virginia Consumer Credit and Protection Act, West Virginia Code §

               46A-6-101, et seq.;

               nn.     Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.; and

               oo.     Wyoming Consumer Protection Act, Wyo. Stat. § 40-12-101, et seq.

       209.    The milk and/or milk products produced and sold by Aurora constitute products to

which these consumer protection laws apply.

       210.    In the conduct of trade or commerce regarding its production, marketing and sale

of “organic” milk and/or milk products, Aurora engaged in one or more unfair or deceptive acts

or practices, including, but not limited to:




                                                56
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 62 of 184 PageID #:
                                    2897


               a.      labeled its products as “organic” when, in fact, they were not;

               b.      advertised and represented its products as “organic” when, in fact, they

       were not;

               c.      misrepresented the manner in which its dairy cows were raised and fed;

       and

               d.      suppressed or omitted material facts regarding the production of its

       “organic” milk or milk products, specifically, that the milk or milk products are not

       organic, that the dairy cows were not raised at pasture, and that its milk or milk products

       are conventionally produced.

       211.    Aurora’s labeling, statements, advertisements, representations and omissions were

deceptive and likely to deceive.

       212.    Aurora knew or should have known that its statements, advertisements,

representations and omissions were untrue or misleading.

       213.    Aurora used or employed such deceptive and unlawful acts or practices with the

intent that these Plaintiffs and other members of the Class rely thereon.

       214.    Plaintiffs and the other members of the Class did rely on such misrepresentations.

       215.    Each Plaintiff and members of the Class purchased “organic” milk and/or milk

products produced and sold by Aurora that were falsely represented for an amount higher than

conventional milk and/or milk products.

       216.    As a result of Aurora’s conduct, Plaintiffs and the members of the Class were

damaged.

       217.    Aurora’s conduct showed complete indifference to or conscious disregard for the

rights of others such that an award of punitive damages is appropriate.




                                                57
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 63 of 184 PageID #:
                                    2898


                         COUNT 3: Breach of Express Warranty
   (Brought on behalf of the Aurora Breach of Express Warranty Class against Aurora)

       218.    Plaintiffs Benya, Bowen, Clark, Coselli, Cruz, Fincham, Gallardo, Gollomp,

Hudspeth, Kueck, Lloyd, Meacham, Robinson, Snell, Subashe, Theodore, and Weiss,

incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

addition and/or in the alternative to the Count(s) above, each of these Plaintiffs brings this Count

on his/her own behalf under the law of the state in which he/she purchased milk and/or milk

products produced by Aurora and on behalf of: (a) all other persons who purchased “organic”

milk and/or milk products produced by Aurora in the same state as Plaintiff purchased such

products; and (b) all other persons who purchased such products in states having similar laws

regarding express warranty.

       219.    Aurora’s representation that the milk and/or milk products are “organic” is an

affirmation by Aurora that the milk and/or milk products comply with applicable standards,

statutes and regulations, including USDA requirements.

       220.    Aurora’s statements and representations about the “organic” status of its milk

and/or milk products is an affirmation by Aurora that the milk and/or milk products comply with

federal law.

       221.    Aurora’s representations made to Plaintiffs and the members of the Class at the

point of purchase, are part of the description of the goods, and the bargain upon which they are

offered for sale and purchased by Plaintiffs and the members of the Class.

       222.    In addition or in the alternative, Aurora’s representations made by Aurora to

induce Plaintiffs and the members of the Class to rely on such representation, and Plaintiffs and

the members of the Class did so rely (and should be presumed to have relied) on said




                                                 58
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 64 of 184 PageID #:
                                    2899


representation as a material factor in his/her decision to purchase the “organic” products at a

higher price than he/she would otherwise have paid for conventional milk and/or milk products.

       223.    By its statements and representations, Aurora expressly warranted that the milk

and/or milk products complied with applicable standards, statutes and regulations, including

USDA requirements.

       224.    The milk and/or milk products produced and sold by Aurora did not, in fact,

comply with applicable standards, statutes and regulations, including USDA requirements.

       225.    At all times relevant to this action, Aurora falsely represented its milk and/or milk

products as “organic” when they were not produced in compliance with applicable standards,

statutes and regulations, including USDA requirements, in breach of this express warranty in

violation of state express warranty laws, including:

               a.      Ak. St. § 42.02.313;

               b.      Ariz. Rev. Stat. Ann. § 47-2313;

               c.      Ark. Code Ann. § 4-2-313;

               d.      Cal. Comm. Code § 2313;

               e.      Colo. Rev. St. § 4-2-313;

               f.      Conn. Gen. Stat. Ann. § 42a-2-313;

               g.      D.C. Stat. § 28:2-313;

               h.      Haw. Rev. Stat. § 490:2-313;

               i.      Ind. Code § 26-1-2-313;

               j.      Kansas Stat. Ann. § 84-2-313;

               k.      La. Civ. Code. Ann. Art. 2520;

               l.      11 Maine Rev. Stat. Ann. § 2-313;




                                                 59
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 65 of 184 PageID #:
                                    2900


            m.    Mass. Gen. Laws Ann. 106 § 2-313;

            n.    Minn. Stat. Ann. § 336.2-313;

            o.    Miss. Code Ann. § 75-2-313;

            p.    Missouri Rev. Stat. § 400.2-313;

            q.    Mont. Code Ann. § 30-2-313;

            r.    Neb. Rev. Stat. § 2-313;

            s.    Nev. Rev. Stat. §104.2313;

            t.    N.H. Rev. Stat. § 382-A:2-313;

            u.    N.J. Stat. Ann. § 12A:2-313;

            v.    N.M. Stat. Ann. § 55-2-313;

            w.    N.Y. U.C.C. Law § 2-313;

            x.    N.C. Gen. Stat. Ann. § 25-2-313;

            y.    Okla. Stat. Ann. Tit. 12A, § 2-313;

            z.    Or. Rev. Stat. § 72.3130;

            aa.   Pa. Stat. Ann. Tit. 13, § 2313;

            bb.   R.I. Stat. § 6A-2-313;

            cc.   S.C. § 36-2-313;

            dd.   S.D. Cod. Laws. § 57A-2-313;

            ee.   Tenn. Code Ann. § 47-2-313;

            ff.   Tex. Bus. & Com. Code Ann. § 2.313;

            gg.   Ut. Code Ann. § 70A-2-313;

            hh.   Vt. Stat. Ann. § 2-313;

            ii.   Wa. Ann. § 62A.2-313;




                                             60
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 66 of 184 PageID #:
                                    2901


                jj.    W. Va. Code § 46-2-313; and

                kk.    Wyo. Stat. § 34.1-2-313.

       226.     The above statutes do not require privity of contract to recover for breach of

express warranty.

       227.     As a result of Aurora’s conduct, Plaintiffs and the members of the Class have

been damaged.

       228.     Within a reasonable time after they knew or should have known of such breach,

Plaintiffs, on behalf of themselves and members of the Class, placed Aurora on notice thereof.

               COUNT 4: Breach of Implied Warranty of Merchantability
   (Brought on behalf of the Aurora Breach of Implied Warranty Class against Aurora)

       229.     Benya, Clark, Cruz, Coselli, Fincham, Gallardo, Hudspeth, Lloyd, Meacham,

Subashe, Theodore and VerNooy, incorporate by reference the preceding paragraphs as if they

were fully set forth herein. In addition and/or in the alternative to the Count(s) above, each of

these Plaintiffs brings this Count on his/her own behalf under the law of the state in which he/she

purchased milk and/or milk products produced by Aurora and on behalf of: (a) all other persons

who purchased “organic” milk and/or milk products produced by Aurora in the same state as

Plaintiff purchased such products; and (b) all other persons who purchased such products in

states having similar laws regarding implied warranty.

       230.     Plaintiffs and the members of the Class purchased “organic” milk and/or milk

products produced by Aurora for the ordinary purposes of organic milk or milk products -- that it

was, in fact, organic and was of merchantable quality as organic milk.

       231.     By representing that the milk and/or milk products were “organic,” Aurora

impliedly warranted that such products were, in fact, organic, complied with applicable




                                                  61
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 67 of 184 PageID #:
                                    2902


standards, statutes and regulations, including USDA requirements, and were of merchantable

quality as organic.

       232.    At all times material to this action, the milk and milk products produced and sold

by Aurora were not, in fact, organic.

       233.    As such, the milk and milk products produced and sold by Aurora were not fit for

their ordinary purpose and could not pass without objection in the trade.

       234.    Aurora’s conduct breached its implied warranties regarding the “organic” milk

produced and sold by Aurora under state implied warranty laws including:

               a.     Ark. Stat. § 7-2-314 and § 7-2-315;

               b.     Ak. St. § 45.02.314 and § 45.02.315;

               c.     Cal. Comm. Code § 2314;

               d.     Co. Rev. Stat. § 4-2-314 and § 4-2-315;

               e.     6 Del. C. § 2-314 and § 2-315;

               f.     D.C. Stat. § 28:2-314 and § 28:2-315;

               g.     Haw. Rev. Stat. § 490:2-314 and § 490:2-315;

               h.     Ind. Code § 26-1-2-314 and § 26-1-2-315;

               i.     Kan. Stat. Ann. § 50-639(b);

               j.     La. Civ. Code Ann. Art. 2524;

               k.     11 Maine Rev. Stat. Ann. § 2-314 and § 2-315;

               l.     Md. Com. Law Code Ann. § 2-314 and § 2-315;

               m.     Mass. Gen. Laws Ann. 106 § 2-314 and § 2-315;

               n.     Mich. Comp. Laws Ann. § 440.2314 and § 440.2315;

               o.     Minn. Stat. Ann. § 336.2-314 and §336.2-315;




                                                62
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 68 of 184 PageID #:
                                    2903


              p.     Miss. Code Ann. § 75-2-314 and § 75-2-315;

              q.     Mo. Rev. Stat. § 400.2-314 and § 400.2-315;

              r.     Mont. Code Ann. § 30-2-314 and § 30-2-315;

              s.     Neb. Rev. Stat. § 2-314 and § 2-315;

              t.     Nev. Rev. Stat. § 104.2314 and § 104.2315;

              u.     N.H. Stat. Ann. § 382-A:2-314 and § 382-A:2-315;

              v.     N.J. Stat. Ann. § 12A:2-314 and § 12A:2-315;

              w.     N.M. Stat. Ann. § 55-2-314 and § 55-2-315;

              x.     N.D. Stat. § 41-02-31 and § 41-02-32;

              y.     Ohio Rev. Code Ann. § 1302.27 and § 1302.28;

              z.     Okla. Stat. Ann. tit. 12A, § 2-314 and § 2-315;

              aa.    O.R.S. § 72.8020;

              bb.    Pa. Stat. Ann. tit. 13, § 2314 and §2315;

              cc.    S.C. § 36-2-314 and § 36-2-315;

              dd.    S.D. Cod. Laws. § 57A-2-314 and § 57A-2-315;

              ee.    Tex. Bus. & Com. Code Ann. § 2.314 and § 2.315;

              ff.    Ut. Code Ann. § 70A-2-314 and § 70A-2-315;

              gg.    Va. Code Ann. § 8.2-314 and § 8.2-315;

              hh.    W. Va. Code § 46-2-314 and § 46-2-315; and

              ii.    Wyo. Stat. § 34.1-2-314 and § 34.1-2-315.

       235.   These states do not require privity of contract to recover for breach of implied

warranty.

       236.   As a result, Plaintiffs and the members of the Class have been damaged.




                                               63
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 69 of 184 PageID #:
                                    2904


          237.   Within a reasonable time after they knew or should have known of such breach,

Plaintiffs, on behalf of themselves and members of the Class, placed Aurora on notice thereof.

                            COUNT 5: Negligence Per Se
           (Brought on behalf of the Aurora Negligence Per Se Class against Aurora)

          238.   All Plaintiffs (except Brice Leigh, Clark, Coselli, Meacham and Ross) incorporate

by reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in

the alternative to the Counts above, each of these Plaintiffs brings this Count on his/her own

behalf under the law of the state in which he/she purchased milk and/or milk products produced

by Aurora and on behalf of: (a) all other persons who purchased “organic” milk and/or milk

products produced by Aurora in the same state as Plaintiff purchased such products; and (b) all

other persons who purchased such products in states having similar laws regarding negligence

per se.

          239.   Section 6509(e)(2) of the OFPA provides, in part, that dairy animals from which

milk or milk products will be sold as organically produced shall be raised and handled in

accordance with OFPA standards for not less than the twelve month period immediately prior to

the sale of such milk or milk products.

          240.   The OFPA, including 7 U.S.C. § 6509(e)(2), is intended to protect purchasers of

organic milk or milk products, including Plaintiff and members of the Class.

          241.   Aurora owed a duty to purchasers of its “organic” milk or milk products –

including Plaintiff and the Class – not to produce, market and/or sell its milk or milk products as

“organic” unless such products were produced in accordance with OFPA and other applicable

laws.

          242.   From at least December 2003 through August 23, 2007, Aurora produced,

marketed, represented and sold its milk and milk products as “organic,” when, in fact, they were



                                                 64
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 70 of 184 PageID #:
                                    2905


not. Based on this and its other conduct as alleged above, Aurora breached its duty to Plaintiffs

and the members of the Class.

       243.    As a result of Aurora’s conduct, Plaintiff and members of the Class have suffered

damages.

       244.    Aurora’s conduct was outrageous, done with malice or bad motives, or done with

reckless indifference to the interests of others such that an award of punitive damages is

appropriate.

                           COUNT 6: Negligent Misrepresentation
                   (Brought on behalf of the Aurora Class against Aurora)

       245.    All Plaintiffs incorporate by reference the preceding paragraphs as if they were

fully set forth herein. In addition and/or in the alternative to the Counts above, each of these

Plaintiffs brings this Count on his/her own behalf under the law of the state in which he/she

purchased milk and/or milk products produced by Aurora and on behalf of: (a) all other persons

who purchased “organic” milk and/or milk products produced by Aurora in the same state as

Plaintiff purchased such products; and (b) all other persons who purchased such products in

states having similar laws regarding negligent misrepresentation.

       246.    Aurora owed a duty to Plaintiffs and the members of the Class to exercise

reasonable care in making representations about its “organic” milk and milk products.

       247.    Aurora negligently and recklessly made such representations and omitted to

disclose material facts to potential customers and the general public through uniform

mislabeling, non-disclosure and concealment through mass media and point-of-sale advertising,

and through other information prepared or disseminated by Aurora.

       248.    Aurora’s representations and omissions regarding its “organic” milk and milk

products were material.



                                                 65
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 71 of 184 PageID #:
                                    2906


          249.   Aurora’s mislabeling, misrepresentations and non-disclosures were intended to

influence consumers’ purchasing decisions.

          250.   Plaintiffs and the members of the Class reasonably relied (or should be presumed

to have relied) on the labeling and other representations Aurora made regarding its “organic”

milk and milk products.

          251.   Aurora knew or should have known that Plaintiffs and the members of the Class

relied (or should be presumed to have relied) upon the labeling, representations and omissions of

Aurora.

          252.   Aurora’s representations and omissions regarding its “organic” milk and milk

products were false and misleading as alleged above.

          253.   As a result of these misrepresentations, omissions and concealment, Plaintiffs and

the members of the Class have been damaged in an amount to be proven at trial.

          254.   As a result of Aurora’s conduct, Plaintiffs and the members of the Class were

damaged and are therefore entitled to compensatory damages, multiple damages, and equitable

relief.

                           COUNT 7: Unjust Enrichment
          (Brought on behalf of the Aurora Unjust Enrichment Class against Aurora)

          255.   All Plaintiffs (except Gallardo, Theodore, Coselli and Meacham) incorporate by

reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

alternative to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf

under the law of the state in which he/she purchased milk and/or milk products produced by

Aurora and on behalf of: (a) all other persons who purchased “organic” milk and/or milk

products produced by Aurora in the same state as Plaintiff purchased such products and (b) all




                                                 66
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 72 of 184 PageID #:
                                    2907


other persons who purchased such products in states having similar laws regarding unjust

enrichment.

       256.    Aurora markets and promotes organic production as a process having health,

environmental and other benefits warranting a higher retail price than conventionally produced

milk and/or milk products.

       257.    Consumers pay a higher price for “organic” milk and milk products.

       258.    Because consumers are willing to pay a higher retail price for “organic” milk and

milk products, Aurora is able to sell such products to retailers for a price higher than it would

otherwise obtain.

       259.    Aurora received a benefit from Plaintiffs and the members of the Class in the

form of the premium prices it charged to retailers for the “organic” milk and milk products it

produced.

       260.    Retailers then sell the “organic” milk and milk products to Plaintiffs and the

members of the Class for prices higher than conventionally produced products.

       261.    Under the circumstances, it would be inequitable for Aurora to retain the above-

described benefit.

       262.    As a result of Aurora’s unjust enrichment, Plaintiffs and the members of the Class

were damaged in an amount to be determined at trial and seek full disgorgement and restitution

of Aurora’s unjust enrichment.

B.     Counts Against Aurora With Respect to the High Meadow Label

              COUNT 8: Violation of the Colorado Consumer Protection Act
                                  Colo. Rev. Stat. § 6-1-101 et seq.
          (Brought on behalf of the High Meadow Purchaser Class against Aurora)

       263.    Plaintiffs Brice Leigh, Gollomp and Ross incorporate by reference the preceding

paragraphs as if they were fully set forth herein. In addition and/or in the alternative to the


                                                 67
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 73 of 184 PageID #:
                                    2908


Count(s) above, these Plaintiffs bring this Count on behalf of themselves and all other persons

who purchased “organic” milk and/or milk products produced by Aurora and sold by Aurora

under the “High Meadow” brand nationwide, asserting claims under the Colorado Consumer

Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.

       264.    Pursuant to the Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-113(1),

Plaintiffs are: (a) actual or potential consumers of Aurora’s goods and were injured as a result of

the deceptive trade practices described herein; (b) successors in interest to an actual consumer

who purchased Aurora’s goods; or (c) were injured by the deceptive trade practices described

herein in the course of Aurora’s business.

       265.    Aurora is a “person” as defined by the Colorado Consumer Protection Act, Colo.

Rev. Stat. § 6-1-102(6).

       266.    Aurora in the course of its business engaged in one or more acts constituting

“deceptive trade practice[s]” pursuant to the Colorado Consumer Protection Act, Colo. Rev. Stat.

§ 6-1-105(1), including:

               a.      Colo. Rev. Stat. § 6-1-105(1)(e): “Knowingly mak[ing] a false

       representation as to the characteristics, ingredients, uses, benefits, alterations, or

       quantities of goods, food, services, or property or a false representation as to the

       sponsorship, approval, status,, affiliation, or connection of a person therewith;”

               b.      Colo. Rev. Stat. § 6-1-105(1)(g): “Represent[ing] that goods, food,

       services, or property are of a particular standard, quality, or grade, or that goods are of a

       particular style or model, if he knows or should know that they are of another;”

               c.      Colo. Rev. Stat. § 6-1-105(1)(i): Advertises goods, services or property

       with the intent not to sell them as advertised.




                                                 68
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 74 of 184 PageID #:
                                    2909


               d.      Colo. Rev. Stat. § 6-1-105(1)(u): “Fail[ing] to disclose material

       information concerning goods, services, or property which information was known at the

       time of an advertisement or sale if such failure to disclosure such information was

       intended to induce the consumer to enter into a transaction.”

       267.    Aurora’s deceptive trade practices include, among other things:

               a.      labeling its products as “organic” when, in fact, they were not;

               b.      advertising and representing that its products are “organic,” when they are

       not;

               c.      misrepresenting the manner in which its dairy cows were raised and fed;

       and

               d.      suppressing or omitting material facts regarding the production of its

       “organic” milk or milk products, specifically that the milk or milk products are not

       organic, that the dairy cows were not raised at pasture, that its milk or milk products are

       industrially produced, and that its purportedly “organic” milk or milk products failed to

       comply with organic production laws, standards, and regulations.

       268.    Aurora’s misrepresentations and omissions were deceptive and had the capacity to

deceive reasonable consumers.

       269.    Aurora’s misrepresentations and omissions were for the purpose of, and did,

induce Plaintiffs and the other members of the Class to act or refrain from acting, or had the

capacity to attract customers.

       270.    Aurora’s above described deceptive trade practices significantly impacted the

public, including Plaintiffs and the other members of the Class, as actual or potential consumers

of Aurora’s goods – namely its milk and/or milk products.




                                                69
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 75 of 184 PageID #:
                                    2910


          271.     Because Aurora is headquartered in Colorado and a substantial amount of the

conduct giving rise to this action occurred in Colorado, the Colorado Consumer Protection Act

should apply nationwide to this claim against Aurora.

          272.     As a direct and proximate result of Aurora’s use or employment of the deceptive

trade practices described above, Plaintiffs and the other members of the Class have suffered

damages.

          273.     Pursuant to the Colorado Consumer Protection Act, § 6-1-113(2), Plaintiffs and

the other members of the Class are entitled to the relief set forth below, as appropriate, including,

but not limited to compensatory damages, punitive damages, attorneys’ fees, and the costs of this

action.

          274.     As set forth in Colorado Consumer Protection Act §§ 6-1-113(2)(a)(III) and 6-1-

113(2)(b)(2.3), Aurora has acted fraudulently, willfully, knowingly, or intentionally with respect

to its injury causing conduct, such that an award of punitive damages is appropriate.

                   COUNT 9: Violation of State Consumer Protection Laws
                 (Brought on behalf of the High Meadow Consumer Protection Class)

          275.     Plaintiffs Brice Leigh, Gollomp and Ross incorporate by reference the preceding

paragraphs as if they were fully set forth herein. In addition to and/or in the alternative to the

Count(s) above, each of these Plaintiffs brings this Count on his/her own behalf under the law of

the state in which he/she purchased milk and/or milk products produced by Aurora and on behalf

of: (a) all other persons who purchased High Meadow brand milk and/or milk products in the

same state as Plaintiff purchased such products; and (b) all other persons who purchased High

Meadow brand milk and/or milk products in states having similar consumer protection laws.




                                                  70
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 76 of 184 PageID #:
                                    2911


       276.    Each of these Plaintiffs is a consumer, purchaser or other person entitled to the

protection of the consumer protection laws of the state in which he or she purchased the

“organic” milk and/or milk products produced and sold by Aurora.

       277.    The consumer protection laws of the state in which each Plaintiff purchased the

“organic” milk and/or milk products produced and sold by Aurora declares that unfair or

deceptive acts or practices in the conduct of trade or commerce are unlawful.

       278.    Forty states and the District of Columbia have enacted statutes designed to protect

consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

and false advertising and that allow consumers to bring private and/or class actions. These

statutes are found at:

               a.        Arizona Consumer Fraud Act, Ariz. Rev. Stat. § 44-1522, et seq.;

               b.        Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;

               c.        California Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;

               and California’s Unfair Competition Law, Cal. Bus. & Prof Code § 17200, et seq.;

               d.        Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.;

               e.        Connecticut Unfair Trade Practices Act, Conn. Gen. Stat § 42-110a, et

               seq.;

               f.        Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et seq.;

               g.        District of Columbia Consumer Protection Procedures Act, D.C. Code §

               28 3901, et seq.;

               h.        Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §

               501.201, et seq.;

               i.        Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statues § 480




                                                 71
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 77 of 184 PageID #:
                                    2912


            1, et. seq., and Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised

            Statutes §481A-1, et seq.;

            j.      Idaho Consumer Protection Act, Idaho Code, § 48-601, et seq.;

            k.      Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

            § 505/1, et seq.;

            l.      Indiana Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5.1, et

            seq.;

            m.      Kansas Consumer Protection Act, Kan. Stat. Ann. § 50 626, et seq.;

            n.      Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et seq., and

            Maine Uniform Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et

            seq.;

            o.      Maryland Consumer Protection Act, Md. Com. Law Code § 13-101, et

            seq.;

            p.      Massachusetts Unfair and Deceptive Practices Act, Mass. Ann. Laws ch.

            93A, et seq.;

            q.      Michigan Consumer Protection Act, § 445.901, et seq.;

            r.      Minnesota Prevention of Consumer Fraud Act, Minn. Stat § 325F.68, et

            seq.; and Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. §

            325D.43, et seq.;

            s.      Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.;

            t.      Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59 1601, et seq.;

            and the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-

            301, et seq.;




                                            72
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 78 of 184 PageID #:
                                    2913


            u.         Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. § 598.0903,

            et seq.;

            v.         New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et

            seq.;

            w.         New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8 1, et seq.;

            x.         New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57 12 1, et seq.;

            y.         New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law § 349,

            et seq.;

            z.         North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat.

            § 75-1.1, et seq.;

            aa.        North Dakota Consumer Fraud Act, N.D. Cent. Code § 51 15 01, et seq.;

            bb.        Ohio Consumer Sales Practices Act, Ohio Rev. Code § 1345.01, et seq.;

            cc.        Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et seq.;

            dd.        Oregon Unfair Trade Practices Act, Rev. Stat § 646.605, et seq.;

            ee.        Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73

            Pa. Stat. § 201-1, et seq.;

            ff.        Rhode Island Unfair Trade Practices And Consumer Protection Act, R.I.

            Gen. Laws § 6-13.1-1, et seq.;

            gg.        South Carolina Unfair Trade Practices Act, S.C. Code Laws § 39-5-10, et

            seq.;

            hh.        South Dakota’s Deceptive Trade Practices and Consumer Protection Law,

            S.D. Codified Laws §§ 37 24 1, et seq.;




                                               73
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 79 of 184 PageID #:
                                    2914


               ii.     Texas Deceptive Trade Practices and Consumer Protection Act, Tex. Bus.

               & Com. Code § 17.41, et seq.;

               jj.     Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-196, et

               seq.;

               kk.     Vermont Consumer Fraud Act, 9 Vt. Stat. Ann. § 2451, et seq.;

               ll.     Washington Consumer Fraud Act, Wash. Rev. Code § 19.86.010, et seq.;

               mm.     West Virginia Consumer Credit and Protection Act, West Virginia Code §

               46A-6-101, et seq.;

               nn.     Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.; and

               oo.     Wyoming Consumer Protection Act, Wyo. Stat. § 40-12-101, et seq.

       279.    The milk and/or milk products produced and sold by Aurora constitute products to

which these consumer protection laws apply.

       280.    In the conduct of trade or commerce regarding its production, marketing and sale

of “organic” milk and/or milk products, Aurora engaged in one or more unfair or deceptive acts

or practices, including, but not limited to:

              a.       labeled its products as “organic” when, in fact, they were not;

              b.       advertised and represented its products as “organic” when, in fact, they

      were not;

              c.       misrepresented the manner in which its dairy cows were raised and fed;

      and

              d.       suppressed or omitted material facts regarding the production of its

      “organic” milk or milk products, specifically, that the milk or milk products are not

      organic, that the dairy cows were not raised at pasture, and that its milk or milk products




                                                74
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 80 of 184 PageID #:
                                    2915


      are conventionally produced.

       281.    Aurora’s labeling, statements, advertisements, representations and omissions were

deceptive and likely to deceive.

       282.    Aurora knew or should have known that its statements, advertisements,

representations and omissions were untrue or misleading.

       283.    Aurora used or employed such deceptive and unlawful acts or practices with the

intent that these Plaintiffs and other members of the Class rely thereon.

       284.    Plaintiffs and the other members of the Class did rely on such misrepresentations.

       285.    Each Plaintiff and members of the Class purchased “organic” milk and/or milk

products produced and sold by Aurora that were falsely represented for an amount higher than

conventional milk and/or milk products.

       286.    As a result of Aurora’s conduct, Plaintiffs and the members of the Class were

damaged.

       287.    Aurora’s conduct showed complete indifference to or conscious disregard for the

rights of others such that an award of punitive damages is appropriate.

                     COUNT 10: Breach Of Express Warranty
        (Brought on behalf of the High Meadow Breach of Express Warranty Class)

       288.    Plaintiff Gollomp incorporates by reference the preceding paragraphs as if they

were fully set forth herein. In addition and/or in the alternative to the Count(s) above, Plaintiff

brings this Count on his/her own behalf under the law of the state in which he/she purchased

milk and/or milk products produced by Aurora and on behalf of: (a) all other persons who

purchased “organic” milk and/or milk products produced and sold by Aurora in the same state as

Plaintiff purchased such products; and (b) all other persons who purchased such products in

states having similar laws regarding express warranty.



                                                 75
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 81 of 184 PageID #:
                                    2916


       289.    Aurora’s representation that the milk and/or milk products are “organic” is an

affirmation by Aurora that the milk and/or milk product comply with applicable standards,

statutes and regulations, including USDA requirements.

       290.    Aurora’s representation that the milk and/or milk products are “organic” is made

to Plaintiffs and the members of the Class at the point of purchase, is part of the description of

the goods, and the bargain upon which they are offered for sale and purchased by Plaintiffs and

the members of the Class.

       291.    In addition or in the alternative, Aurora’s representation that the milk and/or milk

products are “organic” are made by Aurora to induce Plaintiffs and the members of the Class to

rely on such representation, and Plaintiffs and the members of the Class did so rely (and should

be presumed to rely) on said representation as a material factor in his/her decision to purchase

the “organic” product at a higher price than he/she would otherwise have paid for a conventional

milk and/or milk products.

       292.    By its statements and representations, Aurora expressly warranted that the milk

and/or milk products complied with applicable standards, statutes and regulations, including

USDA requirements.

       293.    The milk and/or milk products produced and sold by Aurora did not, in fact,

comply with applicable standards, statutes and regulations, including USDA requirements.

       294.    At all times relevant to this action, Aurora falsely represented its milk and/or milk

products as “organic” when they were not produced in compliance with applicable standards,

statutes and regulations, including USDA requirements, and falsely represented the other

descriptions about the products and the manner in which the products were produced in breach of

these express warranties.




                                                 76
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 82 of 184 PageID #:
                                    2917


       295.    At all times relevant to this action, Aurora falsely represented its milk and/or milk

products as “organic” when they were not produced in compliance with applicable standards,

statutes and regulations, including USDA requirements, in breach of this express warranty in

violation of state express warranty laws, including:

               a.     Ak. St. § 42.02.313;

               b.     Ariz. Rev. Stat. Ann. § 47-2313;

               c.     Ark. Code Ann. § 4-2-313;

               d.     Cal. Comm. Code § 2313;

               e.     Colo. Rev. St. § 4-2-313;

               f.     Conn. Gen. Stat. Ann. § 42a-2-313;

               g.     D.C. Stat. § 28:2-313;

               h.     Haw. Rev. Stat. § 490:2-313;

               i.     Ind. Code § 26-1-2-313;

               j.     Kansas Stat. Ann. § 84-2-313;

               k.     La. Civ. Code. Ann. Art. 2520;

               l.     11 Maine Rev. Stat. Ann. § 2-313;

               m.     Mass. Gen. Laws Ann. 106 § 2-313;

               n.     Minn. Stat. Ann. § 336.2-313;

               o.     Miss. Code Ann. § 75-2-313;

               p.     Missouri Rev. Stat. § 400.2-313;

               q.     Mont. Code Ann. § 30-2-313;

               r.     Neb. Rev. Stat. § 2-313;

               s.     Nev. Rev. Stat. §104.2313;




                                                 77
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 83 of 184 PageID #:
                                    2918


              t.     N.H. Rev. Stat. § 382-A:2-313;

              u.     N.J. Stat. Ann. § 12A:2-313;

              v.     N.M. Stat. Ann. § 55-2-313;

              w.     N.Y. U.C.C. Law § 2-313;

              x.     N.C. Gen. Stat. Ann. § 25-2-313;

              y.     Okla. Stat. Ann. Tit. 12A, § 2-313;

              z.     Or. Rev. Stat. § 72.3130;

              aa.    Pa. Stat. Ann. Tit. 13, § 2313;

              bb.    R.I. Stat. § 6A-2-313;

              cc.    S.C. § 36-2-313;

              dd.    S.D. Cod. Laws. § 57A-2-313;

              ee.    Tenn. Code Ann. § 47-2-313;

              ff.    Tex. Bus. & Com. Code Ann. § 2.313;

              gg.    Ut. Code Ann. § 70A-2-313;

              hh.    Vt. Stat. Ann. § 2-313;

              ii.    Wa. Ann. § 62A.2-313;

              jj.    W. Va. Code § 46-2-313; and

              kk.    Wyo. Stat. § 34.1-2-313.

       296.   The above statutes do not require privity of contract to recover for breach of

express warranty.

       297.   As a result of Aurora’s conduct, Plaintiffs and the members of the Class were

damaged.




                                                78
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 84 of 184 PageID #:
                                    2919


       298.    Within a reasonable time after they knew or should have known of such breach,

Plaintiffs, on behalf of themselves and members of the Class, placed Aurora on notice thereof.

                   COUNT 11: Breach Of Implied Warranty of Merchantability
                  (Brought on behalf of the High Meadow Breach of Implied
                              Warranty Class Against Aurora)

       299.    Plaintiff Gollomp incorporates by reference the preceding paragraphs as if they

were fully set forth herein. In addition and/or in the alternative to the Count(s) above, Plaintiff

brings this Count on his/her own behalf under the law of the state in which he/she purchased

milk and/or milk products produced by Aurora and on behalf of: (a) all other persons who

purchased High Meadow “organic” milk and/or milk products produced and sold by Aurora in

the same state as Plaintiff purchased such products; and (b) all other persons who purchased such

product in states having similar laws regarding implied warranty.

       300.    Plaintiffs and the members of the Class purchased “organic” milk and/or milk

products produced and sold by Aurora for the ordinary purposes of organic milk or milk products

-- that it was, in fact, organic and of merchantable quality as organic.

       301.    By representing that the milk and/or milk products were “organic,” Aurora

impliedly warranted that such products were, in fact, organic and complied with applicable

standards, statutes and regulations, including USDA requirements, and were of merchantable

quality as organic.

       302.    At all times material to this action, the milk and/or milk products produced and

sold by Aurora were not, in fact, organic and of merchantable quality as organic.

       303.    As such, the milk and/or milk products produced and sold by Aurora were not fit

for their ordinary purpose and could not pass without objection in the trade.




                                                 79
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 85 of 184 PageID #:
                                    2920


       304.   Aurora’s conduct breached its implied warranties regarding the “organic” milk

produced and sold by Aurora under state implied warranty laws including:

              a.     Ark. Stat. § 7-2-314 and § 7-2-315;

              b.     Ak. St. § 45.02.314 and § 45.02.315;

              c.     Cal. Comm. Code § 2314;

              d.     Co. Rev. Stat. § 4-2-314 and § 4-2-315;

              e.     6 Del. C. § 2-314 and § 2-315;

              f.     D.C. Stat. § 28:2-314 and § 28:2-315;

              g.     Haw. Rev. Stat. § 490:2-314 and § 490:2-315;

              h.     Ind. Code § 26-1-2-314 and § 26-1-2-315;

              i.     Kan. Stat. Ann. § 50-639(b);

              j.     La. Civ. Code Ann. Art. 2524;

              k.     11 Maine Rev. Stat. Ann. § 2-314 and § 2-315;

              l.     Md. Com. Law Code Ann. § 2-314 and § 2-315;

              m.     Mass. Gen. Laws Ann. 106 § 2-314 and § 2-315;

              n.     Mich. Comp. Laws Ann. § 440.2314 and § 440.2315;

              o.     Minn. Stat. Ann. § 336.2-314 and §336.2-315;

              p.     Miss. Code Ann. § 75-2-314 and § 75-2-315;

              q.     Mo. Rev. Stat. § 400.2-314 and § 400.2-315;

              r.     Mont. Code Ann. § 30-2-314 and § 30-2-315;

              s.     Neb. Rev. Stat. § 2-314 and § 2-315;

              t.     Nev. Rev. Stat. § 104.2314 and § 104.2315;

              u.     N.H. Stat. Ann. § 382-A:2-314 and § 382-A:2-315;




                                             80
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 86 of 184 PageID #:
                                    2921


               v.      N.J. Stat. Ann. § 12A:2-314 and § 12A:2-315;

               w.      N.M. Stat. Ann. § 55-2-314 and § 55-2-315;

               x.      N.D. Stat. § 41-02-31 and § 41-02-32;

               y.      Ohio Rev. Code Ann. § 1302.27 and § 1302.28;

               z.      Okla. Stat. Ann. tit. 12A, § 2-314 and § 2-315;

               aa.     O.R.S. § 72.8020;

               bb.     Pa. Stat. Ann. tit. 13, § 2314 and §2315;

               cc.     S.C. § 36-2-314 and § 36-2-315;

               dd.     S.D. Cod. Laws. § 57A-2-314 and § 57A-2-315;

               ee.     Tex. Bus. & Com. Code Ann. § 2.314 and § 2.315;

               ff.     Ut. Code Ann. § 70A-2-314 and § 70A-2-315;

               gg.     Va. Code Ann. § 8.2-314 and § 8.2-315;

               hh.     W. Va. Code § 46-2-314 and § 46-2-315; and

               ii.     Wyo. Stat. § 34.1-2-314 and § 34.1-2-315.

       305.    These states do not require privity of contract to recover for breach of implied

warranty.

       306.    As a result, Plaintiffs and the members of the Class were damaged.

       307.    Within a reasonable time after they knew or should have known of such breach,

Plaintiffs, on behalf of themselves and members of the Class, placed Aurora on notice thereof.

                         COUNT 12: Negligence Per Se
     (Brought on behalf of the High Meadow Negligence Per Se Class Against Aurora)

       308.    Plaintiff Gollomp incorporates by reference the preceding paragraphs as if they

were fully set forth herein. In addition and/or in the alternative to the Counts above, Plaintiff

brings this Count on his/her own behalf under the law of the state in which he/she



                                                 81
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 87 of 184 PageID #:
                                    2922


purchased milk and/or milk products produced by Aurora and on behalf of: (a) all other persons

who purchased “organic” milk and/or milk products produced and sold by Aurora in the same

state as Plaintiff purchased such products; and (b) all other persons who purchased such products

in states having similar laws regarding negligence per se.

       309.    Section 6509(e)(2) of the OFPA provides, in part, that dairy animals from which

milk or milk products will be sold as organically produced shall be raised and handled in

accordance with OFPA for not less than the twelve month period immediately prior to the sale of

such milk or milk products.

       310.    The OFPA, including 7 U.S.C. § 6509(e)(2), is intended to protect purchasers of

organic milk or milk products, including Plaintiff and members of the Class.

       311.    Aurora owed a duty to purchasers of its “organic” milk or milk products –

including Plaintiff and the Class – not to produce, market and/or sell its milk or milk products as

“organic” unless such products were produced in accordance with OFPA, its accompanying

regulations, and other applicable laws.

       312.    From at least December 2003 through at least August 23, 2007 Aurora has

produced, marketed, represented and sold its milk or milk products as “organic,” when, in fact,

they were not. Based on this conduct, and its other conduct, as alleged above, Aurora breached

its duty to Plaintiffs and the members of the Class.

       313.    As a direct and proximate result of Aurora’s conduct, Plaintiff and members of

the Class have suffered damages in an amount to be proven at trial.

       314.    Aurora’s conduct was outrageous, done with malice or bad motives, or done with

reckless indifference to the interests of others such that an award of punitive damages is

appropriate.




                                                82
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 88 of 184 PageID #:
                                    2923


                         COUNT 13: Negligent Misrepresentation
         (Brought on behalf of the High Meadow Purchaser Class Against Aurora)

       315.    Plaintiffs Brice Leigh, Gollomp and Ross incorporate by reference the preceding

paragraphs as if they were fully set forth herein. In addition and/or in the alternative to the

Counts above, each of these Plaintiffs brings this Count on his/her own behalf under the law of

the state in which he/she purchased milk and/or milk products produced by Aurora under the

High Meadow label and on behalf of: (a) all other persons who purchased “organic” milk and/or

milk products produced by Aurora and sold under the High Meadow label in the same state as

Plaintiff purchased such products; and (b) all other persons who purchased such products in

states having similar laws regarding negligent misrepresentation.

       316.    Aurora owed a duty to Plaintiffs and the members of the Class to exercise

reasonable care in making representations about its “organic” milk and milk products.

       317.    Aurora negligently and recklessly made such representations and omitted to

disclose material facts to potential customers and the general public through uniform

mislabeling, non-disclosure and concealment through mass media and point-of-sale advertising,

and through other information prepared or disseminated by Aurora.

       318.    Aurora’s representations and omissions regarding its “organic” milk and milk

products were material.

       319.    Aurora’s mislabeling, misrepresentations and non-disclosures were intended to

influence consumers’ purchasing decisions.

       320.    Plaintiffs and the members of the Class reasonably relied (or should be presumed

to have relied) on the labeling and other representations Aurora made regarding its “organic”

milk and milk products.




                                                 83
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 89 of 184 PageID #:
                                    2924


          321.   Aurora knew or should have known that Plaintiffs and the members of the Class

relied (or should be presumed to have relied) upon the labeling, representations and omissions of

Aurora.

          322.   Aurora’s representations and omissions regarding its “organic” milk and milk

products were false and misleading as alleged above.

          323.   As a result of these misrepresentations, omissions and concealment, Plaintiffs and

the members of the Class have been damaged in an amount to be proven at trial.

          324.   As a result of Aurora’ conduct, Plaintiffs and the members of the Class were

damaged and are therefore entitled to compensatory damages, multiple damages, and equitable

relief.

                          COUNT 14: Unjust Enrichment
           (Brought on behalf of the Aurora High Meadow Unjust Enrichment Class)

          325.   Plaintiffs Brice Leigh, Gollomp and Ross incorporate by reference the preceding

paragraphs as if they were fully set forth herein. In addition and/or in the alternative to the

Counts above, each of these Plaintiffs brings this Count on his/her own behalf under the law of

the state in which he/she purchased milk and/or milk products produced by Aurora under the

High Meadow brand and on behalf of: (a) all other persons who purchased “organic” milk and/or

milk products produced and sold by Aurora under the High Meadow brand in the same state as

Plaintiff purchased such products; and (b) all other persons who purchased such products in

states having similar laws regarding unjust enrichment.

          326.   Aurora markets and promotes organic production as a process having health,

environmental and other benefits warranting a higher retail price than conventionally produced

milk and/or milk products.




                                                 84
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 90 of 184 PageID #:
                                    2925


       327.     Aurora charged, and consumers paid, a higher retail price for the “organic” milk

and/or milk products produced and sold by Aurora than the price of conventionally produced

milk and/or milk products.

       328.     Aurora received a benefit in the form of the premium price charged by Aurora and

paid by Plaintiffs and the members of the Class for the “organic” milk and milk products

produced and sold by Aurora.

       329.     Under the circumstances, it would be inequitable for Aurora to retain the above-

described benefit.

       330.     As a result of Aurora’s unjust enrichment, Plaintiffs and the members of the Class

were damaged in an amount to be determined at trial and seek full disgorgement and restitution

of Aurora’s unjust enrichment.

C.     Counts Against Costco

       COUNT 15: Violation Of The Washington Consumer Protection Act,
                                 RCW 19.86 et seq.
                 (Brought on behalf of the Costco Purchaser Class)

       331.     Plaintiffs Bowen, Gollomp, Hudspeth, Lloyd and Subashe incorporate by

reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

alternative to the Count(s) above, Plaintiffs assert this Count on their own behalf and on behalf

of the Class.

       332.     The Washington Consumer Protection Act, Title 19, Chapter 86 of the Revised

Code of Washington, prohibits unfair or deceptive acts or practices in the conduct of any trade or

commerce.

       333.     Plaintiffs and the members of the Class are purchasers, consumers or otherwise

within the class of persons that the Washington Consumer Protection Act was intended to

protect.


                                                85
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 91 of 184 PageID #:
                                    2926


       334.    The “organic” milk and/or milk products produced by Aurora and retailed by

Costco are goods or products to which the Washington Consumer Protection Act applies.

       335.    Costco is a seller or other person to whom the Washington Consumer Protection

Act applies.

       336.    Costco engaged in unfair or deceptive acts or practices in the conduct of the trade

or commerce of its “organic” milk or milk products including, but not limited to:

               a.      labeled its products as “organic” when, in fact, they were not;

               b.      advertised and represented its products as “organic” when they were not;

               c.      misrepresented the manner in which the dairy cows producing the milk

       and milk products were raised and fed; and

               d.      suppressed or omitted material facts regarding the production of its

       “organic” milk or milk products, specifically, that the milk or milk products are not

       organic, that the dairy cows were not raised at pasture, and that its milk or milk products

       are conventionally produced.

       337.    Such misrepresentations were material.

       338.    Costco’s misrepresentations and omissions were deceptive and had the capacity or

tendency to deceive a substantial portion of the public.

       339.    Costco’s misrepresentations and omissions were made for the purpose of, and did,

induce Plaintiffs and the members of the Class who purchase Costco’s “organic” milk and/or

milk products for an amount higher than conventional milk and/or milk products.

       340.    Plaintiffs and the other members of the Class relied (or should be presumed to

have relied) on Costco’s misrepresentations and omissions.




                                                86
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 92 of 184 PageID #:
                                    2927


        341.    Costco’s conduct significantly impacted the public, including Plaintiffs and the

other members of the Class as actual or potential consumers of the “organic” milk and/or milk

products sold by Costco.

        342.    Because Costco is headquartered in Washington, Costco made decisions

regarding the labeling, marketing and sale of the “organic” milk and milk products in

Washington, and other conduct giving rise to this action occurred in Washington, the

Washington consumer protection laws should apply nationwide to this claim against Costco.

        343.    As a direct and proximate result of Costco’s wrongful conduct, Plaintiffs and the

members of the Class have been damaged by, inter alia, paying a premium price for “organic”

milk, when they received non-organic milk.

        344.    Plaintiffs and the Class are entitled to compensatory damages, treble damages,

attorneys’ fees and cost of this suit.

        345.    Because Costco’s conduct impacts the public interest, an award of treble damages

is appropriate, pursuant to Wash. Rev. Code § 19.86.090.

                COUNT 16: Violation Of State Consumer Protection Laws
                 (Brought on behalf of the Costco Consumer Protection Class)

        346.    Plaintiffs Bowen, Gollomp, Hudspeth, Lloyd, and Subashe incorporate by

reference the preceding paragraphs as if they were fully set forth herein. In addition to and/or in

the alternative to the Count(s) above, each of these Plaintiffs brings this Count on his/her own

behalf under the law of the state in which he/she purchased milk and/or milk products produced

by Aurora and sold by Costco and on behalf of: (a) all other persons who purchased milk and/or

milk products produced by Aurora and retailed by Costco in the same state as Plaintiff purchased

such products; and (b) all other persons who purchased such products in states having similar

consumer protection laws.



                                                87
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 93 of 184 PageID #:
                                    2928


       347.    The consumer protection laws of the state in which each Plaintiff and member of

the Class purchased the “organic” milk and/or milk products produced by Aurora and retailed by

Costco declares that unfair or deceptive acts or practices in the conduct of trade or commerce are

unlawful.

       348.    Forty states and the District of Columbia have enacted statutes designed to protect

consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

and false advertising and that allow consumers to bring private and/or class actions. These

statutes are found at:

               a.        Arizona Consumer Fraud Act, Ariz. Rev. Stat. § 44-1522, et seq.;

               b.        Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;

               c.        California Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;

               and California’s Unfair Competition Law, Cal. Bus. & Prof Code § 17200, et seq.;

               d.        Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.;

               e.        Connecticut Unfair Trade Practices Act, Conn. Gen. Stat § 42-110a, et

               seq.;

               f.        Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et seq.;

               g.        District of Columbia Consumer Protection Procedures Act, D.C. Code §

               28 3901, et seq.;

               h.        Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §

               501.201, et seq.;

               i.        Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statues § 480

               1, et. seq., and Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised

               Statutes §481A-1, et seq.;




                                                 88
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 94 of 184 PageID #:
                                    2929


            j.         Idaho Consumer Protection Act, Idaho Code, § 48-601, et seq.;

            k.         Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

            § 505/1, et seq.;

            l.         Indiana Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5.1, et

            seq.;

            m.         Kansas Consumer Protection Act, Kan. Stat. Ann. § 50 626, et seq.;

            n.         Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et seq., and

            Maine Uniform Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et

            seq.;

            o.         Maryland Consumer Protection Act, Md. Com. Law Code § 13-101, et

            seq.;

            p.         Massachusetts Unfair and Deceptive Practices Act, Mass. Ann. Laws ch.

            93A, et seq.;

            q.         Michigan Consumer Protection Act, § 445.901, et seq.;

            r.         Minnesota Prevention of Consumer Fraud Act, Minn. Stat § 325F.68, et

            seq.; and Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. §

            325D.43, et seq.;

            s.         Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.;

            t.         Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59 1601, et seq.;

            and the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-

            301, et seq.;

            u.         Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. § 598.0903,

            et seq.;




                                               89
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 95 of 184 PageID #:
                                    2930


            v.         New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et

            seq.;

            w.         New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8 1, et seq.;

            x.         New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57 12 1, et seq.;

            y.         New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law § 349,

            et seq.;

            z.         North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat.

            § 75-1.1, et seq.;

            aa.        North Dakota Consumer Fraud Act, N.D. Cent. Code § 51 15 01, et seq.;

            bb.        Ohio Consumer Sales Practices Act, Ohio Rev. Code § 1345.01, et seq.;

            cc.        Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et seq.;

            dd.        Oregon Unfair Trade Practices Act, Rev. Stat § 646.605, et seq.;

            ee.        Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73

            Pa. Stat. § 201-1, et seq.;

            ff.        Rhode Island Unfair Trade Practices And Consumer Protection Act, R.I.

            Gen. Laws § 6-13.1-1, et seq.;

            gg.        South Carolina Unfair Trade Practices Act, S.C. Code Laws § 39-5-10, et

            seq.;

            hh.        South Dakota’s Deceptive Trade Practices and Consumer Protection Law,

            S.D. Codified Laws §§ 37 24 1, et seq.;

            ii.        Texas Deceptive Trade Practices and Consumer Protection Act, Tex. Bus.

            & Com. Code § 17.41, et seq.;




                                               90
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 96 of 184 PageID #:
                                    2931


               jj.     Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-196, et

               seq.;

               kk.     Vermont Consumer Fraud Act, 9 Vt. Stat. Ann. § 2451, et seq.;

               ll.     Washington Consumer Fraud Act, Wash. Rev. Code § 19.86.010, et seq.;

               mm.     West Virginia Consumer Credit and Protection Act, West Virginia Code §

               46A-6-101, et seq.;

               nn.     Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.; and

               oo.     Wyoming Consumer Protection Act, Wyo. Stat. § 40-12-101, et seq.

       349.    Each of these Plaintiffs and each member of the Class is a consumer, purchaser or

other person entitled to the protection of the consumer protection laws of the state in which he or

she purchased the “organic” milk and/or milk products produced by Aurora and retailed by

Costco.

       350.    Costco is a seller or other person to which these consumer protection laws apply.

       351.    The milk and/or milk products produced by Aurora and retailed by Costco

constitute products to which these consumer protection laws apply.

       352.    In the conduct of trade or commerce regarding its production, marketing and sale

of “organic” milk and/or milk products, Costco engaged in one or more unfair or deceptive acts

or practices, including, but not limited to:

               (a)     labeled its products as “organic” when, in fact, they were not;

               (b)     advertised and represented its products as “organic” when they were not;

               (c)     misrepresented the manner in which dairy cows producing the products

               were raised and fed; and

               (d)     suppressed or omitted material facts regarding the production of its




                                                91
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 97 of 184 PageID #:
                                    2932


               “organic” milk or milk products, specifically, that the milk or milk products are

               not organic, that the dairy cows were not raised at pasture, and that its milk or

               milk products are conventionally produced.

       353.    In the conduct of trade or commerce Costco’s labeling, statements,

advertisements, representations and omissions were deceptive and/or likely to deceive.

       354.    Costco knew or should have known that its statements, advertisements,

representations and omissions were untrue or misleading.

       355.    Costco used or employed such deceptive and unlawful acts or practices with the

intent that these Plaintiffs and other members of the Class rely thereon.

       356.    Plaintiffs and the other members of the Class did rely (or should be presumed to

have relied) on such misrepresentations.

       357.    Each Plaintiff and member of the Class purchased “organic” milk and/or milk

products produced by Aurora and retailed by Costco that were falsely represented for an amount

higher than conventional milk and/or milk products.

       358.    As a result of Costco’s conduct, Plaintiffs and the members of the Class were

damaged.

       359.    Costco’s conduct showed complete indifference to or conscious disregard for the

rights of others such that an award of punitive damages is appropriate.

                          COUNT 17: Breach Of Express Warranty
                      (Brought on behalf of the Costco Purchaser Class)

       360.    Plaintiffs Bowen, Gollomp, Hudspeth, Lloyd and Subashe incorporate by

reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

alternative to the Count(s) above, each of these Plaintiffs brings this Count on his/her own behalf

under the law of the state in which he/she purchased milk and/or milk products produced by



                                                92
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 98 of 184 PageID #:
                                    2933


Aurora and sold at Costco and on behalf of: (a) all other persons who purchased “organic” milk

and/or milk products produced by Aurora and retailed by Costco in the same state as Plaintiff

purchased such product; and (b) all other persons who purchased such product in states having

similar laws regarding express warranty.

         361.   Costco’s representation that the milk and/or milk products are “organic” is an

affirmation by Costco that the milk and milk product complies with applicable standards, statutes

and regulations, including USDA requirements.

         362.   Costco’s statements and representations about the environment in which the cows

producing the milk are raised and fed also constitute an affirmation by Costco that the milk

and/or milk products comply with such statements and representations.

         363.   Costco’s other statements and representations about the “organic” status of its

milk and/or milk products also are affirmations by Costco that the milk and/or milk products

comply with such statements and representations.

         364.   Costco’s representations are made to Plaintiffs and members of the Costco

Purchaser Subclass at the point of purchase, are part of the description of the goods and the

bargain upon which they are offered for sale and purchased by Plaintiffs and the members of the

Class.

         365.   In addition or in the alternative, Costco’s representations are made to induce

Plaintiffs and the members of the Class to rely on such representation, and Plaintiffs and the

members of the Class did so rely (and should be presumed to rely) on said representation as a

material factor in his/her decision to purchase the “organic” products at a higher price than

he/she would otherwise have paid for a conventional milk and/or milk products.




                                                 93
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 99 of 184 PageID #:
                                    2934


       366.    By its statements and representations, Costco expressly warranted that the milk

and/or milk products complied with applicable standards, statutes and regulations, including

USDA requirements and complied with the other descriptions Costco made about the products

and the manner in which they were produced.

       367.    The milk and/or milk products produced by Aurora and retailed by Costco did

not, in fact, comply with applicable standards, statutes and regulations, including USDA

requirements, or the other descriptions Costco made about the products and the manner in which

they were produced.

       368.    At all times relevant to this action, Costco falsely represented its milk and/or milk

products to be “organic” when they were not produced in compliance with applicable standards,

statutes and regulations, including USDA requirements, and falsely represented the other

descriptions about the product and the manner in which the product was produced in breach of

these express warranties.

       369.    As a result of Costco’s conduct, Plaintiffs and the members of the Class were

damaged.

       370.    Within a reasonable time after they knew or should have known of such breach,

Plaintiffs, on behalf of themselves and members of the Class, placed Costco on notice thereof.

                    COUNT 18: Breach Of Implied Warranty of Merchantability
                     (Brought on behalf of the Costco Purchaser Class)

       371.    Plaintiffs Bowen, Gollomp, Hudspeth, Lloyd and Subashe incorporate by

reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

alternative to the Count(s) above, each of these Plaintiffs brings this Count on his/her own behalf

under the law of the state in which he/she purchased milk and/or milk products produced by

Aurora and sold by Costco on behalf of: (a) all other persons who purchased “organic” milk



                                                94
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 100 of 184 PageID #:
                                    2935


 and/or milk products produced by Aurora and retailed by Costco in the same state as Plaintiff

 purchased such products; and (b) all other persons who purchased such products in states having

 similar laws regarding implied warranty.

        372.    Plaintiffs and the members of the Class purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Costco for the ordinary purposes of organic milk or

 milk products -- that it was, in fact, organic and of merchantable quality as organic.

        373.    By representing that the milk and/or milk products were “organic,” Costco

 impliedly warranted that such products were, in fact, organic and complied with applicable

 standards, statutes and regulations, including USDA requirements.

        374.    By representing the environment in which the cows producing such milk and/or

 milk products were raised and feed, Costco impliedly warranted that the milk and/or milk

 products were produced by cows raised and fed in such an environment.

        375.    At all times material to this action, the milk and milk products produced by

 Aurora and retailed by Costco were not, in fact, organic and were not produced by cows raised

 and fed in the environment represented.

        376.    As such, the milk and milk products produced by Aurora and retailed by Costco

 were not fit for their ordinary purpose and could not pass without objection in the trade.

        377.    As a result, Plaintiffs and the members of the Class were damaged.

        378.    Within a reasonable time after they knew or should have known of such breach,

 Plaintiffs, on behalf of themselves and members of the Class, placed Costco on notice thereof.

                           COUNT 19: Negligence Per Se
                   (Brought on behalf of the Costco Negligence Per Se Class)

        379.    Plaintiffs Bowen, Gollomp, Hudspeth, Lloyd and Subashe, incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the



                                                 95
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 101 of 184 PageID #:
                                    2936


 alternative to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf

 under the law of the state in which he/she purchased milk and/or milk products produced by

 Aurora and sold by Costco on behalf of: (a) all other persons who purchased “organic” milk

 and/or milk products produced by Aurora and retailed by Costco in the same state as Plaintiff

 purchased such products; and (b) all other persons who purchased such products in states having

 similar laws regarding negligence per se.

        380.    Section 6509(e)(2) of the OFPA provides, in part, that dairy animals from which

 milk or milk products will be sold as organically produced shall be raised and handled in

 accordance with OFPA for not less than the twelve month period immediately prior to the sale of

 such milk or milk products.

        381.    The OFPA, including 7 U.S.C. § 6509(e)(2), is intended to protect purchasers of

 organic milk or milk products, including Plaintiff and members of the Class.

        382.    Costco owed a duty to purchasers of its “organic” milk or milk products –

 including Plaintiff and the Class – not to produce, market and/or sell its milk or milk products as

 “organic” unless such products were produced in accordance with OFPA, its accompanying

 regulations, and other applicable laws.

        383.    Costco has marketed, represented and sold its milk or milk products as “organic,”

 when, in fact, they were not. Based on this conduct, and its other conduct, as alleged above,

 Costco breached its duty to Plaintiffs and the members of the Class.

        384.    As a direct and proximate result of Costco’s conduct, Plaintiff and members of the

 Class have suffered damages in an amount to be proven at trial.




                                                 96
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 102 of 184 PageID #:
                                    2937


        385.    Costco’s conduct was outrageous, done with malice or bad motives, or done with

 reckless indifference to the interests of others such that an award of punitive damages is

 appropriate.

                           COUNT 20 Negligent Misrepresentation
                       (Brought on behalf of the Costco Purchaser Class)

        386.    Plaintiffs Bowen, Gollomp, Hudspeth, Lloyd and Subashe incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

 alternative to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf

 under the law of the state in which he/she purchased milk and/or milk products produced by

 Aurora and sold by Costco on behalf of: (a) all other persons who purchased “organic” milk

 and/or milk products produced by Aurora and retailed by Costco in the same state as Plaintiff

 purchased such products; and (b) all other persons who purchased such products in states having

 similar laws regarding negligent misrepresentation.

        387.    Costco owed a duty to Plaintiffs and the members of the Class to exercise

 reasonable care in making representations about its “organic” milk and/or milk products.

        388.    Costco negligently and recklessly made such representations and omitted to

 disclose material facts to potential customers and the general public through uniform

 mislabeling, non-disclosure and concealment through mass media and point-of-sale advertising,

 and through other information prepared or disseminated by Costco or at its direction.

        389.    Costco’s representations and omissions regarding its “organic” milk and milk

 products were material.

        390.    Costco’s mislabeling, misrepresentations and non-disclosures were intended to

 influence consumers’ purchasing decisions.




                                                 97
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 103 of 184 PageID #:
                                    2938


        391.    Plaintiffs and the members of the Class reasonably relied (or should be presumed

 to have relied) on the labeling and other representations Costco made regarding its “organic”

 milk and milk products.

        392.    Costco knew or should have known that Plaintiffs and the members of the Class

 relied (or should be presumed to have relied) upon the labeling, representations and omissions of

 Costco.

        393.    Costco’s representations and omissions regarding its “organic” milk and milk

 products were false and misleading as alleged above.

        394.    As a result of these misrepresentations, omissions and concealment, Plaintiffs and

 the members of the Class have been damaged in an amount to be proven at trial.

        395.    As a result of Costco’s conduct, Plaintiffs and Class members were damaged and

 are therefore entitled to compensatory damages, multiple damages, and equitable relief.

                           COUNT 21 Unjust Enrichment
                  (Brought on behalf of the Costco Unjust Enrichment Class)

        396.    Plaintiffs Bowen, Gollomp, Hudspeth, Lloyd and Subashe incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

 alternative to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf

 under the law of the state in which he/she purchased milk and/or milk products produced by

 Aurora and sold by Costco on behalf of: (a) all other persons who purchased “organic” milk

 and/or milk products produced by Aurora and retailed by Costco in the same state as Plaintiff

 purchased such products; and (b) all other persons who purchased such products in states having

 similar laws regarding unjust enrichment.




                                                  98
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 104 of 184 PageID #:
                                    2939


        397.    Costco markets and promotes organic production as a process having health,

 environmental and other benefits warranting a higher retail price than conventionally produced

 milk and/or milk products.

        398.    Costco charges, and consumers pay, a higher retail price for the “organic” milk

 and/or milk products produced by Aurora and retailed by Costco than the price of conventionally

 produced milk and/or milk products.

        399.    Costco received a benefit in the form of the premium price charged by Costco and

 paid by Plaintiffs and the members of the Class for the “organic” milk and milk products

 produced by Aurora and retailed by Costco.

        400.    Under the circumstances, it would be inequitable for Costco to retain the above-

 described benefit.

        401.    As a result of Costco’s unjust enrichment, Plaintiffs and the members of the Class

 were damaged in an amount to be determined at trial and seek full disgorgement and restitution

 of Costco’s unjust enrichment.

 D.     Counts Against Safeway

                COUNT 22: Violation of the California Unfair Competition Law,
                     Business And Professions Code §§17200 et seq.
                   (Brought on behalf of the Safeway Purchaser Class)

        402.    Plaintiffs Benya, Bowen, Coselli, Fincham, Kueck, Gallardo and Theodore

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition and/or in the alternative to the Count(s) above, Plaintiffs assert this Count on their own

 behalf and on behalf of the Safeway Purchaser Class.

        403.    Safeway placed into the stream of commerce and intended for ultimate sale to

 consumers dairy products labeled as – and represented to be – “organic”, and such placement is

 and has been “unlawful,” “unfair,” and “fraudulent” in violation of Cal. Bus. & Prof. Code §


                                                  99
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 105 of 184 PageID #:
                                    2940


 17200 et seq., which prohibits unfair competition defined as any “unlawful, unfair or fraudulent

 business act or practice (“Unfair Competition Law” or “UCL”).

        404.    Safeway placed into the stream of commerce and intended for ultimate sale to

 consumers dairy products labeled as – and represented to be – “organic”, and such placement is

 and has been contrary to numerous provisions of federal and California law, including but not

 limited to the following provisions of the National Organic Program (Section 6517 of the

 Organic Foods Production Act of 1990), 7 U.S.C. Sec. 6501 et seq. and its implementing

 regulations(7 U.S.C. §§ 6504, 6505, 6506, 6509(e)(2), 6509(f), and 6511, and 7 C.F.R. §§

 205.236(a)(2), 205.236(b)(1), 205.237(a), 205.238(a)(3), 205.239(a)(2), and 205.239(a)(3)), the

 California Organic Products Act of 2003 (Cal. Health And Safety Code, §§110820, 110890 and

 110956 and Cal. Food and Agricultural Code, §§46002, 46014.2(b), 46020, 46028), and the

 provisions of Cal. Food and Agricultural Code, §§36061 and 36062. Additionally, California’s

 False Advertising Law, California Business and Professions Code §§ 17500, et seq. (“FAL”)

 makes it unlawful, in connection with the sale of goods or services, to make or disseminate “any

 statement, . . . which is untrue or misleading, and which is known, or which by the exercise of

 reasonable care should be known, to be untrue or misleading.”

        405.    Plaintiffs and the members of the Class are purchasers, consumers or otherwise

 within the class of persons that the UCL was intended to protect.

        406.    Safeway is a seller or other person to whom the UCL applies.

        407.    Safeway, with the intent to dispose of its “organic” milk or milk products, made

 statements in its advertisements and labels concerning those milk or milk products that were

 untrue or misleading and which Safeway knew or in the exercise of reasonable care should have

 known were untrue or misleading, including:




                                                100
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 106 of 184 PageID #:
                                    2941


                a.     labeled its products as “organic” when, in fact, they were not;

                b.     advertised and represented that its products were “organic” when they

        were not;

                c.     misrepresented the manner in which the dairy cows producing the

        products were raised and fed; and

                d.     suppressed or omitted material facts regarding the production of its

        “organic” milk or milk products, specifically, that the milk or milk products are not

        organic, that the dairy cows were not raised at pasture, and that its milk or milk products

        are conventionally produced.

        408.    Safeway’s advertisements concerning its “organic” milk or milk products were

 deceptive and/or likely to deceive.

        409.    Safeway’s misrepresentations that its milk or milk products were “organic” were

 material.

        410.    Safeway used or employed the unlawful, unfair, and/or deceptive practices

 described above with the intent that Plaintiffs and the members of the Class would rely

 thereupon.

        411.    Plaintiffs and the members of the Class did rely (or should be presumed to have

 relied) thereon.

        412.    As a result of Safeway’s unlawful, unfair, deceptive, untrue, or misleading

 advertising and other conduct, Plaintiffs and the members of the Class have suffered injury in

 fact and have lost money or property, including having paid “organic” prices for non-organic

 milk and milk products.




                                                101
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 107 of 184 PageID #:
                                    2942


        413.    Safeway’s conduct violates the California Business and Professions Code,

 §§17200, et seq.

        414.    Because Safeway is headquartered in California, and because it made decisions

 and otherwise acted within the state of California regarding the advertisement, marketing and

 sale of its “organic” milk and milk products, the California unfair competition laws should apply

 nationwide to this claim against Safeway.

        415.    Plaintiffs, on their own behalf and on behalf of the Class, request that this Court

 enter such orders or judgments as may be necessary to restore to any person in interest any

 money which may have been acquired by means of such unfair competition, as provided in Cal.

 Bus. & Prof. Code § 17203.

        COUNT 23: Violation of the California Consumer Legal Remedies Act, California
                   Civil Code §§1750, et seq.
                  (Brought on behalf of the Safeway Purchaser Class)

        416.    Plaintiffs Benya, Bowen, Coselli, Fincham, Kueck, Gallardo and Theodore

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition and/or in the alternative to the Count(s) above, Plaintiffs assert this Count on their own

 behalf and on behalf of the Class.

        417.    Plaintiffs bring this claim on behalf of themselves and all other purchasers of

 Safeway’s “organic” milk or milk products.

        418.    The California Consumer Legal Remedies Act, California Civil Code § 1750, et

 seq. (“CLRA”), was enacted to protect consumers against unfair and deceptive business practices

 and to provide efficient and economical procedures to secure such protection. The CLRA is to

 be liberally construed and applied to promote those purposes.




                                                 102
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 108 of 184 PageID #:
                                    2943


        419.    Plaintiffs and the members of the Class are purchasers, consumers or other

 persons to whom the CLRA is intended to apply.

        420.    The milk and milk products produced by Aurora and retailed by Safeway are

 goods or products to which the CLRA applies.

        421.    Safeway is a seller or other person to whom the CLRA applies.

        422.    Safeway engaged in unfair or deceptive acts or practices in transactions which

 resulted in the sale of its “organic” milk or milk products including, but not limited to:

                a.      labeled its products as “organic” when, in fact, they were not;

                b.      advertised and represented its products as “organic” when they were not;

                c.      misrepresented the manner in which the dairy cows producing such

        products were raised and fed; and

                d.      suppressed or omitted material facts regarding the production of its

        “organic” milk or milk products, specifically, that the milk or milk products are not

        organic, that the dairy cows were not raised at pasture, and that its milk or milk products

        are conventionally produced.

        423.    Theses policies, acts, and practices violated and continue to violate the CLRA in

 at least the following respects:

                a.      In violation of §1770(5) of the CLRA, “[r]epresenting that goods or

        services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

        quantities which they do not have . . . ;”

                b.      In violation of §1770(7) of the CLRA, “[r]epresenting that goods or

        services are of a particular standard, quality, or grade, or that goods are of a particular

        style or model, if they are of another;” and




                                                 103
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 109 of 184 PageID #:
                                    2944


                c.      In violation of §1770(9) of the CLRA, “[a]dvertising goods or services

        with intent not to sell them as advertised.”

        424.    Safeway undertook the unfair or deceptive acts or practices with the intent that

 Plaintiff and the other members of the Class would rely upon such acts or practices in purchasing

 Safeway’s “organic” milk or milk products.

        425.    In purchasing Safeway’s “organic” milk or milk products, Plaintiff and the other

 members of the Class relied (or should be presumed to have relied) upon Safeway’s

 representation that the milk or milk products were, in fact, organic.

        426.    Because Safeway is headquartered in California, and because it made decisions

 and otherwise acted within the state of California regarding the advertisement, marketing and

 sale of its “organic” milk and milk products, the CLRA should apply nationwide to this claim

 against Safeway.

        427.    As a result of Safeway’s wrongful conduct, Plaintiffs and the members of the

 Class sustained damages by paying a higher price for milk labeled as organic that was not

 organic.

        428.    Safeway’s conduct was oppressive, fraudulent or malicious and intended to cause

 harm to Plaintiff and the other members of the Class such that an award of punitive damages is

 appropriate.

        429.    Safeway was timely notified by consumers of its involvement in transactions

 relating to the sale of milk and/or milk products labeled as “organic,” but which in fact were not

 organic, as well as the classwide damage sustained by consumers as a result of such

 involvement. Safeway has not corrected or otherwise rectified this situation prior to the filing of

 this Complaint.




                                                 104
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 110 of 184 PageID #:
                                    2945


                COUNT 24: Violation of State Consumer Protection Laws
                (Brought on behalf of the Safeway Consumer Protection Class)

        430.    Plaintiffs Benya, Bowen, Coselli, Fincham, Kueck, Gallardo and Theodore

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition to and/or in the alternative to the Count(s) above, each of these Plaintiffs brings this

 Count on his/her own behalf under the law of the state in which he/she purchased milk and/or

 milk products produced by Aurora and sold by Safeway on behalf of: (a) all other persons who

 purchased milk and/or milk products produced by Aurora and retailed by Safeway in the same

 state as Plaintiff purchased such products; and (b) all other persons who purchased such products

 in states having similar consumer protection laws.

        431.    The consumer protection laws of the state in which each Plaintiff and member of

 the Safeway Purchaser Subclass purchased the “organic” milk and/or milk products produced by

 Aurora and retailed by Safeway declare that unfair or deceptive acts or practices in the conduct

 of trade or commerce are unlawful.

        432.    Forty states and the District of Columbia have enacted statutes designed to protect

 consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

 and false advertising and that allow consumers to bring private and/or class actions. These

 statutes are found at:

                a.        Arizona Consumer Fraud Act, Ariz. Rev. Stat. § 44-1522, et seq.;

                b.        Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;

                c.        California Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;

                and California’s Unfair Competition Law, Cal. Bus. & Prof Code § 17200, et seq.;

                d.        Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.;

                e.        Connecticut Unfair Trade Practices Act, Conn. Gen. Stat § 42-110a, et



                                                  105
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 111 of 184 PageID #:
                                    2946


             seq.;

             f.      Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et seq.;

             g.      District of Columbia Consumer Protection Procedures Act, D.C. Code §

             28 3901, et seq.;

             h.      Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §

             501.201, et seq.;

             i.      Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statues § 480

             1, et. seq., and Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised

             Statutes §481A-1, et seq.;

             j.      Idaho Consumer Protection Act, Idaho Code, § 48-601, et seq.;

             k.      Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

             § 505/1, et seq.;

             l.      Indiana Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5.1, et

             seq.;

             m.      Kansas Consumer Protection Act, Kan. Stat. Ann. § 50 626, et seq.;

             n.      Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et seq., and

             Maine Uniform Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et

             seq.;

             o.      Maryland Consumer Protection Act, Md. Com. Law Code § 13-101, et

             seq.;

             p.      Massachusetts Unfair and Deceptive Practices Act, Mass. Ann. Laws ch.

             93A, et seq.;

             q.      Michigan Consumer Protection Act, § 445.901, et seq.;




                                             106
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 112 of 184 PageID #:
                                    2947


             r.         Minnesota Prevention of Consumer Fraud Act, Minn. Stat § 325F.68, et

             seq.; and Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. §

             325D.43, et seq.;

             s.         Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.;

             t.         Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59 1601, et seq.;

             and the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-

             301, et seq.;

             u.         Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. § 598.0903,

             et seq.;

             v.         New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et

             seq.;

             w.         New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8 1, et seq.;

             x.         New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57 12 1, et seq.;

             y.         New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law § 349,

             et seq.;

             z.         North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat.

             § 75-1.1, et seq.;

             aa.        North Dakota Consumer Fraud Act, N.D. Cent. Code § 51 15 01, et seq.;

             bb.        Ohio Consumer Sales Practices Act, Ohio Rev. Code § 1345.01, et seq.;

             cc.        Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et seq.;

             dd.        Oregon Unfair Trade Practices Act, Rev. Stat § 646.605, et seq.;

             ee.        Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73

             Pa. Stat. § 201-1, et seq.;




                                                107
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 113 of 184 PageID #:
                                    2948


                ff.     Rhode Island Unfair Trade Practices And Consumer Protection Act, R.I.

                Gen. Laws § 6-13.1-1, et seq.;

                gg.     South Carolina Unfair Trade Practices Act, S.C. Code Laws § 39-5-10, et

                seq.;

                hh.     South Dakota’s Deceptive Trade Practices and Consumer Protection Law,

                S.D. Codified Laws §§ 37 24 1, et seq.;

                ii.     Texas Deceptive Trade Practices and Consumer Protection Act, Tex. Bus.

                & Com. Code § 17.41, et seq.;

                jj.     Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-196, et

                seq.;

                kk.     Vermont Consumer Fraud Act, 9 Vt. Stat. Ann. § 2451, et seq.;

                ll.     Washington Consumer Fraud Act, Wash. Rev. Code § 19.86.010, et seq.;

                mm.     West Virginia Consumer Credit and Protection Act, West Virginia Code §

                46A-6-101, et seq.;

                nn.     Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.; and

                oo.     Wyoming Consumer Protection Act, Wyo. Stat. § 40-12-101, et seq.

        433.    Each Plaintiff and member of the Class is a consumer, purchaser or other person

 entitled to the protection of the consumer protection laws of the state in which he or she

 purchased the “organic” milk and/or milk products produced by Aurora and retailed by Safeway.

        434.    Safeway is a seller or other person to whom the consumer protection laws apply.

        435.    The milk and/or milk products produced by Aurora and retailed by Safeway

 constitute products to which these consumer protection laws apply.




                                                 108
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 114 of 184 PageID #:
                                    2949


        436.    In the conduct of trade or commerce regarding its production, marketing and sale

 of “organic” milk and/or milk products, Safeway engaged in one or more unfair or deceptive acts

 or practices, including but not limited to:

                a)      labeled its products as “organic” when, in fact, they were not;

                b)      advertised and represented its products as “organic” when they were not;

                c)      Safeway misrepresented the manner in which dairy cows producing the

        products were raised and fed; and

                d)      suppressed or omitted material facts regarding the production of its

        “organic” milk or milk products, specifically, that the milk or milk products are not

        organic, that the dairy cows were not raised at pasture, and that its milk or milk products

        are conventionally produced.

        437.    Safeway’s labeling, statements, advertisements, representations and omissions

 were deceptive and/or likely to deceive.

        438.    Safeway knew or should have known that its statements, advertisements,

 representations and omissions were untrue or misleading.

        439.    Safeway used or employed such deceptive and unlawful acts or practices with the

 intent that these Plaintiffs and other members of the Class rely thereon.

        440.    Plaintiffs and the other members of the Class did rely on such misrepresentations.

        441.    Each Plaintiff and member of the Class purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Safeway that were falsely represented for an

 amount higher than conventional milk and/or milk products.

        442.    As a result of Safeway’s wrongful conduct, Plaintiffs and the members of the

 Class were damaged.




                                                 109
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 115 of 184 PageID #:
                                    2950


        443.    Safeway’s conduct showed complete indifference to or conscious disregard for

 the rights of others such that an award of punitive damages is appropriate.

                          COUNT 25: Breach of Express Warranty
                      (Brought on behalf of the Safeway Purchaser Class)

        444.    Plaintiffs Benya, Bowen, Coselli, Fincham, Kueck, Gallardo and Theodore

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition and/or in the alternative to the Count(s) above, each of these Plaintiffs brings this Count

 on his/her own behalf under the law of the state in which he/she purchased milk and/or milk

 products produced by Aurora and sold by Safeway on behalf of: (a) all other persons who

 purchased “organic” milk and/or milk products produced by Aurora and retailed by Safeway in

 the same state as Plaintiff purchased such products; and (b) all other persons who purchased such

 products in states having similar laws regarding express warranty.

        445.    Safeway’s representation that the milk and/or milk products are “organic” is an

 affirmation by Safeway that the milk and/or milk products comply with applicable standards,

 statutes and regulations, including USDA requirements.

        446.    Safeway’s statements and representations about the environment in which the

 cows producing the milk are raised and fed also are affirmations by Safeway that the milk and/or

 milk products complies with such statements and representations.

        447.    Safeway’s other statements and representations about the “organic” status of its

 milk and/or milk products also are affirmations by Safeway that the milk and/or milk products

 comply with such statements and representations.

        448.    Safeway’s representations are made to Plaintiffs and the members of the Class at

 the point of purchase, are part of the description of the goods and the bargain upon which they

 are offered for sale and purchased by Plaintiffs and the members of the Class.



                                                 110
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 116 of 184 PageID #:
                                    2951


        449.    In addition or in the alternative, Safeway’s representations are made to induce

 Plaintiffs and the members of the Class to rely on such representation, and Plaintiffs and the

 members of the Class did so rely (and should be presumed to rely) on said representation as a

 material factor in his/her decision to purchase the “organic” products at a higher price than

 he/she would otherwise have paid for a conventional milk and/or milk products.

        450.    By its statements and representations, Safeway expressly warranted that the milk

 and/or milk products complied with applicable standards, statutes and regulations, including

 USDA requirements and complied with the other descriptions Safeway made about the products

 and the manner in which they were produced.

        451.    The milk and/or milk products produced by Aurora and retailed by Safeway did

 not, in fact, comply with applicable standards, statutes and regulations, including USDA

 requirements, or the other descriptions Safeway made about the products and the manner in

 which they were produced.

        452.    At all times relevant to this action, Safeway falsely represented its milk and/or

 milk products as “organic” when they were not produced in compliance with applicable

 standards, statutes and regulations, including USDA requirements, and falsely represented the

 other descriptions about the product and the manner in which the product was produced in

 breach of these express warranties.

        453.    As a result of Safeway’s conduct, Plaintiffs and the members of the Class were

 damaged.

        454.    Within a reasonable time after they knew or should have known of such breach,

 Plaintiffs, on behalf of themselves and members of the Class, placed Safeway on notice thereof.




                                                 111
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 117 of 184 PageID #:
                                    2952


                     COUNT 26: Breach of Implied Warranty of Merchantability
                      (Brought on behalf of the Safeway Purchaser Class)

         455.    Plaintiffs Benya, Bowen, Coselli, Fincham, Kueck, Gallardo and Theodore

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition and/or in the alternative to the Count(s) above, each of these Plaintiffs brings this Count

 on his/her own behalf under the law of the state in which he/she purchased milk and/or milk

 products produced by Aurora and sold by Safeway on behalf of: (a) all other persons who

 purchased “organic” milk and/or milk products produced by Aurora and retailed by Safeway in

 the same state as Plaintiff purchased such products; and (b) all other persons who purchased such

 products in states having similar laws regarding implied warranty.

         456.    Plaintiffs and the members of the Class purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Safeway for the ordinary purposes of organic milk

 or milk products, that is, that it was, in fact, organic.

         457.    By representing that the milk and/or milk products were “organic,” Safeway

 impliedly warranted that such products were, in fact, organic and complied with applicable

 standards, statutes and regulations, including USDA requirements.

         458.    By representing the environment in which the cows producing such milk and/or

 milk products were raised and fed, Safeway impliedly warranted that the milk and/or milk

 products were produced by cows raised and fed in such an environment.

         459.    Safeway held itself out to, and did, possess expertise, skill and knowledge

 superior to consumers including Plaintiffs and the members of the Class, who had a right to rely

 thereon.




                                                    112
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 118 of 184 PageID #:
                                    2953


        460.    At all times material to this action, the milk and milk products produced by

 Aurora and retailed by Safeway were not, in fact, organic and were not produced by cows raised

 and fed in the environment represented.

        461.    As such, the milk and milk products produced by Aurora and retailed by Safeway

 were not fit for their ordinary purpose and could not pass without objection in the trade.

        462.    As a result, Plaintiffs and the members of the Class were damaged.

        463.    Within a reasonable time after they knew or should have known of such breach,

 Plaintiffs, on behalf of themselves and members of the Class, placed Safeway on notice thereof.

                         COUNT 27: Negligence Per Se
                  (Brought on behalf of the Safeway Negligence Per Se Class)

        464.    Plaintiffs Benya, Bowen, Coselli, Fincham, Kueck, Gallardo and Theodore

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition and/or in the alternative to the Counts above, each of these Plaintiffs brings this Count

 on his/her own behalf under the law of the state in which he/she purchased milk and/or milk

 products produced by Aurora and sold by Safeway on behalf of: (a) all other persons who

 purchased “organic” milk and/or milk products produced by Aurora and retailed by Safeway in

 the same state as Plaintiff purchased such products; and (b) all other persons who purchased such

 products in states having similar laws regarding negligence per se.

        465.    Section 6509(e)(2) of the OFPA provides, in part, that dairy animals from which

 milk or milk products will be sold as organically produced shall be raised and handled in

 accordance with OFPA for not less than the twelve month period immediately prior to the sale of

 such milk or milk products.

        466.    The OFPA, including 7 U.S.C. § 6509(e)(2), is intended to protect purchasers of

 organic milk or milk products, including Plaintiff and members of the Class.



                                                 113
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 119 of 184 PageID #:
                                    2954


          467.   Safeway owed a duty to purchasers of its “organic” milk or milk products –

 including Plaintiff and the Class – not to produce, market and/or sell its milk or milk products as

 “organic” unless such products were produced in accordance with OFPA and other applicable

 laws.

          468.   Through at least August 2007, Safeway has marketed, represented and sold its

 milk or milk products as “organic,” when, in fact, they were not. Based on this conduct, and its

 other conduct, as alleged above, Safeway breached its duty to Plaintiffs and the members of the

 Class.

          469.   As a direct and proximate result of Safeway’s conduct, Plaintiff and members of

 the Class have suffered damages in an amount to be proven at trial.

          470.   Safeway’s conduct was outrageous, done with malice or bad motives, or done

 with reckless indifference to the interests of others such that an award of punitive damages is

 appropriate.

                           COUNT 28: Negligent Misrepresentation
                       (Brought on behalf of the Safeway Purchaser Class)

          471.   Plaintiffs Benya, Bowen, Coselli, Fincham, Kueck, Gallardo and Theodore

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition and/or in the alternative to the Counts above, each of these Plaintiffs brings this Count

 on his/her own behalf under the law of the state in which he/she purchased milk and/or milk

 products produced by Aurora and sold by Safeway on behalf of: (a) all other persons who

 purchased “organic” milk and/or milk products produced by Aurora and retailed by Safeway in

 the same state as Plaintiff purchased such products; and (b) all other persons who purchased such

 products in states having similar laws regarding negligent misrepresentation.




                                                 114
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 120 of 184 PageID #:
                                    2955


        472.    Safeway owed a duty to Plaintiffs and the members of the Class to exercise

 reasonable care in making representations about its “organic” milk and milk products.

        473.    Safeway negligently and recklessly made such representations and omitted to

 disclose material facts to potential customers and the general public through uniform

 mislabeling, non-disclosure and concealment through mass media and point-of-sale advertising,

 and through other information prepared or disseminated by Safeway or at its direction.

        474.    Safeway’s representations and omissions regarding its “organic” milk and milk

 products were material.

        475.    Safeway’s mislabeling, misrepresentations and non-disclosures were intended to

 influence consumers’ purchasing decisions.

        476.    Plaintiffs and the members of the Class reasonably relied (or should be presumed

 to have relied) on the labeling and other representations Safeway made regarding its “organic”

 milk and milk products.

        477.    Safeway knew or should have known that Plaintiffs and the members of the Class

 relied (or should be presumed to have relied) upon the labeling, representations and omissions of

 Safeway.

        478.    Safeway’s representations and omissions regarding its “organic” milk and milk

 products were false and misleading as alleged above.

        479.    As a result of these misrepresentations, omissions and concealment, Plaintiffs and

 the members of the Class have been damaged in an amount to be proven at trial.

        480.    As a result of Safeway’s conduct, Plaintiffs and Class members were damaged

 and are therefore entitled to compensatory damages, multiple damages, and equitable relief.




                                                115
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 121 of 184 PageID #:
                                    2956


                           COUNT 29: Unjust Enrichment
                 (Brought on behalf of the Safeway Unjust Enrichment Class)

        481.    Plaintiffs Benya, Bowen, Kueck and Fincham incorporate by reference the

 preceding paragraphs as if they were fully set forth herein. In addition and/or in the alternative

 to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf under the

 law of the state in which he/she purchased milk and/or milk products produced by Aurora and

 sold by Safeway on behalf of: (a) all other persons who purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Safeway in the same state as Plaintiff purchased

 such products; and (b) all other persons who purchased such products in states having similar

 laws regarding unjust enrichment.

        482.    Safeway markets and promotes organic production as a process having health,

 environmental and other benefits warranting a higher retail price than conventionally produced

 milk and/or milk products.

        483.    Safeway charges, and consumers pay, a higher retail price for the “organic” milk

 and/or milk products produced by Aurora and retailed by Safeway than the price of

 conventionally produced milk and/or milk products.

        484.    Safeway received a benefit in the form of the premium price charged by Safeway

 and paid by Plaintiffs and the members of the Class for the “organic” milk and milk products

 produced by Aurora and retailed by Safeway.

        485.    Under the circumstances, it would be inequitable for Safeway to retain the above-

 described benefit.

        486.    As a result of Safeway’s unjust enrichment, Plaintiffs and the members of the

 Class were damaged in an amount to be determined at trial and seek full disgorgement and

 restitution of Safeway’s unjust enrichment.



                                                 116
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 122 of 184 PageID #:
                                    2957


 E.     Counts Against Target

                   COUNT 30: Violation of the Minn. Uniform Deceptive Trade Practices Act,
                                     Minn. Stat. §325D.43-.48
                        (Brought on behalf of Target Purchaser Class)

        487.       Plaintiffs Cruz, Hudspeth, Robinson, Still and Weiss incorporate by reference the

 preceding paragraphs as if they were fully set forth herein. In addition and/or in the alternative

 to the Count(s) above, Plaintiffs assert this Count on their own behalf and on behalf of the Class.

        488.       Plaintiffs bring this claim on behalf of themselves and all other purchasers of

 Target’s “organic” milk and/or milk products.

        489.       The Minnesota Uniform Deceptive Trade Practices Act, Chapter 325D of the

 Minnesota Statutes, prohibits the use of deceptive trade practices in the course of business.

        490.       Plaintiffs and the members of the Class are consumers, purchasers or other

 persons to which the Minnesota Act applies.

        491.       Target is a seller or other person to whom the Minnesota Act applies.

        492.       The milk and milk products produced by Aurora and retailed by Target are

 products to which the Minnesota Act applies.

        493.       Target in the course of its business engaged in one or more acts or practices

 constituting “deceptive trade practices” pursuant to the Minn. Stat. § 325D.43-.48 including, but

 not limited to:

                   a.     Minn. Stat. § 325D.43(2): “causes likelihood of confusion or of

        misunderstanding as to the source, sponsorship, approval, or certification of goods or

        services;”

                   b.     Minn. Stat. § 325D.43(5):        “represents that goods or services have

        sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that they




                                                   117
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 123 of 184 PageID #:
                                    2958


        do not have, or that a person has a sponsorship, approval, status, affiliation, or connection

        that the person does not have;”

                c.     Minn. Stat. § 325D.43(7): “represents that goods or services are of a

        particular standard, quality, or grade, or that goods are of a particular style or model, if

        they are of another;” and

                d.     Minn. Stat. § 325D.43(13): “engages in any other conduct which similarly

        creates a likelihood of confusion or of misunderstanding.”

        494.    Target engaged in not less than the following unfair or deceptive acts or practices

 in the conduct of the trade or commerce of its “organic” milk or milk products:

                a.     labeled its products as “organic” when, in fact, they were not;

                b.     advertised and represented its products to be “organic” when they were

        not;

                c.     misrepresented the manner in which the dairy cows producing such

        products were raised and fed; and

                d.     suppressed or omitted material facts regarding the production of its

        “organic” milk or milk products, specifically, that the milk or milk products are not

        organic, that the dairy cows were not raised at pasture, and that its milk or milk products

        are conventionally produced.

        495.    Target’s representations and omissions were deceptive or likely to deceive.

        496.    As a result of Target’s unfair or deceptive acts or practices, Plaintiff and members

 of the Class were damaged.

        497.    Because Target is headquartered in Minnesota, made decisions and took other

 actions in the state of Minnesota regarding its advertisement, marketing and sale of its “organic”




                                                118
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 124 of 184 PageID #:
                                    2959


 milk and milk products, the Minnesota consumer protection laws should apply nationwide to this

 claim against Target.

        498.    As a result of Target’s wrongful conduct, Plaintiffs and the members of the Class

 have sustained damages by paying a higher price for milk labeled as organic that was not

 organic.

        499.    Target’s conduct was oppressive, fraudulent or malicious and intended to cause

 harm to Plaintiff and the other members of the Class such that an award of punitive damages is

 appropriate.

                COUNT 31: Violation of State Consumer Protection Laws
                 (Brought on behalf of the Target Consumer Protection Class)

        500.    Plaintiffs Cruz, Hudspeth, Robinson and Weiss incorporate by reference the

 preceding paragraphs as if they were fully set forth herein. In addition to and/or in the

 alternative to the Count(s) above, each of these Plaintiffs brings this Count on his/her own behalf

 under the law of the state in which he/she purchased milk and/or milk products produced by

 Aurora and sold by Target on behalf of: (a) all other persons who purchased milk and/or milk

 products produced by Aurora and retailed by Target in the same state as Plaintiff purchased such

 product; and (b) all other persons who purchased such products in states having similar consumer

 protection laws.

        501.    The consumer protection laws of the state in which each Plaintiff and member of

 the Class purchased the “organic” milk and/or milk products produced by Aurora and retailed by

 Target declares that unfair or deceptive acts or practices in the conduct of trade or commerce are

 unlawful.

        502.    Forty states and the District of Columbia have enacted statutes designed to protect

 consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices



                                                 119
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 125 of 184 PageID #:
                                    2960


 and false advertising and that allow consumers to bring private and/or class actions. These

 statutes are found at:

                a.        Arizona Consumer Fraud Act, Ariz. Rev. Stat. § 44-1522, et seq.;

                b.        Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;

                c.        California Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;

                and California’s Unfair Competition Law, Cal. Bus. & Prof Code § 17200, et seq.;

                d.        Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.;

                e.        Connecticut Unfair Trade Practices Act, Conn. Gen. Stat § 42-110a, et

                seq.;

                f.        Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et seq.;

                g.        District of Columbia Consumer Protection Procedures Act, D.C. Code §

                28 3901, et seq.;

                h.        Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §

                501.201, et seq.;

                i.        Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statues § 480

                1, et. seq., and Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised

                Statutes §481A-1, et seq.;

                j.        Idaho Consumer Protection Act, Idaho Code, § 48-601, et seq.;

                k.        Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

                § 505/1, et seq.;

                l.        Indiana Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5.1, et

                seq.;

                m.        Kansas Consumer Protection Act, Kan. Stat. Ann. § 50 626, et seq.;




                                                  120
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 126 of 184 PageID #:
                                    2961


             n.         Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et seq., and

             Maine Uniform Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et

             seq.;

             o.         Maryland Consumer Protection Act, Md. Com. Law Code § 13-101, et

             seq.;

             p.         Massachusetts Unfair and Deceptive Practices Act, Mass. Ann. Laws ch.

             93A, et seq.;

             q.         Michigan Consumer Protection Act, § 445.901, et seq.;

             r.         Minnesota Prevention of Consumer Fraud Act, Minn. Stat § 325F.68, et

             seq.; and Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. §

             325D.43, et seq.;

             s.         Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.;

             t.         Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59 1601, et seq.;

             and the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-

             301, et seq.;

             u.         Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. § 598.0903,

             et seq.;

             v.         New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et

             seq.;

             w.         New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8 1, et seq.;

             x.         New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57 12 1, et seq.;

             y.         New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law § 349,

             et seq.;




                                                121
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 127 of 184 PageID #:
                                    2962


             z.      North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat.

             § 75-1.1, et seq.;

             aa.     North Dakota Consumer Fraud Act, N.D. Cent. Code § 51 15 01, et seq.;

             bb.     Ohio Consumer Sales Practices Act, Ohio Rev. Code § 1345.01, et seq.;

             cc.     Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et seq.;

             dd.     Oregon Unfair Trade Practices Act, Rev. Stat § 646.605, et seq.;

             ee.     Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73

             Pa. Stat. § 201-1, et seq.;

             ff.     Rhode Island Unfair Trade Practices And Consumer Protection Act, R.I.

             Gen. Laws § 6-13.1-1, et seq.;

             gg.     South Carolina Unfair Trade Practices Act, S.C. Code Laws § 39-5-10, et

             seq.;

             hh.     South Dakota’s Deceptive Trade Practices and Consumer Protection Law,

             S.D. Codified Laws §§ 37 24 1, et seq.;

             ii.     Texas Deceptive Trade Practices and Consumer Protection Act, Tex. Bus.

             & Com. Code § 17.41, et seq.;

             jj.     Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-196, et

             seq.;

             kk.     Vermont Consumer Fraud Act, 9 Vt. Stat. Ann. § 2451, et seq.;

             ll.     Washington Consumer Fraud Act, Wash. Rev. Code § 19.86.010, et seq.;

             mm.     West Virginia Consumer Credit and Protection Act, West Virginia Code §

             46A-6-101, et seq.;

             nn.     Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.; and




                                              122
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 128 of 184 PageID #:
                                    2963


                oo.     Wyoming Consumer Protection Act, Wyo. Stat. § 40-12-101, et seq.

        503.    Each Plaintiff and member of the Class is a consumer, purchaser or other person

 entitled to the protection of the consumer protection laws of the state in which he or she

 purchased the “organic” milk and/or milk products produced by Aurora and retailed by Target.

        504.    The milk and/or milk products produced by Aurora and retailed by Target

 constitute products to which these consumer protection laws apply.

        505.    Target is a seller or other person to whom the consumer protection laws apply.

        506.    In the conduct of trade or commerce regarding its production, marketing and sale

 of “organic” milk and/or milk products, Target engaged in one or more unfair or deceptive acts

 or practices, including, but not limited to:

                a)      labeled its products as “organic” when, in fact, they were not;

                b)      advertised and represented its products as “organic” when they were not;

                c)      misrepresented the manner in which dairy cows producing the products

        were raised and fed; and

                d)      suppressed or omitted material facts regarding the production of its

        “organic” milk or milk products, specifically, that the milk or milk products are not

        organic, that the dairy cows were not raised at pasture, and that its milk or milk products

        are conventionally produced.

        507.    Target’s labeling, statements, advertisements, representations and omissions were

 deceptive and/or likely to deceive.

        508.    Target knew or should have known that its statements, advertisements,

 representations and omissions were untrue or misleading.




                                                 123
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 129 of 184 PageID #:
                                    2964


        509.    Target used or employed such deceptive and unlawful acts or practices with the

 intent that these Plaintiffs and other members of the Class rely thereon.

        510.    Plaintiffs and the other members of the Class did rely on such misrepresentations.

        511.    Each Plaintiff and member of the Class purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Target that were falsely represented for an amount

 higher than conventional milk and/or milk products.

        512.    As a result of Target’s conduct, Plaintiffs and the members of the Class were

 damaged.

        513.    Target’s conduct showed complete indifference to or conscious disregard for the

 rights of others such that an award of punitive damages is appropriate.

                        COUNT 32: Breach of Express Warranty
                       (Brought on behalf of the Target Purchaser Class)

        514.    Plaintiffs Cruz, Hudspeth, Robinson, Still and Weiss incorporate by reference the

 preceding paragraphs as if they were fully set forth herein. In addition and/or in the alternative

 to the Count(s) above, each of these Plaintiffs brings this Count on his/her own behalf under the

 law of the state in which he/she purchased milk and/or milk products produced by Aurora and

 sold by Target on behalf of: (a) all other persons who purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Target in the same state as Plaintiff purchased such

 product; and (b) all other persons who purchased such product in states having similar laws

 regarding express warranty.

        515.    Target’s representation that the milk and/or milk products are “organic” is an

 affirmation by Target that the milk and/or milk products comply with applicable standards,

 statutes and regulations, including USDA requirements.




                                                 124
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 130 of 184 PageID #:
                                    2965


        516.    Target’s statements and representations about the environment in which the cows

 producing the milk are raised and fed also are affirmations by Target that the milk and/or milk

 products comply with such statements and representations.

        517.    Target’s other statements and representations about the “organic” status of its

 milk and/or milk products also are affirmations by Target that the milk and/or milk products

 comply with such statements and representations.

        518.    Target’s representations are made to Plaintiffs and the members of the Class at the

 point of purchase, are part of the description of the goods and the bargain upon which they are

 offered for sale and purchased by Plaintiffs and the members of the Class.

        519.    In addition or in the alternative, Target’s representations are made to induce

 Plaintiffs and the members of the Class to rely on such representation, and Plaintiffs and the

 members of the Class did so rely (and should be presumed to rely) on said representation as a

 material factor in his/her decision to purchase the “organic” products at a higher price than

 he/she would otherwise have paid for conventional milk or milk products.

        520.    By its statements and representations, Target expressly warranted that the milk

 and/or milk products comply with applicable standards, statutes and regulations, including

 USDA requirements and complied with the other descriptions Target made about the products

 and the manner in which they were produced.

        521.    The milk and/or milk products produced by Aurora and retailed by Target did not,

 in fact, comply with applicable standards, statutes and regulations, including USDA

 requirements, or the other descriptions Target made about the products and the manner in which

 they were produced.




                                                 125
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 131 of 184 PageID #:
                                    2966


         522.    At all times relevant to this action, Target falsely represented its milk and/or milk

 products as “organic” when they were not produced in compliance with applicable standards,

 statutes and regulations, including USDA requirements, and falsely represented the other

 descriptions about the products and the manner in which they were produced in breach of these

 express warranties.

         523.    As a result of Target’s conduct, Plaintiffs and the members of the Class were

 damaged.

         524.    Within a reasonable time after they knew or should have known of such breach,

 Plaintiffs, on behalf of themselves and members of the Class, placed Target on notice thereof.

                 COUNT 33: Breach of Implied Warranty of Merchantability
                     (Brought on behalf of the Target Purchaser Class)

         525.    Plaintiffs Cruz, Hudspeth, Robinson, Still and Weiss incorporate by reference the

 preceding paragraphs as if they were fully set forth herein. In addition and/or in the alternative

 to the Count(s) above, each of these Plaintiffs brings this Count on his/her own behalf under the

 law of the state in which he/she purchased milk and/or milk products produced by Aurora and

 sold by Target on behalf of: (a) all other persons who purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Target in the same state as Plaintiff purchased such

 product; and (b) all other persons who purchased such product in states having similar laws

 regarding implied warranty.

         526.    Plaintiffs and the members of the Class purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Target for the ordinary purposes of organic milk or

 milk products -- that it was, in fact, organic.




                                                   126
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 132 of 184 PageID #:
                                    2967


        527.    By representing that the milk and/or milk products were “organic,” Target

 impliedly warranted that such products were, in fact, organic and complied with applicable

 standards, statutes and regulations, including USDA requirements.

        528.    By representing the environment in which the cows producing such milk and/or

 milk products were raised and fed, Target impliedly warranted that the milk and/or milk product

 was produced by cows raised and fed in such environment.

        529.    Target held itself out to, and did, possess expertise, skill and knowledge superior

 to consumers including Plaintiffs and the members of the Class, who had a right to rely thereon.

        530.    At all times material to this action, the milk and/or milk products produced by

 Aurora and retailed by Target were not, in fact, organic and were not produced by cows raised

 and fed in the environment represented.

        531.    As such, the milk and milk products produced by Aurora and retailed by Target

 were not fit for their ordinary purpose and could not pass without objection in the trade.

        532.    As a result, Plaintiffs and the members of the Class were damaged.

        533.    Within a reasonable time after they knew or should have known of such breach,

 Plaintiffs, on behalf of themselves and members of the Class, placed Target on notice thereof.

                          COUNT 34: Negligence Per Se
                   (Brought on behalf of the Target Negligence Per Se Class)

        534.    Plaintiffs Cruz, Hudspeth, Robinson, Still and Weiss incorporate by reference the

 preceding paragraphs as if they were fully set forth herein. In addition and/or in the alternative

 to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf under the

 law of the state in which he/she purchased milk and/or milk products produced by Aurora and

 sold by Target on behalf of: (a) all other persons who purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Target in the same state as Plaintiff purchased such



                                                 127
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 133 of 184 PageID #:
                                    2968


 products; and (b) all other persons who purchased such products in states having similar laws

 regarding negligence per se.

         535.   Section 6509(e)(2) of the OFPA provides, in part, that dairy animals from which

 milk or milk products will be sold as organically produced shall be raised and handled in

 accordance with OFPA for not less than the twelve month period immediately prior to the sale of

 such milk or milk products.

         536.   The OFPA, including U.S.C. § 6509(e)(2), is intended to protect purchasers of

 organic milk and/or milk products, including Plaintiff and members of the Class.

         537.   Target owed a duty to purchasers of its “organic” milk or milk products –

 including Plaintiff and the Class – not to produce, market and/or sell its milk or milk products as

 “organic” unless such products were produced in accordance with OFPA and other applicable

 laws.

         538.   Target has marketed, represented and sold its milk or milk products as “organic,”

 when, in fact, they were not. Based on this conduct, and its other conduct, as alleged above,

 Target breached its duty to Plaintiffs and the members of the Class.

         539.   As a result of Target’s conduct, Plaintiff and members of the Class were

 damaged.

         540.   Target’s conduct was outrageous, done with malice or bad motives, or done with

 reckless indifference to the interests of others such that an award of punitive damages is

 appropriate.

                        COUNT 35: Negligent Misrepresentation
                       (Brought on behalf of the Target Purchaser Class)

         541.   Plaintiffs Cruz, Hudspeth, Robinson, Still and Weiss incorporate by reference the

 preceding paragraphs as if they were fully set forth herein. In addition and/or in the alternative



                                                 128
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 134 of 184 PageID #:
                                    2969


 to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf under the

 law of the state in which he/she purchased milk and/or milk products produced by Aurora and

 sold by Target on behalf of: (a) all other persons who purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Target in the same state as Plaintiff purchased such

 products; and (b) all other persons who purchased such products in states having similar laws

 regarding negligent misrepresentation.

           542.   Target owed a duty to Plaintiffs and the members of the Class to exercise

 reasonable care in making representations about its “organic” milk and milk products.

           543.   Target negligently and recklessly made such representations and omitted to

 disclose material facts to potential customers and the general public through uniform

 mislabeling, non-disclosure and concealment through mass media and point-of-sale advertising,

 and through other information prepared or disseminated by Target or at its direction.

           544.   Target’s representations and omissions regarding its “organic” milk and/or milk

 products were material.

           545.   Target’s mislabeling, misrepresentations and non-disclosures were intended to

 influence consumers’ purchasing decisions.

           546.   Plaintiffs and the members of the Class reasonably relied (or should be presumed

 to have relied) on the labeling and other representations Target made regarding its “organic”

 milk and milk products.

           547.   Target knew or should have known that Plaintiffs and the members of the Class

 relied (or should be presumed to have relied) upon the labeling, representations and omissions of

 Target.




                                                 129
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 135 of 184 PageID #:
                                    2970


        548.    Target’s representations and omissions regarding its “organic” milk and milk

 products were false and misleading as alleged above.

        549.    As a result of these misrepresentations, omissions and concealment, Plaintiffs and

 the members of the Class have been damaged in an amount to be proven at trial.

        550.    As a result of Target’s conduct, Plaintiffs and Class members were damaged and

 are therefore entitled to compensatory damages, multiple damages, and equitable relief.

                           COUNT 36: Unjust Enrichment
                  (Brought on behalf of the Target Unjust Enrichment Class)

        551.    Plaintiffs Cruz, Hudspeth, Robinson, Still and Weiss incorporate by reference the

 preceding paragraphs as if they were fully set forth herein. In addition and/or in the alternative

 to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf under the

 law of the state in which he/she purchased milk and/or milk products produced by Aurora and

 sold by Target on behalf of: (a) all other persons who purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Target in the same state as Plaintiff purchased such

 products; and (b) all other persons who purchased such products in states having similar laws

 regarding unjust enrichment.

        552.    Target markets and promotes organic production as a process having health,

 environmental and other benefits warranting a higher retail price than conventionally produced

 milk and/or milk products.

        553.    Target charges, and consumers pay, a higher retail price for the “organic” milk

 and/or milk products produced by Aurora and retailed by Target than the price of conventionally

 produced milk and/or milk products.




                                                 130
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 136 of 184 PageID #:
                                    2971


        554.    Target received a benefit in the form of the premium price charged by Safeway

 and paid by Plaintiffs and the members of the Class for the “organic” milk and milk products

 produced by Aurora and retailed by Target.

        555.    Under the circumstances, it would be inequitable for Target to retain the above-

 described benefit.

        556.    As a result of Target’s unjust enrichment, Plaintiffs and the members of the Class

 were damaged in an amount to be determined at trial and seek full disgorgement and restitution

 of Target’s unjust enrichment.

 F.     Counts Against Wal-Mart

                COUNT 37: Violation of the Arkansas Consumer Protection Act,
                             Ark. Rev. Stat. §4-88-101 et seq.
                   (Brought on behalf of the Wal-Mart Purchaser Class)

        557.    Plaintiffs Bowen, Brice Leigh, Clark, Meacham and VerNooy incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

 alternative to the Count(s) above, Plaintiffs assert this Count on their own behalf and on behalf

 of the Wal-Mart Purchaser Class.

        558.    Plaintiffs bring this claim on behalf of themselves and all other purchasers of

 Wal-Mart’s “organic” milk or milk products.

        559.    The Arkansas Deceptive Trade Practices Act, Title 4, Chapter 88 of the Arkansas

 Code, declares that deceptive and unconscionable trade practices are unlawful and prohibited.

        560.    Plaintiffs and the members of the Class are consumers, purchasers or other

 persons to whom the Arkansas Deceptive Trade Practices Act applies.

        561.    The milk and/or milk products produced by Aurora and retailed by Wal-Mart are

 products to which the Arkansas Act applies.

        562.    Wal-Mart is a seller or other person to which the Arkansas Act applies.


                                                 131
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 137 of 184 PageID #:
                                    2972


        563.    Wal-Mart, in connection with the sale or advertisement of its “organic” milk or

 milk products, utilized the following unlawful acts, engaged in not less than the following

 unconscionable, false or deceptive acts or practices, or knowingly made the following false

 representations:

                a.     labeled its products as “organic” when, in fact, they were not;

                b.     advertised and represented its products as “organic” when they were not;

                c.     misrepresented the manner in which the dairy cows producing the

        products were raised and fed; and

                d.     suppressed or omitted material facts regarding the production of its

        “organic” milk or milk products, specifically, that the milk or milk products are not

        organic, that the dairy cows were not raised at pasture, and that its milk or milk products

        are conventionally produced.

        564.    Wal-Mart used or employed the unlawful practices described above with the

 intent that Plaintiff and the other members of the Class would rely upon such practices.

        565.    Because Wal-Mart is headquartered in Arkansas, made decisions and engaged in

 other acts regarding the marketing and sale of its “organic” milk and milk products in the state of

 Arkansas, the Arkansas consumer protection laws should apply nationwide to this claim against

 Wal-Mart.

        566.    As a result of Wal-Mart’s wrongful conduct, Plaintiffs, and members of the Class

 have sustained damages by paying a higher price for milk labeled as organic that was not

 organic.

        567.    Wal-Mart’s course of conduct was intentionally pursued for the purpose of

 causing injury or damage or Wal-Mart knew or should have known that its conduct would




                                                132
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 138 of 184 PageID #:
                                    2973


 naturally and probably result in injury or damage and Wal-Mart continued the conduct with

 malice or in reckless disregard of the consequences such that an award of punitive damages is

 appropriate.

                  COUNT 38: Violation of State Consumer Protection Laws
                 (Brought on behalf of the Wal-Mart Consumer Protection Class)

        568.     Plaintiffs Bowen, Brice Leigh, Clark Meacham, and VerNooy incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition to and/or in

 the alternative to the Count(s) above, each of these Plaintiffs brings this Count on his/her own

 behalf under the law of the state in which he/she purchased milk and/or milk products produced

 by Aurora and sold by Wal-Mart on behalf of: (a) all other persons who purchased milk and/or

 milk products produced by Aurora and retailed by Wal-Mart in the same state as Plaintiff

 purchased such products; and (b) all other persons who purchased such products in states having

 similar consumer protection laws.

        569.     The consumer protection laws of the state in which each Plaintiff and member of

 the Class purchased the “organic” milk and/or milk products produced by Aurora and retailed by

 Wal-Mart declares that unfair or deceptive acts or practices in the conduct of trade or commerce

 are unlawful.

        570.     Forty states and the District of Columbia have enacted statutes designed to protect

 consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

 and false advertising and that allow consumers to bring private and/or class actions. These

 statutes are found at:

                 a.       Arizona Consumer Fraud Act, Ariz. Rev. Stat. § 44-1522, et seq.;

                 b.       Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;

                 c.       California Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;



                                                 133
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 139 of 184 PageID #:
                                    2974


             and California’s Unfair Competition Law, Cal. Bus. & Prof Code § 17200, et seq.;

             d.      Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.;

             e.      Connecticut Unfair Trade Practices Act, Conn. Gen. Stat § 42-110a, et

             seq.;

             f.      Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et seq.;

             g.      District of Columbia Consumer Protection Procedures Act, D.C. Code §

             28 3901, et seq.;

             h.      Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §

             501.201, et seq.;

             i.      Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statues § 480

             1, et. seq., and Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised

             Statutes §481A-1, et seq.;

             j.      Idaho Consumer Protection Act, Idaho Code, § 48-601, et seq.;

             k.      Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

             § 505/1, et seq.;

             l.      Indiana Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5.1, et

             seq.;

             m.      Kansas Consumer Protection Act, Kan. Stat. Ann. § 50 626, et seq.;

             n.      Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et seq., and

             Maine Uniform Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et

             seq.;

             o.      Maryland Consumer Protection Act, Md. Com. Law Code § 13-101, et

             seq.;




                                             134
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 140 of 184 PageID #:
                                    2975


             p.         Massachusetts Unfair and Deceptive Practices Act, Mass. Ann. Laws ch.

             93A, et seq.;

             q.         Michigan Consumer Protection Act, § 445.901, et seq.;

             r.         Minnesota Prevention of Consumer Fraud Act, Minn. Stat § 325F.68, et

             seq.; and Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. §

             325D.43, et seq.;

             s.         Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.;

             t.         Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59 1601, et seq.;

             and the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-

             301, et seq.;

             u.         Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. § 598.0903,

             et seq.;

             v.         New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et

             seq.;

             w.         New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8 1, et seq.;

             x.         New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57 12 1, et seq.;

             y.         New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law § 349,

             et seq.;

             z.         North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat.

             § 75-1.1, et seq.;

             aa.        North Dakota Consumer Fraud Act, N.D. Cent. Code § 51 15 01, et seq.;

             bb.        Ohio Consumer Sales Practices Act, Ohio Rev. Code § 1345.01, et seq.;

             cc.        Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et seq.;




                                                135
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 141 of 184 PageID #:
                                    2976


                dd.     Oregon Unfair Trade Practices Act, Rev. Stat § 646.605, et seq.;

                ee.     Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73

                Pa. Stat. § 201-1, et seq.;

                ff.     Rhode Island Unfair Trade Practices And Consumer Protection Act, R.I.

                Gen. Laws § 6-13.1-1, et seq.;

                gg.     South Carolina Unfair Trade Practices Act, S.C. Code Laws § 39-5-10, et

                seq.;

                hh.     South Dakota’s Deceptive Trade Practices and Consumer Protection Law,

                S.D. Codified Laws §§ 37 24 1, et seq.;

                ii.     Texas Deceptive Trade Practices and Consumer Protection Act, Tex. Bus.

                & Com. Code § 17.41, et seq.;

                jj.     Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-196, et

                seq.;

                kk.     Vermont Consumer Fraud Act, 9 Vt. Stat. Ann. § 2451, et seq.;

                ll.     Washington Consumer Fraud Act, Wash. Rev. Code § 19.86.010, et seq.;

                mm.     West Virginia Consumer Credit and Protection Act, West Virginia Code §

                46A-6-101, et seq.;

                nn.     Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.; and

                oo.     Wyoming Consumer Protection Act, Wyo. Stat. § 40-12-101, et seq.

         571.   Each Plaintiff and member of the Class is a consumer, purchaser or other person

 entitled to the protection of the consumer protection laws of the state in which he or she

 purchased the “organic” milk and/or milk products produced by Aurora and retailed by Wal-

 Mart.




                                                 136
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 142 of 184 PageID #:
                                    2977


          572.   The milk and/or milk products produced by Aurora and retailed by Wal-Mart

 constitute products to which these consumer protection laws apply.

          573.   Wal-Mart is a seller or other person to whom these consumer protection laws

 apply.

          574.   In the conduct of trade or commerce regarding its production, marketing and sale

 of “organic” milk and/or milk products, Wal-Mart engaged in one or more unfair or deceptive

 acts or practices including, but not limited to:

                 a)      labeled its products as “organic” when, in fact, they were not;

                 b)      advertised and represented its products as “organic” when they were not;

                 c)      misrepresented the manner in which dairy cows producing the products

          were raised and fed; and

                 d)      suppressed or omitted material facts regarding the production of its

          “organic” milk or milk products, specifically, that the milk or milk products are not

          organic, that the dairy cows were not raised at pasture, and that its milk or milk products

          are conventionally produced.

          575.   Wal-Mart’s labeling, statements, advertisements, representations and omissions

 were deceptive and/or likely to deceive.

          576.   Wal-Mart knew or should have known that its statements, advertisements,

 representations and omissions were untrue or misleading.

          577.   Wal-Mart used or employed such deceptive and unlawful acts or practices with

 the intent that Plaintiffs and the members of the Class rely thereon.

          578.   Plaintiffs and the members of the Class did so rely (and should be presumed to

 rely).




                                                    137
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 143 of 184 PageID #:
                                    2978


        579.    Each Plaintiff and member of the Class purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Wal-Mart that was falsely represented for an

 amount higher than conventional milk and/or milk products.

        580.    As a result of Wal-Mart’s conduct, Plaintiffs and the members of the Class were

 damaged.

        581.    Wal-Mart’s conduct showed complete indifference to or conscious disregard for

 the rights of others such that an award of punitive damages is appropriate.

                         COUNT 39: Breach of Express Warranty
                     (Brought on behalf of the Wal-Mart Purchaser Class)

        582.    Plaintiffs Bowen, Brice Leigh, Clark, Meacham and VerNooy incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

 alternative to the Count(s) above, each of these Plaintiffs brings this Count on his/her own behalf

 under the law of the state in which he/she purchased milk and/or milk products produced by

 Aurora and sold by Wal-Mart on behalf of: (a) all other persons who purchased “organic” milk

 and/or milk products produced by Aurora and retailed by Wal-Mart in the same state as Plaintiff

 purchased such products; and (b) all other persons who purchased such products in states having

 similar laws regarding express warranty.

        583.    Wal-Mart’s representation that the milk and/or milk products are “organic” is an

 affirmation by Wal-Mart that the milk and/or milk products comply with applicable standards,

 statutes and regulations, including USDA requirements.

        584.    Wal-Mart’s statements and representations about the environment in which the

 cows producing the milk are raised and fed also are affirmations by Wal-Mart that the milk

 and/or milk products comply with such statements and representations.




                                                 138
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 144 of 184 PageID #:
                                    2979


        585.    Wal-Mart’s other statements and representations about the “organic” status of its

 milk and/or milk products also are affirmations by Wal-Mart that the milk and/or milk products

 comply with such statements and representations.

        586.    Wal-Mart’s representations are made to Plaintiffs and the members of the Class at

 the point of purchase, are part of the description of the goods and the bargain upon which they

 are offered for sale and purchased by Plaintiffs and the members of the Class.

        587.    In addition or in the alternative, Wal-Mart’s representations are made to induce

 Plaintiffs and the members of the Class to rely on such representation, and Plaintiffs and the

 members of the Class did so rely (and should be presumed to rely) on said representation as a

 material factor in his/her decision to purchase the “organic” product at a higher price than he/she

 would otherwise have paid for a conventional milk or milk product.

        588.    By its statements and representations, Wal-Mart expressly warranted that the milk

 and milk product complied with applicable standards, statutes and regulations, including USDA

 requirements and complied with the other descriptions Wal-Mart made about the products and

 the manner in which they were produced.

        589.    The milk and/or milk products produced by Aurora and retailed by Wal-Mart did

 not, in fact, comply with applicable standards, statutes and regulations, including USDA

 requirements, or the other descriptions Wal-Mart made about the products and the manner in

 which they were produced.

        590.    At all times relevant to this action, Wal-Mart falsely represented its milk and/or

 milk products as “organic” when they were not produced in compliance with applicable

 standards, statutes and regulations, including USDA requirements, and falsely represented the




                                                139
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 145 of 184 PageID #:
                                    2980


 other descriptions about the products and the manner in which they were produced in breach of

 these express warranties.

         591.    As a result of Wal-Mart’s conduct, Plaintiffs and the members of the Class were

 damaged.

         592.    Within a reasonable time after they knew or should have known of such breach,

 Plaintiffs, on behalf of themselves and members of the Class, placed Wal-Mart on notice thereof.

                  COUNT 40: Breach of Implied Warranty of Merchantability
                    (Brought on behalf of the Wal-Mart Purchaser Class)

         593.    Plaintiffs Bowen, Brice Leigh, Clark, Meacham and VerNooy incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

 alternative to the Count(s) above, each of these Plaintiffs brings this Count on his/her own behalf

 under the law of the state in which he/she purchased milk and/or milk products produced by

 Aurora and sold by Wal-Mart on behalf of: (a) all other persons who purchased “organic” milk

 and/or milk products produced by Aurora and retailed by Wal-Mart in the same state as Plaintiff

 purchased such products; and (b) all other persons who purchased such products in states having

 similar laws regarding implied warranty.

         594.    Plaintiffs and the members of the Class purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Wal-Mart for the ordinary purposes of organic milk

 or milk products -- that it was, in fact, organic.

         595.    By representing that the milk and/or milk products were “organic,” Wal-Mart

 impliedly warranted that such products were, in fact, organic and complied with applicable

 standards, statutes and regulations, including USDA requirements.




                                                      140
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 146 of 184 PageID #:
                                    2981


           596.   By representing the environment in which the cows producing such milk and/or

 milk products were raised and feed, Wal-Mart impliedly warranted that the milk and/or milk

 products were produced by cows raised and fed in such an environment.

           597.   Wal-Mart held itself out to, and did, possess expertise, skill and knowledge

 superior to consumers including Plaintiffs and the members of the Class, who had a right to rely

 thereon.

           598.   At all times material to this action, the milk and milk products produced by

 Aurora and retailed by Wal-Mart were not, in fact, organic and were not produced by cows

 raised and fed in the environment represented.

           599.   As such, the milk and milk products produced by Aurora and retailed by Wal-

 Mart were not fit for their ordinary purpose and could not pass without objection in the trade.

           600.   As a result, Plaintiffs and the members of the Class were damaged.

           601.   Within a reasonable time after they knew or should have known of such breach,

 Plaintiffs, on behalf of themselves and members of the Class, placed Wal-Mart on notice thereof.

                             COUNT 41: Negligence Per Se
                   (Brought on behalf of the Wal-Mart Negligence Per Se Class)

           602.   Plaintiffs Bowen and VerNooy incorporate by reference the preceding paragraphs

 as if they were fully set forth herein. In addition and/or in the alternative to the Counts above,

 each of these Plaintiffs brings this Count on his/her own behalf under the law of the state in

 which he/she purchased milk and/or milk products produced by Aurora and sold by Wal-Mart on

 behalf of: (a) all other persons who purchased “organic” milk and/or milk products produced by

 Aurora and retailed by Wal-Mart in the same state as Plaintiff purchased such products; and (b)

 all other persons who purchased such products in states having similar laws regarding negligence

 per se.



                                                  141
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 147 of 184 PageID #:
                                    2982


          603.   Section 6509(e)(2) of the OFPA provides, in part, that dairy animals from which

 milk or milk products will be sold as organically produced shall be raised and handled in

 accordance with OFPA for not less than the twelve month period immediately prior to the sale of

 such milk or milk products.

          604.   The OFPA, including U.S.C. § 6509(e)(2), is intended to protect purchasers of

 organic milk or milk products, including Plaintiff and members of the Class.

          605.   Wal-Mart owed a duty to purchasers of its “organic” milk or milk products –

 including Plaintiff and the members of the Class – not to produce, market and/or sell its milk or

 milk products as “organic” unless such products were produced in accordance with OFPA and

 other applicable laws.

          606.   Though at least October 2007, Wal-Mart marketed, represented and sold its milk

 or milk products as “organic,” when, in fact, they were not. Based on this conduct, and its other

 conduct, as alleged above, Wal-Mart breached its duty to Plaintiffs and the members of the

 Class.

          607.   As a result of Wal-Mart’s conduct, Plaintiff and the members of the Class have

 suffered damages in an amount to be proven at trial.

          608.   Wal-Mart’s conduct was outrageous, done with malice or bad motives, or done

 with reckless indifference to the interests of others such that an award of punitive damages is

 appropriate.

                        COUNT 42: Negligent Misrepresentation
                      (Brought on behalf of the Wal-Mart Purchaser Class)

          609.   Plaintiffs Bowen, Brice Leigh, Clark, Meacham and VerNooy incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

 alternative to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf



                                                 142
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 148 of 184 PageID #:
                                    2983


 under the law of the state in which he/she purchased milk and/or milk products produced by

 Aurora and sold by Wal-Mart on behalf of: (a) all other persons who purchased “organic” milk

 and/or milk products produced by Aurora and retailed by Wal-Mart in the same state as Plaintiff

 purchased such products; and (b) all other persons who purchased such products in states having

 similar laws regarding negligent misrepresentation.

        610.    Wal-Mart owed a duty to Plaintiffs and the members of the Class to exercise

 reasonable care in making representations about its “organic” milk and/or milk products.

        611.    Wal-Mart negligently and recklessly made such representations and omitted to

 disclose material facts to potential customers and the general public through uniform

 mislabeling, non-disclosure and concealment through mass media and point-of-sale advertising,

 and through other information prepared or disseminated by Wal-Mart or at its direction.

        612.    Wal-Mart’s representations and omissions regarding its “organic” milk and milk

 products were material.

        613.    Wal-Mart’s mislabeling, misrepresentations and non-disclosures were intended to

 influence consumers’ purchasing decisions.

        614.    Plaintiffs and the members of the Class reasonably relied (or should be presumed

 to have relied) on the labeling and other representations Wal-Mart made regarding its “organic”

 milk and milk products.

        615.    Wal-Mart knew or should have known that Plaintiffs and the members of the

 Class relied (or should be presumed to have relied) upon the labeling, representations and

 omissions of Wal-Mart.

        616.    Wal-Mart’s representations and omissions regarding its “organic” milk and milk

 products were false and misleading as alleged above.




                                                143
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 149 of 184 PageID #:
                                    2984


           617.   As a result of these misrepresentations, omissions and concealment, Plaintiffs and

 the members of the Class have been damaged in an amount to be proven at trial.

           618.   As a result of Defendants’ conduct, Plaintiffs and the members of the Class were

 damaged and are therefore entitled to compensatory damages, multiple damages, and equitable

 relief.

                           COUNT 43: Unjust Enrichment
                  (Brought on behalf of the Wal-Mart Unjust Enrichment Class)

           619.   Plaintiffs Bowen, Brice Leigh, Clark and VerNooy incorporate by reference the

 preceding paragraphs as if they were fully set forth herein. In addition and/or in the alternative

 to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf under the

 law of the state in which he/she purchased milk and/or milk products produced by Aurora and

 sold by Wal-Mart on behalf of: (a) all other persons who purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Wal-Mart in the same state as Plaintiff purchased

 such products; and (b) all other persons who purchased such products in states having similar

 laws regarding unjust enrichment.

           620.   Wal-Mart markets and promotes organic production as a process having health,

 environmental and other benefits warranting a higher retail price than conventionally produced

 milk and/or milk products.

           621.   Wal-Mart charges, and consumers pay, a higher retail price for the “organic” milk

 and/or milk products produced by Aurora and retailed by Wal-Mart than the price of

 conventionally produced milk and/or milk products.

           622.   Wal-Mart received a benefit in the form of the premium price charged by Wal-

 Mart and paid by Plaintiffs and the members of the Class for the “organic” milk and milk

 products produced by Aurora and retailed by Wal-Mart.



                                                 144
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 150 of 184 PageID #:
                                    2985


        623.    Under the circumstances, it would be inequitable for Wal-Mart to retain the

 above-described benefit.

        624.    As a result of Wal-Mart’s unjust enrichment, Plaintiffs and the members of the

 Class were damaged in an amount to be determined at trial and seek full disgorgement and

 restitution of Wal-Mart’s unjust enrichment.

 G.     Counts Against Whole Foods as successor in liability to Wild Oats and/or Wild Oats

                COUNT 44 Violation of the Colorado Consumer Protection Act
                             Colo. Rev. Stat. §6-1-101 et seq.
                   (Brought on behalf of the Wild Oats Purchaser Class)

        625.    Plaintiffs Benya, Ross, Snell, Subashe, Theodore and Tysseling-Mattiace

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition and/or in the alternative to the Count(s) above, these Plaintiffs bring this Count on

 behalf of themselves and all other persons who purchased “organic” milk and/or milk products

 produced by Aurora and sold by Wild Oats under the Wild Oats brand nationwide under the

 Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.

        626.    Pursuant to the Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-113(1),

 Plaintiffs are: (a) actual or potential consumers of Aurora’s goods and were injured as a result of

 the deceptive trade practices described herein; (b) successors in interest to an actual consumer

 who purchased Aurora’s goods; or (c) were injured by the deceptive trade practices described

 herein in the course of Aurora’s business.

        627.    Wild Oats is a “person” as defined by the Colorado Consumer Protection Act,

 Colo. Rev. Stat. § 6-1-102(6).

        628.    Wild Oats in the course of its business engaged in one or more acts constituting

 “deceptive trade practice[s]” pursuant to the Colorado Consumer Protection Act, Colo. Rev. Stat.

 § 6-1-105(1), including:


                                                 145
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 151 of 184 PageID #:
                                    2986


               a.      Colo. Rev. Stat. § 6-1-105(1)(e): “Knowingly mak[ing] a false

       representation as to the characteristics, ingredients, uses, benefits, alterations, or

       quantities of goods, food, services, or property or a false representation as to the

       sponsorship, approval, status,, affiliation, or connection of a person therewith;”

               b.      Colo. Rev. Stat. § 6-1-105(1)(g): “Represent[ing] that goods, food,

       services, or property are of a particular standard, quality, or grade, or that goods are of a

       particular style or model, if he knows or should know that they are of another;”

               c.      Colo. Rev. Stat. §6-1-105(1)(i): Advertises goods, services or property

       with the intent not to sell them as advertised.

               d.      Colo. Rev. Stat. § 6-1-105(1)(u): “Fail[ing] to disclose material

       information concerning goods, services, or property which information was known at the

       time of an advertisement or sale if such failure to disclosure such information was

       intended to induce the consumer to enter into a transaction.”

       629.    Wild Oats’ deceptive trade practices include, among other things:

               a.      asserting that its products are “organic” when, in fact, they were not;

               b.      advertising and representing that its products are “organic” when they are

       not;

               c.      misrepresenting the manner in which the dairy cows producing the

       products were raised and fed; and

               d.      suppressing or omitting materials facts regarding the production of its

       “organic” milk or milk products, specifically that the milk or milk products are not

       organic, that the dairy cows were not raised at pasture, that its milk or milk products are




                                                 146
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 152 of 184 PageID #:
                                    2987


           industrially produced, and that its purportedly “organic” milk or milk products failed to

           comply with organic production laws, standards, and regulations.

           630.   Wild Oats’ misrepresentations and omissions were for the purpose of, and did,

 induce Plaintiffs and the other members of the Class to act or refrain from acting, or had the

 capacity to attract customers.

           631.   Because Wild Oats was headquartered in Colorado, made decisions and engaged

 in other acts in Colorado regarding the labeling, advertisement and sale of Wild Oats’ “organic”

 milk and milk products, the Colorado Consumer Protection Act should apply nationwide to this

 claim against Wild Oats.

           632.   Wild Oats’ deceptive trade practices significantly impacted the public, including

 Plaintiffs and the other members of the Class, as actual or potential consumers of Wild Oats’

 goods – namely its “organic” milk and/or milk products.

           633.   As a direct and proximate result of Wild Oats’ use or employment of the

 deceptive trade practices described above, Plaintiffs and the other members of the Class were

 damaged.

           634.   Pursuant to the Colorado Consumer Protection Act, § 6-1-113(2), Plaintiffs and

 the other members of the Class are entitled to the relief set forth below, as appropriate, including,

 but not limited to compensatory damages, punitive damages, attorneys’ fees, and the costs of this

 action.

           635.   As set forth in Colorado Consumer Protection Act §§ 6-1-113(2)(a)(III) and 6-1-

 113(2)(b)(2.3), Wild Oats has acted fraudulently, willfully, knowingly, or intentionally with

 respect to its injury causing conduct, such that an award of punitive damages is appropriate.




                                                   147
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 153 of 184 PageID #:
                                    2988


                 COUNT 45: Violation of State Consumer Protection Laws
                (Brought on behalf of the Wild Oats Consumer Protection Class)

         636.   Plaintiffs Benya, Ross, Subashe, Theodore and Tysseling-Mattiace incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition to and/or in

 the alternative to the Count(s) above, each of these Plaintiffs brings this Count on his/her own

 behalf under the law of the state in which he/she purchased milk and/or milk products produced

 by Aurora and sold by Wild Oats on behalf of: (a) all other persons who purchased milk and/or

 milk products produced by Aurora and retailed by Wild Oats in the same state as Plaintiff

 purchased such products; and (b) all other persons who purchased such products in states having

 similar consumer protection laws.

         637.   Each Plaintiff and member of the Class is a consumer, purchaser or other person

 entitled to the protection of the consumer protection laws of the state in which he or she

 purchased the “organic” milk and/or milk products produced by Aurora and retailed by Wild

 Oats.

         638.   The consumer protection laws of the state in which each Plaintiff and member of

 the Class purchased the “organic” milk and/or milk products declares that unfair or deceptive

 acts or practices in the conduct of trade or commerce are unlawful.

         639.   Forty states and the District of Columbia have enacted statutes designed to protect

 consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

 and false advertising and that allow consumers to bring private and/or class actions. These

 statutes are found at:

                a.        Arizona Consumer Fraud Act, Ariz. Rev. Stat. § 44-1522, et seq.;

                b.        Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;

                c.        California Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;



                                                 148
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 154 of 184 PageID #:
                                    2989


             and California’s Unfair Competition Law, Cal. Bus. & Prof Code § 17200, et seq.;

             d.      Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.;

             e.      Connecticut Unfair Trade Practices Act, Conn. Gen. Stat § 42-110a, et

             seq.;

             f.      Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et seq.;

             g.      District of Columbia Consumer Protection Procedures Act, D.C. Code §

             28 3901, et seq.;

             h.      Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §

             501.201, et seq.;

             i.      Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statues § 480

             1, et. seq., and Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised

             Statutes §481A-1, et seq.;

             j.      Idaho Consumer Protection Act, Idaho Code, § 48-601, et seq.;

             k.      Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

             § 505/1, et seq.;

             l.      Indiana Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5.1, et

             seq.;

             m.      Kansas Consumer Protection Act, Kan. Stat. Ann. § 50 626, et seq.;

             n.      Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et seq., and

             Maine Uniform Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et

             seq.;

             o.      Maryland Consumer Protection Act, Md. Com. Law Code § 13-101, et

             seq.;




                                             149
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 155 of 184 PageID #:
                                    2990


             p.         Massachusetts Unfair and Deceptive Practices Act, Mass. Ann. Laws ch.

             93A, et seq.;

             q.         Michigan Consumer Protection Act, § 445.901, et seq.;

             r.         Minnesota Prevention of Consumer Fraud Act, Minn. Stat § 325F.68, et

             seq.; and Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. §

             325D.43, et seq.;

             s.         Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.;

             t.         Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59 1601, et seq.;

             and the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-

             301, et seq.;

             u.         Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. § 598.0903,

             et seq.;

             v.         New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et

             seq.;

             w.         New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8 1, et seq.;

             x.         New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57 12 1, et seq.;

             y.         New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law § 349,

             et seq.;

             z.         North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat.

             § 75-1.1, et seq.;

             aa.        North Dakota Consumer Fraud Act, N.D. Cent. Code § 51 15 01, et seq.;

             bb.        Ohio Consumer Sales Practices Act, Ohio Rev. Code § 1345.01, et seq.;

             cc.        Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et seq.;




                                                150
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 156 of 184 PageID #:
                                    2991


               dd.     Oregon Unfair Trade Practices Act, Rev. Stat § 646.605, et seq.;

               ee.     Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73

               Pa. Stat. § 201-1, et seq.;

               ff.     Rhode Island Unfair Trade Practices And Consumer Protection Act, R.I.

               Gen. Laws § 6-13.1-1, et seq.;

               gg.     South Carolina Unfair Trade Practices Act, S.C. Code Laws § 39-5-10, et

               seq.;

               hh.     South Dakota’s Deceptive Trade Practices and Consumer Protection Law,

               S.D. Codified Laws §§ 37 24 1, et seq.;

               ii.     Texas Deceptive Trade Practices and Consumer Protection Act, Tex. Bus.

               & Com. Code § 17.41, et seq.;

               jj.     Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-196, et

               seq.;

               kk.     Vermont Consumer Fraud Act, 9 Vt. Stat. Ann. § 2451, et seq.;

               ll.     Washington Consumer Fraud Act, Wash. Rev. Code § 19.86.010, et seq.;

               mm.     West Virginia Consumer Credit and Protection Act, West Virginia Code §

               46A-6-101, et seq.;

               nn.     Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.; and

               oo.     Wyoming Consumer Protection Act, Wyo. Stat. § 40-12-101, et seq.

        640.   The milk and/or milk products produced by Aurora and retailed by Wild Oats

 constitute products to which these consumer protection laws apply.




                                                151
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 157 of 184 PageID #:
                                    2992


         641.   In the conduct of trade or commerce regarding its production, marketing and sale

 of “organic” milk and/or milk products, Wild Oats engaged in one or more unfair or deceptive

 acts or practices including, but not limited to:

                a.      labeled its products as “organic” when, in fact, they were not;

                b.      advertised and represented its products as “organic” when they were not;

                c.      misrepresented the manner in which dairy cows producing the products

         were raised and fed; and

                d.      suppressed or omitted material facts regarding the production of its

         “organic” milk or milk products, specifically, that the milk or milk products are not

         organic, that the dairy cows were not raised at pasture, and that its milk or milk products

         are conventionally produced.

         642.   Wild Oats’ labeling, statements, advertisements, representations and omissions

 were deceptive and/or likely to deceive.

         643.   Wild Oats knew or should have known that its statements, advertisements,

 representations and omissions were untrue or misleading.

         644.   Wild Oats used or employed such deceptive and unlawful acts or practices with

 the intent that these Plaintiffs and the members of the Class rely thereon.

         645.   Plaintiffs and the other members of the Class did so rely (and should be presumed

 to rely).

         646.   Each Plaintiff and member of the Class purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Wild Oats that were falsely represented for an

 amount higher than conventional milk and/or milk products.




                                                    152
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 158 of 184 PageID #:
                                    2993


        647.    As a result of Wild Oats’ conduct, Plaintiffs and the members of the Class were

 damaged.

        648.    Wild Oats’ conduct showed complete indifference to or conscious disregard for

 the rights of others such that an award of punitive damages is appropriate.

                       COUNT 46: Breach of Express Warranty
                     (Brought on behalf of the Wild Oats Purchaser Class)

        649.    Plaintiffs Benya, Ross, Snell, Subashe, Theodore and Tysseling-Mattiace

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition and/or in the alternative to the Count(s) above, each of these Plaintiffs brings this Count

 on his/her own behalf under the law of the state in which he/she purchased milk and/or milk

 products produced by Aurora and sold by Wild Oats on behalf of: (a) all other persons who

 purchased “organic” milk and/or milk products produced by Aurora and retailed by Wild Oats in

 the same state as Plaintiff purchased such products; and (b) all other persons who purchased such

 products in states having similar laws regarding express warranty.

        650.    Wild Oats’ representation that the milk and/or milk products are “organic” is an

 affirmation by Wild Oats that the milk and/or milk products comply with applicable standards,

 statutes and regulations, including USDA requirements.

        651.    Wild Oats’ statements and representations about the environment in which the

 cows producing the milk are raised and fed also are affirmations by Wild Oats that the milk and

 milk products comply with such statements and representations.

        652.    Wild Oats’ other statements and representations about the “organic” status of its

 milk and/or milk products also are affirmations by Wild Oats that the milk and/or milk products

 comply with such statements and representations.




                                                 153
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 159 of 184 PageID #:
                                    2994


        653.    Wild Oats’ representations are made to Plaintiffs and the members of the Class at

 the point of purchase, are part of the description of the goods and the bargain upon which they

 are offered for sale and purchased by Plaintiffs and the members of the Class.

        654.    In addition or in the alternative, Wild Oats’ representations are made to induce

 Plaintiffs and the members of the Class to rely on such representation, and Plaintiffs and the

 members of the Class did so rely (and should be presumed to rely) on said representation as a

 material factor in his/her decision to purchase the “organic” products at a higher price than

 he/she would otherwise have paid for conventional milk and/or milk products.

        655.    By its statements and representations, Wild Oats expressly warranted that the milk

 and/or milk products comply with applicable standards, statutes and regulations, including

 USDA requirements and complied with the other descriptions Wild Oats made about the

 products and the manner in which they were produced.

        656.    The milk and/or milk products produced by Aurora and retailed by Wild Oats did

 not, in fact, comply with applicable standards, statutes and regulations, including USDA

 requirements, or the other descriptions Wild Oats made about the products and the manner in

 which they were produced.

        657.    At all times relevant to this action, Wild Oats falsely represented its milk and/or

 milk products as “organic” when they were not produced in compliance with applicable

 standards, statutes and regulations, including USDA requirements, and falsely represented the

 other descriptions about the products and the manner in which they were produced in breach of

 these express warranties.

        658.    As a result of Wild Oats’ conduct, Plaintiffs and the members of the Class were

 damaged.




                                                 154
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 160 of 184 PageID #:
                                    2995


        659.    Within a reasonable time after they knew or should have known of such breach,

 Plaintiffs, on behalf of themselves and members of the Class, placed Wild Oats on notice thereof.

                  COUNT 47: Breach of Implied Warranty of Merchantability
                    (Brought on behalf of the Wild Oats Purchaser Class)

        660.    Plaintiffs Benya, Ross, Snell, Subashe, Theodore and Tysseling-Mattiace

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition and/or in the alternative to the Count(s) above, each of these Plaintiffs brings this Count

 on his/her own behalf under the law of the state in which he/she purchased milk and/or milk

 products produced by Aurora and sold at Wild Oats on behalf of: (a) all other persons who

 purchased “organic” milk and/or milk products produced by Aurora and retailed by Wild Oats in

 the same state as Plaintiff purchased such products; and (b) all other persons who purchased such

 products in states having similar laws regarding implied warranty.

        661.    Plaintiffs and the members of the Class purchased “organic” milk and/or milk

 products produced by Aurora and retailed by Wild Oats for the ordinary purposes of organic

 milk or milk products -- that it was, in fact, organic.

        662.    By representing that the milk and/or milk products were “organic,” Wild Oats

 impliedly warranted that such products were, in fact, organic and complied with applicable

 standards, statutes and regulations, including USDA requirements.

        663.    By representing the environment in which the cows producing such milk and/or

 milk products were raised and fed, Wild Oats impliedly warranted that the milk and/or milk

 products were produced by cows raised and fed in such an environment.

        664.    Wild Oats held itself out to, and did, possess expertise, skill and knowledge

 superior to consumers including Plaintiffs and the members of the Class, who had a right to rely

 thereon.



                                                  155
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 161 of 184 PageID #:
                                    2996


        665.    At all times material to this action, the milk and milk products produced by

 Aurora and retailed by Wild Oats were not, in fact, organic and were not produced by cows

 raised and fed in the environment represented.

        666.    As such, the milk and milk products produced by Aurora and retailed by Wild

 Oats were not fit for their ordinary purpose and could not pass without objection in the trade.

        667.    As a result, Plaintiffs and the members of the Class have been damaged.

        668.    Within a reasonable time after they knew or should have known of such breach,

 Plaintiffs, on behalf of themselves and members of the Class, placed Wild Oats on notice thereof.

                      COUNT 48: Negligence Per Se
                 (Brought on behalf of the Wild Oats Negligence Per Se Class)

        669.    Plaintiffs Benya, Snell, Subashe, Theodore and Tysseling-Mattiace incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

 alternative to the Counts above, each of these Plaintiffs brings this Count on his/her own behalf

 under the law of the state in which he/she purchased milk and/or milk products produced by

 Aurora and sold by Wild Oats on behalf of: (a) all other persons who purchased “organic” milk

 and/or milk products produced by Aurora and retailed by Wild Oats in the same state as Plaintiff

 purchased such products; and (b) all other persons who purchased such products in states having

 similar laws regarding negligence per se.

        670.    Section 6509(e)(2) of the OFPA provides, in part, that dairy animals from which

 milk or milk products will be sold as organically produced shall be raised and handled in

 accordance with OFPA for not less than the twelve month period immediately prior to the sale of

 such milk or milk products.

        671.    The OFPA, including U.S.C. § 6509(e)(2), is intended to protect purchasers of

 organic milk or milk products, including Plaintiff and members of the Class.



                                                  156
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 162 of 184 PageID #:
                                    2997


         672.   Wild Oats owed a duty to purchasers of its “organic” milk or milk products –

 including Plaintiff and the Class – not to produce, market and/or sell its milk or milk products as

 “organic” unless such products were produced in accordance with OFPA and other applicable

 laws.

         673.   Wild Oats has marketed, represented and sold its milk or milk products as

 “organic,” when, in fact, they were not. Based on this conduct, and its other conduct, as alleged

 above, Wild Oats breached its duty to Plaintiffs and the members of the Class.

         674.   As a result of Wild Oats’ conduct, Plaintiff and the members of the Class have

 suffered damages in an amount to be proven at trial.

         675.   Wild Oats’ conduct was outrageous, done with malice or bad motives, or done

 with reckless indifference to the interests of others such that an award of punitive damages is

 appropriate.

                       COUNT 49: Negligent Misrepresentation
                     (Brought on behalf of the Wild Oats Purchaser Class)

         676.   Plaintiffs Benya, Ross, Snell, Subashe, Theodore and Tysseling-Mattiace

 incorporate by reference the preceding paragraphs as if they were fully set forth herein. In

 addition and/or in the alternative to the Counts above, each of these Plaintiffs brings this Count

 on his/her own behalf under the law of the state in which he/she purchased milk and/or milk

 products produced by Aurora and sold by Wild Oats on behalf of: (a) all other persons who

 purchased “organic” milk and/or milk products produced by Aurora and retailed by Wild Oats in

 the same state as Plaintiff purchased such products; and (b) all other persons who purchased such

 products in states having similar laws regarding negligent misrepresentation.

         677.   Wild Oats owed a duty to Plaintiffs and the members of the Class to exercise

 reasonable care in making representations about its “organic” milk and milk products.



                                                 157
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 163 of 184 PageID #:
                                    2998


        678.    Wild Oats negligently and recklessly made such representations and omitted to

 disclose material facts to potential customers and the general public through uniform

 mislabeling, non-disclosure and concealment through mass media and point-of-sale advertising,

 and through other information prepared or disseminated by Wild Oats or at its direction.

        679.    Wild Oats’ representations and omissions regarding its “organic” milk and milk

 products were material.

        680.    Wild Oats’ mislabeling, misrepresentations and non-disclosures were intended to

 influence consumers’ purchasing decisions.

        681.    Plaintiffs and the members of the Class reasonably relied (or should be presumed

 to have relied) on the labeling and other representations Wild Oats made regarding its “organic”

 milk and milk products.

        682.    Wild Oats knew or should have known that Plaintiffs and the members of the

 Class relied (or should be presumed to have relied) upon the labeling, representations and

 omissions of Wild Oats.

        683.    Wild Oats’ representations and omissions regarding its “organic” milk and milk

 products were false and misleading as alleged above.

        684.    As a result of these misrepresentations, omissions and concealment, Plaintiffs and

 the members of the Class have been damaged in an amount to be proven at trial.

        685.    As a result of Wild Oats’ conduct, Plaintiffs and Class members were damaged

 and are therefore entitled to compensatory damages, multiple damages, and equitable relief.

                         COUNT 50: Unjust Enrichment
                (Brought on behalf of the Wild Oats Unjust Enrichment Class)

        686.    Plaintiffs Benya, Ross, Snell, Subashe and Tysseling-Mattiace incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In



                                                158
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 164 of 184 PageID #:
                                    2999


 addition and/or in the alternative to the Counts above, each of these Plaintiffs brings this Count

 on his/her own behalf under the law of the state in which he/she purchased milk and/or milk

 products produced by Aurora and sold by Wild Oats on behalf of: (a) all other persons who

 purchased “organic” milk and/or milk products produced by Aurora and retailed by Wild Oats in

 the same state as Plaintiff purchased such products; and (b) all other persons who purchased such

 products in states having similar laws regarding unjust enrichment.

        687.    Wild Oats markets and promotes organic production as a process having health,

 environmental and other benefits warranting a higher retail price than conventionally produced

 milk and/or milk products.

        688.    Wild Oats charges, and consumers pay, a higher retail price for the “organic” milk

 and/or milk products produced by Aurora and retailed by Wild Oats than the price of

 conventionally produced milk and/or milk products.

        689.    Wild Oats received a benefit in the form of the premium price charged by Wild

 Oats and paid by Plaintiffs and the members of the Class for the “organic” milk and milk

 products produced by Aurora and retailed by Wild Oats.

        690.    Under the circumstances, it would be inequitable for Wild Oats to retain the

 above-described benefit.

        691.    As a result of Wild Oats unjust enrichment, Plaintiffs and the members of the

 Class were damaged in an amount to be determined at trial and seek full disgorgement and

 restitution of Wild Oats’ unjust enrichment.

 H.     Counts Against QAI

                COUNT 51: Violation of the California Unfair Competition Law,
                         Business and Professions Code, §17200 et seq.
                          (Brought on behalf of the QAI Class)




                                                 159
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 165 of 184 PageID #:
                                    3000


        692.    All Plaintiffs incorporate by reference the preceding paragraphs as if they were

 fully set forth herein. In addition and/or in the alternative to Counts above, Plaintiffs assert this

 Count on their own behalf and on behalf of all Plaintiffs.

        693.    QAI approved for placement into the stream of commerce and intended for

 ultimate sale to consumers dairy products labeled as – and represented to be – “organic” and

 “certified organic,” and such placement is and has been “unlawful,” “unfair,” and “fraudulent” as

 meant by Cal. Bus. & Prof. Code § 17200 et seq., which prohibits unfair competition defined as

 any “unlawful, unfair or fraudulent business act or practice.”

        694.    QAI approved for placement into the stream of commerce and intended for

 ultimate sale to consumers dairy products labeled as – and represented to be – “organic” and

 “certified organic,” and such placement is and has been contrary to numerous provisions of

 federal and California law, including, but not limited to, the following provisions of the National

 Organic Program (Section 6517 of the Organic Foods Production Act of 1990), 7 U.S.C. Sec.

 6501 et seq. and its implementing regulations (7 U.S.C. §§ 6504, 6505, 6506, 6509(e)(2),

 6509(f), and 6511, and 7 C.F.R. §§ 205.236(a)(2), 205.236(b)(1), 205.237(a), 205.238(a)(3),

 205.239(a)(2), and 205.239(a)(3)), the California Organic Products Act of 2003 (Cal. Health And

 Safety Code, §§ 110820, 110890 and 110956 and Cal. Food and Agricultural Code, §§ 46002,

 46014.2(b), 46020, 46021), and the provisions of Cal. Food and Agricultural Code, §§ 36061 and

 36062. Additionally, California’s False Advertising Law, California Business and Professions

 Code § 17500 et seq. (“FAL”) makes it unlawful, in connection with the sale of goods or

 services, to make or disseminate “any statement, . . . which is untrue or misleading, and which is

 known, or which by the exercise of reasonable care should be known, to be untrue or

 misleading.”




                                                  160
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 166 of 184 PageID #:
                                    3001


        695.    Plaintiffs and the members of the Class are purchasers, consumers or otherwise

 within the class of persons that the UCL was intended to protect.

        696.    QAI is a person to whom the UCL applies.

        697.    QAI, with the intent to enable Aurora and the retailers to dispose of its “organic”

 milk or milk products, made statements on its website and on milk labels concerning those milk

 and/or milk products that were untrue or misleading and which QAI knew or in the exercise of

 reasonable care should have known were untrue or misleading, including:

                a.     authorized Aurora and retailers to label their products as “organic” when,

        in fact, they were not;

                b.     advertised and represented that Aurora-produced milk or milk products

        were “organic,” when they were not;

                c.     suppressed or omitted material facts regarding the production of Aurora

        produced “organic” milk or milk products, specifically, that the milk or milk products are

        not organic, that the dairy cows were not raised at pasture, and that Aurora milk or milk

        products are conventionally produced.

        698.    QAI’s advertisements concerning its “organic” milk or milk products were

 deceptive and/or likely to deceive.

        699.    QAI’s misrepresentations that the milk or milk products produced by Aurora and

 retailed by the Retailer Defendants were “organic” and “certified organic” were material.

        700.    QAI used or employed the unlawful, unfair, and/or deceptive practices described

 above with the intent that Plaintiffs and the members of the Class would rely thereupon.

        701.    Plaintiffs and the members of the Class did rely thereon.




                                                161
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 167 of 184 PageID #:
                                    3002


        702.    As a result of QAI’s unlawful, unfair, deceptive, untrue, or misleading advertising

 and other conduct, Plaintiffs and the members of the Class have suffered injury in fact and have

 lost money or property, including having paid “organic” prices for non-organic milk and milk

 products.

        703.    QAI’s conduct violates the California Business and Professions Code, §§17200, et

 seq.

        704.    Because QAI is headquartered in California, and because it made decisions and

 otherwise acted within the state of California regarding the advertisement, certification,

 marketing and sale of “organic” milk and milk products it represented was “Certified Organic by

 QAI,” the California consumer protection laws should apply nationwide to this claim against

 QAI.

        705.    Plaintiffs, on their own behalf and on behalf of the Class, request that this Court

 enter such orders or judgments as may be necessary to restore to any person in interest any

 money which may have been acquired by means of such unfair competition, as provided in Cal.

 Bus. & Prof. Code § 17203.

                COUNT 52: Violation of the California Consumer Legal Remedies Act,
                              California Civil Code § 1750, et seq.
                          (Brought on behalf of the QAI Class)

        706.    All Plaintiffs incorporate by reference the preceding paragraphs as if they were

 fully set forth herein. In addition and/or in the alternative to the Counts above, Plaintiffs assert

 this Count on their own behalf and on behalf of the all Plaintiffs.

        707.    Plaintiffs bring this claim on behalf of themselves and all other purchasers of

 “organic” milk or milk products produced by Aurora and certified as organic by QAI.




                                                  162
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 168 of 184 PageID #:
                                    3003


        708.    The California Consumer Legal Remedies Act, California Civil Code § 1750, et

 seq. (“CLRA”), was enacted to protect consumers against unfair and deceptive business practices

 and to provide efficient and economical procedures to secure such protection. The CLRA is to

 be liberally construed and applied to promote those purposes.

        709.    Plaintiffs and the members of the Class are purchasers, consumers or other

 persons to whom the CLRA is intended to apply.

        710.    The milk and milk products produced by Aurora, certified by QAI and sold to

 consumers such as Plaintiff and the members of the Class are goods or products to which the

 CLRA applies.

        711.    QAI is a person to whom the CLRA applies.

        712.    QAI engaged in unfair or deceptive acts or practices in transactions which

 resulted in the sale of Aurora produced “organic” milk or milk products including, but not

 limited to:

                a.      permitted Aurora and retailers to label their products as “organic” when, in

        fact, they were not;

                b.      advertised and represented that Aurora and retailers’ products were

        “organic” when they were not;

                c.      suppressed or omitted material facts regarding the production of Aurora

        produced “organic” milk or milk products, specifically, that the milk or milk products are

        not organic, that the dairy cows were not raised at pasture, and that its milk or milk

        products are conventionally produced.

        713.     Theses policies, acts, and practices violated and continue to violate the CLRA in

 at least the following respects:




                                                163
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 169 of 184 PageID #:
                                    3004


                a.     In violation of § 1770(5) of the CLRA, “[r]epresenting that goods or

        services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

        quantities which they do not have . . . ;”

                b.     In violation of § 1770(7) of the CLRA, “[r]epresenting that goods or

        services are of a particular standard, quality, or grade, or that goods are of a particular

        style or model, if they are of another;” and

                c.     In violation of § 1770(9) of the CLRA, “[a]dvertising goods or services

        with intent not to sell them as advertised.”

        714.    QAI undertook the unfair or deceptive acts or practices with the intent that

 Plaintiffs and the members of the Class would rely upon such acts or practices in purchasing

 Aurora-produced “organic” milk or milk products.

        715.    In purchasing Aurora produced “organic” milk or milk products, Plaintiffs and the

 members of the Class relied upon QAI representation that the milk or milk products were, in fact,

 organic.

        716.    Because QAI is headquartered in California, and because it made decisions and

 otherwise acted within the state of California regarding the advertisement, certification,

 marketing and sale of Aurora produced “organic” milk and milk products, the California

 consumer protection laws should apply nationwide to this claim against QAI.

        717.    As a result of QAI’s wrongful conduct, Plaintiffs and the members of the Class

 sustained damages by paying a higher price for milk labeled as organic that was not organic.

        718.    QAI’s conduct was oppressive, fraudulent or malicious and intended to cause

 harm to Plaintiffs and the members of the Class such that an award of punitive damages is

 appropriate.




                                                 164
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 170 of 184 PageID #:
                                    3005


        719.     QAI was timely notified by consumers of its involvement in transactions relating

 to the sale of milk and/or milk products labeled as “organic,” but which in fact were not organic,

 as well as the classwide damage sustained by consumers as a result of such involvement. QAI

 has not corrected or otherwise rectified this situation prior to the filing of this Complaint.

                      COUNT 53: Violation of State Consumer Protection Laws
                      (Brought on behalf of the QAI Consumer Protection Class)

        720.     All Plaintiffs (except Snell and Still) incorporate by reference the preceding

 paragraphs as if they were fully set forth herein. In addition to and/or in the alternative to the

 Counts above, each of these Plaintiffs brings this Count on his/her own behalf under the law of

 the state in which he/she purchased milk and/or milk products produced by Aurora and on behalf

 of: (a) all other persons who purchased milk and/or milk products produced by Aurora and

 certified by QAI in the same state as Plaintiff purchased such products; and (b) all other persons

 [and entities] who purchased such products in states having materially similar consumer

 protection laws.

        721.     The consumer protection laws of the state in which each Plaintiff and member of

 the Class purchased the “organic” milk and/or milk products produced by Aurora, and certified

 by QAI, declares that unfair or deceptive acts or practices in the conduct of trade or commerce

 are unlawful.

        722.     Forty states and the District of Columbia have enacted statutes designed to protect

 consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

 and false advertising and that allow consumers to bring private and/or class actions. These

 statutes are found at:

                 a.       Arizona Consumer Fraud Act, Ariz. Rev. Stat. § 44-1522, et seq.;

                 b.       Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;



                                                  165
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 171 of 184 PageID #:
                                    3006


             c.      California Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq.;

             and California’s Unfair Competition Law, Cal. Bus. & Prof Code § 17200, et seq.;

             d.      Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-101, et seq.;

             e.      Connecticut Unfair Trade Practices Act, Conn. Gen. Stat § 42-110a, et

             seq.;

             f.      Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et seq.;

             g.      District of Columbia Consumer Protection Procedures Act, D.C. Code §

             28 3901, et seq.;

             h.      Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §

             501.201, et seq.;

             i.      Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statues § 480

             1, et. seq., and Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised

             Statutes §481A-1, et seq.;

             j.      Idaho Consumer Protection Act, Idaho Code, § 48-601, et seq.;

             k.      Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

             § 505/1, et seq.;

             l.      Indiana Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5.1, et

             seq.;

             m.      Kansas Consumer Protection Act, Kan. Stat. Ann. § 50 626, et seq.;

             n.      Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et seq., and

             Maine Uniform Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et

             seq.;

             o.      Maryland Consumer Protection Act, Md. Com. Law Code § 13-101, et




                                             166
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 172 of 184 PageID #:
                                    3007


             seq.;

             p.         Massachusetts Unfair and Deceptive Practices Act, Mass. Ann. Laws ch.

             93A, et seq.;

             q.         Michigan Consumer Protection Act, § 445.901, et seq.;

             r.         Minnesota Prevention of Consumer Fraud Act, Minn. Stat § 325F.68, et

             seq.; and Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. §

             325D.43, et seq.;

             s.         Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.;

             t.         Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59 1601, et seq.;

             and the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-

             301, et seq.;

             u.         Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. § 598.0903,

             et seq.;

             v.         New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et

             seq.;

             w.         New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8 1, et seq.;

             x.         New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57 12 1, et seq.;

             y.         New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law § 349,

             et seq.;

             z.         North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat.

             § 75-1.1, et seq.;

             aa.        North Dakota Consumer Fraud Act, N.D. Cent. Code § 51 15 01, et seq.;

             bb.        Ohio Consumer Sales Practices Act, Ohio Rev. Code § 1345.01, et seq.;




                                                167
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 173 of 184 PageID #:
                                    3008


                cc.     Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et seq.;

                dd.     Oregon Unfair Trade Practices Act, Rev. Stat § 646.605, et seq.;

                ee.     Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73

                Pa. Stat. § 201-1, et seq.;

                ff.     Rhode Island Unfair Trade Practices And Consumer Protection Act, R.I.

                Gen. Laws § 6-13.1-1, et seq.;

                gg.     South Carolina Unfair Trade Practices Act, S.C. Code Laws § 39-5-10, et

                seq.;

                hh.     South Dakota’s Deceptive Trade Practices and Consumer Protection Law,

                S.D. Codified Laws §§ 37 24 1, et seq.;

                ii.     Texas Deceptive Trade Practices and Consumer Protection Act, Tex. Bus.

                & Com. Code § 17.41, et seq.;

                jj.     Virginia Consumer Protection Act of 1977, Va. Code Ann. § 59.1-196, et

                seq.;

                kk.     Vermont Consumer Fraud Act, 9 Vt. Stat. Ann. § 2451, et seq.;

                ll.     Washington Consumer Fraud Act, Wash. Rev. Code § 19.86.010, et seq.;

                mm.     West Virginia Consumer Credit and Protection Act, West Virginia Code §

                46A-6-101, et seq.;

                nn.     Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, et seq.; and

                oo.     Wyoming Consumer Protection Act, Wyo. Stat. § 40-12-101, et seq.

        723.    Each Plaintiff and member of the Class is a consumer, purchaser or other person

 entitled to the protection of the consumer protection laws of the state in which he or she

 purchased the “organic” milk and/or milk products produced by Aurora, and certified by QAI.




                                                 168
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 174 of 184 PageID #:
                                    3009


        724.    QAI is a person to whom the consumer protection laws apply.

        725.    The milk and/or milk products produced by Aurora, certified by QAI and sold to

 consumers constitute products to which these consumer protection laws apply.

        726.    In the conduct of trade or commerce regarding its production, marketing and sale

 of “organic” milk and/or milk products, QAI engaged in one or more unfair or deceptive acts or

 practices including, but not limited to:

                a.      permitted Aurora and the retailers to label their products as “organic”

        when, in fact, they were not;

                b.      advertised and represented Aurora produced products as “organic” when

        they were not; and

                c.      suppressed or omitted material facts regarding Aurora’s production of its

        “organic” milk or milk products, specifically, that the milk or milk products are not

        organic, that the dairy cows were not raised at pasture, and that its milk or milk products

        are conventionally produced.

        727.    QAI’s statements, advertisements, representations and omissions were deceptive

 and/or likely to deceive.

        728.    QAI knew or should have known that its statements, advertisements,

 representations and omissions were untrue or misleading.

        729.    QAI used or employed such deceptive and unlawful acts or practices with the

 intent that these Plaintiffs and the members of the Class rely thereon.

        730.    Plaintiffs and the members of the Class did rely on such misrepresentations.




                                                 169
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 175 of 184 PageID #:
                                    3010


           731.   Each Plaintiff and member of the Class purchased “organic” milk and/or milk

 products produced by Aurora and certified by QAI that were falsely represented for an amount

 higher than conventional milk and/or milk products.

           732.   As a result of QAI’s wrongful conduct, Plaintiffs and the members of the Class

 were damaged.

           733.   QAI’s conduct showed complete indifference to or conscious disregard for the

 rights of others such that an award of punitive damages is appropriate.

                            COUNT 54: Negligence Per Se
                      (Brought on behalf of the QAI Negligence Per Se Class)

           734.   All Plaintiffs (except Brice Leigh, Coselli, Meacham and Ross) incorporate by

 reference the preceding paragraphs as if they were fully set forth herein. In addition and/or in the

 alternative to the Counts above, each Plaintiff brings this Count on his/her own behalf under the

 law of the state in which he/she purchased milk and/or milk products produced by Aurora and on

 behalf of: (a) all other persons who purchased “organic” milk and/or milk products produced, by

 Aurora and certified by QAI, in the same state as Plaintiff purchased such products; and (b) all

 other persons who purchased such products in states having similar laws regarding negligence

 per se.

           735.   The OFPA is intended to protect purchasers of organic milk or milk products,

 including Plaintiffs and members of the Class.

           736.   Plaintiffs and the members of the Class are persons foreseeably harmed by QAI’s

 acts and omissions. QAI certified milk produced by Aurora as “organic” in order to permit

 Aurora and retailers to market and sell such milk as “organic” to consumers. Furthermore, on its

 website and brochures, QAI itself recognizes that certification is important to protect consumers

 from fraud and to protect consumer confidence.



                                                  170
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 176 of 184 PageID #:
                                    3011


        737.    At all times relevant, QAI owed a duty to Plaintiffs and the members of the Class

 to exercise reasonable care in inspecting, examining, certifying, suspending or decertifying

 Aurora’s operations and milk as “organic” in order to protect Plaintiffs and the members of the

 class from injury.

        738.    QAI owed a duty to Plaintiffs and the members of the Class to not certify Aurora

 milk or milk products as “organic” unless such products were produced in accordance with

 OFPA and other applicable laws.

        739.    QAI knew or should have known that the Aurora milk and milk products were not

 in compliance with applicable standards, statutes and regulations, including USDA requirements.

        740.    QAI failed to exercise reasonable care, thereby breaching its duty to Plaintiffs and

 the members of the Class, including, but not limited to:

                a.     QAI’s certification of Aurora’s cows as “organic” in violation of 7 C.F.R.

        §§ 205.236(a)(2), 205.238(b), 205.238(c)(4), and 205.603(a)(13), in connection with

        Aurora’s entering of conventional dairy animals into organic milk or milk products

        production at its Dublin, Texas facility before those animals completed the required one-

        year period of continuous organic management.

                b.     QAI’s failure to inspect, deny or revoke its “organic” certification of

        Aurora and Aurora’s milk.

                c.     QAI’s name and certification appeared on cartons of milk and/or milk

        products produced by Aurora.

                d.     QAI’s failure to fully comply with the terms and conditions of the

        applicable organic certification program and to ensure that it did not “falsely or




                                                171
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 177 of 184 PageID #:
                                    3012


        negligently” certify “any farming or handling operation that does not meet the terms and

        conditions of the applicable organic certification program as an organic operation.”

        741.    From least 2003 to at least August 23, 2007, QAI certified Aurora milk and milk

 products as “organic” when they were not.

        742.    As a direct result of QAI’s certification of Aurora’s operations and its milk as

 “organic” when it was not, Plaintiffs and the members of the Class were damaged, including, but

 not limited to, the damage caused by their purchase of non-organic milk at “organic” premium

 prices. This harm, resulting from QAI’s certification of Aurora and its milk and its failure to

 decertify or suspend Aurora’s “organic” certification, was foreseeable to QAI and Plaintiffs and

 the members of the Class, as retail purchasers of the milk at issue, were within the scope of

 people likely to be harmed as a result of QAI’s action and inaction.

        743.    As a result of QAI’s conduct, Plaintiffs and the members of the Class have

 suffered damages in an amount to be proven at trial.

        744.    QAI’s conduct was outrageous, done with malice or bad motives, or done with

 reckless indifference to the interests of others such that an award of punitive damages is

 appropriate.

                           COUNT 55: Negligent Misrepresentation
                             (Brought on behalf of the QAI Class)

        745.    All Plaintiffs incorporate by reference the preceding paragraphs as if they were

 fully set forth herein. In addition and/or in the alternative to the Counts above, each Plaintiff

 brings this Count on his/her own behalf under the law of the state in which he/she purchased

 milk and/or milk products produced by Aurora and on behalf of: (a) all other persons who

 purchased “organic” milk and/or milk products produced by Aurora and certified by QAI where

 the purchase was made in the same state as Plaintiff purchased such products; and (b) all other



                                                 172
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 178 of 184 PageID #:
                                    3013


 persons who purchased such products in states having similar laws regarding negligent

 misrepresentation.

         746.    QAI’s “certification” appears on cartons of “organic” milk and/or milk products

 produced by Aurora and certified by QAI at the point of sale.

         747.    QAI also permits Aurora and retailers to place its “mark of excellence” on the

 cartons and otherwise use such “mark of excellence” in advertisements and other promotions.

         748.    The appearance of QAI’s seal on each carton of “organic” milk and milk product

 constitutes a representation that QAI is affiliated with the operation by which the milk was

 produced and packaged.

         749.    QAI’s certification on each carton of “organic” milk and milk product constitutes

 a representation that the product is indeed organic and produced in compliance with applicable

 standards, statutes and regulations, including USDA requirements.

         750.    QAI owed a duty to Plaintiffs and the members of the Class to exercise reasonable

 care in making representations about the “organic” nature of milk and milk products on which its

 name appears.

         751.    QAI did not exercise reasonable care, but made representations regarding the

 “organic” nature of Aurora’s milk and milk products when it knew or should have known that

 such representations were false, without information sufficient to know whether its

 representations were true or false, and/or in reckless disregard for the truth or falsity of its

 representations.

         752.    QAI negligently and recklessly made such representations and omitted to disclose

 material facts through uniform mislabeling, non-disclosure and concealment at the point of sale




                                                   173
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 179 of 184 PageID #:
                                    3014


 and otherwise through mass media, advertising, and other information prepared or disseminated

 by QAI or at its direction.

           753.   The purpose of QAI’s certification was to assure consumers that the milk and/or

 milk products were indeed “organic,” and thus warranted a premium price.

           754.   QAI’s mislabeling, misrepresentations and non-disclosures were intended to and

 did influence consumers’ purchasing decisions.

           755.   In addition or in the alternative, QAI knew or should have known that Plaintiffs

 and the members of the Class relied (or should be presumed to have relied) upon the labeling,

 representations and omissions of QAI.

           756.   Plaintiffs and the members of the Class reasonably relied (or should be presumed

 to have relied) on the labeling and other representations QAI made regarding its “organic” milk

 and milk products.

           757.   QAI’s representations and omissions regarding the “organic” milk and milk

 products on which its seal appeared were false and misleading as alleged above.

           758.   As a result of these misrepresentations, omissions and concealment, Plaintiffs and

 the members of the Class have been damaged in an amount to be proven at trial.

           759.   As a result of QAI’s conduct, Plaintiffs and the members of the Class were

 damaged and are therefore entitled to compensatory damages, multiple damages, and equitable

 relief.

                                  VII.    PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs, individually and on behalf of the Classes they seek to

 represent, respectfully request that the Court enter an order or judgment in their favor and against

 Defendants, including the following:




                                                 174
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 180 of 184 PageID #:
                                    3015


        A.      Certifying the action as a Class Action pursuant to Rule 23(b)(3) of the Federal

 Rules of Civil Procedure, and appointing of Plaintiffs as Class Representatives and their counsel

 of record as Class Counsel;

        B.      Awarding damages in the amount of monies paid for “organic” milk that was not

 organic and/or other consequential or incidental damages;

        C.      Awarding actual damages, statutory damages, punitive or treble damages, and

 such other relief as provided by the statutes cited herein;

        D.      Awarding pre-judgment and post-judgment interest on such monetary relief;

        E.      Awarding equitable relief in the form of restitution, to restore monies received by

 Defendants as a result of the unfair, unlawful and/or deceptive conduct alleged in herein;

        F.      Awarding Plaintiffs the costs of bringing this suit, including reasonable attorneys’

 fees; and

        G.      Awarding all such other relief to which Plaintiffs and the members of the Classes

 may be entitled at law or in equity.




                                                  175
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 181 of 184 PageID #:
                                    3016


 Dated: December 8, 2008                        Respectfully submitted,



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                                      176
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 182 of 184 PageID #:
                                    3017


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                                                next page]




                                      177
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 183 of 184 PageID #:
                                    3018




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                                           178
Case: 4:08-md-01907-ERW Doc. #: 116-2 Filed: 12/08/08 Page: 184 of 184 PageID #:
                                    3019


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                                       48
